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                      ACKNOWLEDGMENT
                   FOR RECEIPT OF 2019-2020
              MINOOKA COMMUNITY HIGH SCHOOL
                  STUDENT/PARENT HANDBOOK
      MINOOKA COMMUNITY HIGH SCHOOL REQUIRES ALL STUDENTS ACKNOWLEDGE,
         IN WRITING, THAT THEY HAVE RECEIVED A COPY OF THE STUDENT/PARENT
         HANDBOOK CONTAINING SCHOOL POLICIES AND PROCEDURES. YOU MUST
           COMPLETE THE FORM BELOW AND RETURN IT TO THE STAFF MEMBER
                            WHO GAVE YOU THIS HANDBOOK.
      I have received the 2019-2020 Minooka Community High School Student/Parent Handbook and under-
      stand it is my responsibility to read its contents and to comply with the rules explained in the handbook.
      I acknowledge that, if I do not understand any provisions of this handbook, it is my responsibility to seek
      out clarification from either a dean or an administrator.


      PLEASE PRINT NAME:______________________________________________________


      STUDENT SIGNATURE:_____________________________________________________


      YEAR IN SCHOOL:                         09            10                    11              12
                                                      (CIRCLE ONE)


      DATE:___________________________________________________________________




                                                                                        Exhibit B


     002631_5176                                                                                               1
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      Minooka Community High School
                2019-2020

                      Central Campus                                               South Campus
                     301 South Wabena                                             26655 West Eames
                     Minooka, IL 60447                                           Channahon, IL 60410
                       (815) 467-2140                                               (815) 521 4001
                        www.mchs.net                                                 www.mchs.net



                     FAILURE TO CARRY YOUR HANDBOOK MAY PROHIBIT YOU
                               FROM GETTING HALLWAY PASSES




        Property of:_____________________________________________________
        Address:_______________________________________________________
        Phone #:_______________________ Email:_________________________
        In case of emergency, please notify:
        Name:_________________________ Phone #:_______________________
        The information in this book was the best available at press time. Watch for additional information and changes.



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                                 http://www.schooldatebooks.com • sdi@schooldatebooks.com
                                                                                                                           3
4
    Minooka Community High School Bell Schedules
                   REGULAR BELL SCHEDULE                                      EARLY RELEASE BELL SCHEDULE

       South Campus           Block        Central Campus            South Campus           Block       Central Campus
    7:45 a.m. - 9:15 a.m.       1         8:00 a.m. - 9:30 a.m.   7:45 a.m. - 8:48 a.m.       1        8:00 a.m. - 9:03 a.m.
    9:21 a.m. - 10:53 a.m.      2        9:36 a.m. - 11:08 a.m.   8:54 a.m. - 9:58 a.m.       2       9:09 a.m. - 10:13 a.m.
    10:59 a.m. - 11:27 a.m.    3A       11:14 a.m. - 11:42 a.m.   10:04 a.m. - 10:32 a.m.    3A      10:19 a.m. - 10:47 a.m.
    11:32 a.m. - 12:00 p.m.    3B       11:47 a.m. - 12:15 p.m.   10:37 a.m. - 11:05 a.m.    3B      10:52 a.m. - 11:20 a.m.
    12:05 p.m. - 12:33 p.m.    3C       12:20 p.m. - 12:48 p.m.   11:10 a.m. - 11:38 a.m.    3C      11:25 a.m. - 11:53 a.m.
    12:38 p.m. - 1:06 p.m.     3D        12:53 p.m. - 1:21 p.m.   11:43 a.m. - 12:11 p.m.    3D      11:58 a.m. - 12:26 p.m.
    1:12 p.m. - 2:42 p.m.       4         1:27 p.m. - 2:57 p.m.   12:17 p.m. - 1:15 p.m.      4       12:32 p.m. - 1:30 p.m.

           A/B BELL SCHEDULE (NO LUNCH SERVED)                                  LATE START BELL SCHEDULE

       South Campus           Block        Central Campus            South Campus           Block       Central Campus
    7:45 a.m. - 8:35 a.m.      1A          8:00 a.m. -8:50 a.m.   9:15 a.m. - 10:16 a.m.      1       9:30 a.m. - 10:31 a.m.
    8:41 a.m. - 9:11 a.m.      2A         8:56 a.m. - 9:26 a.m.   10:22 a.m. - 11:23 a.m.     2      10:37 a.m. - 11:38 a.m.
    9:17 a.m. - 9:47 a.m.      3A        9:32 a.m. - 10:02 a.m.   11:29 a.m. - 11:57 a.m.    3A      11:44 a.m. - 12:12 p.m.
    9:53 a.m. - 10:23 a.m.     4A       10:08 a.m. - 10:38 a.m.   12:02 p.m. - 12:30 p.m.    3B      12:17 p.m. - 12:45 p.m.
    10:38 a.m. - 11:08 a.m.    1B       10:53 a.m. - 11:23 a.m.   12:35 p.m. - 1:03 p.m.     3C       12:50 p.m. - 1:18 p.m.
    11:14 a.m. - 11:44 a.m.    2B       11:29 a.m. - 11:59 a.m.   1:08 p.m. - 1:36 p.m.      3D        1:23 p.m. - 1:51 p.m.
    11:50 a.m. - 12:20 p.m.    3B       12:05 p.m. - 12:35 p.m.   1:42 p.m. - 2:42 p.m.       4        1:57 p.m. - 2:57 p.m.
    12:26 p.m. - 12:56 p.m.    4B        12:41 p.m. - 1:11 p.m.

                                           MORNING ASSEMBLY BELL SCHEDULE

                                  South Campus          Block      Block        Central Campus
                               7:45 a.m. - 8:51 a.m.       1          1      8:00 a.m. - 9:06 a.m.
                               8:51 a.m. - 9:41 a.m.   Assembly       2     9:12 a.m. - 10:18 a.m.
                               9:47 a.m. - 10:53 a.m.      2      Assembly 10:18 a.m. - 11:08 a.m.
                               10:59 a.m. - 11:27 a.m.    3A         3A    11:14 a.m. - 11:42 a.m.
                               11:32 a.m. - 12:00 p.m.    3B         3B    11:47 a.m. - 12:15 p.m.
                               12:05 p.m. - 12:33 p.m.    3C         3C   12:20 p.m. - 12:48 p.m.
                               12:38 p.m. - 1:06 p.m.     3D         3D     12:53 p.m. - 1:21 p.m.
                               1:12 p.m. - 2:42 p.m.       4          4      1:27 p.m. - 2:57 p.m.
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          MINOOKA COMMUNITY HIGH SCHOOL - CENTRAL CAMPUS

                                                                                                         STAFF
            W                                                                                            DINING

                N
            S
                E
                                                                                            CAFETORIUM

                                                                        MR

                                                                        WR
                                150     151


                                152     153                                                                                                      191
                                                                                             CYBRARY
                                154     155    140 138 136 134 132 130                                                  108 106 104 102 100             192

                                                                                                                                                        193
                        WR      156

                                                                                                          124
                                                                                                                122
                                                                                             128

                                               143    139 137 135 133 131                          126                111 109 107 105           101     194
                        MR      158     161                                                              123
                                                                                                   125
                                                                                             127




                                                                                                               121                          103 190     195
                                         163
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                                                                                            MR                 WR
                                                                                                                                                        196
                        164D    162      165
                                                      230                                      246         267
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                                164
                                                                                                                                                 189          WR
                164B
                       164C              167    232         226         224 222 220            244         265          206 204 202 200
                                  166                                                                                                                   198   MR
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                       172D                                                                  217 215
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                       172C     172
                                        171           231         227    225                                          ATHLETICS
                                                                                 WR                                     OFFICE    MR
                         172B                                                                                             MAIN
                                                                                               240                       OFFICE
                                                                                                                                  NURSE’S
                                                                                                                                  OFFICE
                                                                        361          360
                                                                                                                                  PRINCIPAL’S
                                                                                                                                    OFFICE

      MR = MEN’S RESTROOM                                                            350
                                                                        352
                                                                                 BISTRO
      WR = WOMEN’S RESTROOM
                                                                                               CAREER
                                                                                               CENTER                              DEANS’
                                                                                                                                   OFFICE



                                                                                 WR                                    MR

                                                                  484
                                                        483                                                                            BAND
                                                                                                                          CHOIR
                                                                                                                          ROOM         ROOM
                                        GREENHOUSE                482                            LARGE
                                                                                                  GYM

                                                        481       480




                                                                                                   SMALL
                                                                                                    GYM

                                                                                                                                  PERFORMING
                                                                          WEIGHT                                                     ARTS
                                                                           ROOM                                                     CENTER
                                                                                            PE 2 PE 1
                                                                                                           WR MR
                                                                                            WELLNESS
                                                                                             CENTER



                                                                                                           STUDIO
                                                                                                           DANCE




                    WRESTLING
                      ROOM




                                                                                                                                                                   5
6
                   MINOOKA COMMUNITY HIGH SCHOOL - SOUTH CAMPUS ROOM NUMBERS
                                                                                                                                                           Main Office & Principal’s Office
     Main Entrance / Student Drop-Off                                                                                      Career Center
                                                                                                                                                       Student Services & Deans Offices
                                                                                        1                                             Nurse’s Office
                                                                                                                           2
                                                                                                                              1                                                                    S3
                                                                                                                           S2 1 119 120        121    122     129        130     132      R
                            District Office                                                                                   7                                                                     3
                                     Police                       21
                                                                                                                                                                                                    4




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                                                                                                                                                       127         128         131           133
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                                                                       182                                                       1 109       124                               134
                            1st Floor                                              Cafeteria                                     1
                                                                                                                     S1          0
                                                                       181                                                      111 112      125                               136
                                                                                                                     115                               144         141         140           137
                                                                                             Staff
                                                                       180                                           116        114 113      126
                                                                                            Dining
    20                                                                                                                                                                                              5
                                                                                                                                                                                                    6
                                                                                                                           S8    R     147   146     145     143    142        139       138
         R                                                             156                                                                                                                         S6
                                                                                  Auxiliary               12 11 10 9 8                                                                         7
                       Main Gymnasium                                            Gymnasium
                                                                                                          13                         Maintenance Room &
                                                                                                     14
                                                                                                                                           Loading Dock                  R = Restroom
                                                                       157
                                                                                                15
    19                                                                                                                                                                   S = Stairwell
                                                                                                                     Print Room
             Athletic Trainer                     18 17       16                        Bus Drop-Off                                                                     # = Door Number
                                          2nd Floor                                                                                     3rd Floor
                                 2                                                                                            3
                              S2 1 219 220 221 222 229 230 232               R     S3                                      S2 1 319 320 321 322 329 330 332                          R       S3
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                                          210E

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                     GENERAL INFORMATION
      DISTRICT OFFICE: (815) 467-2557
      Superintendent                                             Dr. Kenneth Lee                       Ext. 4311
      Assistant Superintendent of Business                       Mr. John Troy                         Ext. 4307
      and General Counsel
      Director of Curriculum and Instruction                     Dr. Janel Grzetich                815-521-4001
      Director of Student Services                               Mr. Joseph Pacetti                815-467-2140
                                   MINOOKA COMMUNITY HIGH SCHOOL
      CENTRAL CAMPUS:              (815) 467-2140 SOUTH CAMPUS:                                 (815) 521-4001
      Mr. Ron Kieswetter, Principal       Ext. 5067          Mr. Ron Kieswetter, Principal           Ext. 4199
      Mr. Matt Wikoff, Asst. Principal    Ext. 5038          Mrs. Jamie Soliman, Asst. Principal     Ext. 4150
      Mr. Bob Tyrell, Athletic Director   Ext. 5120          Mrs. Hillary Holden, Activites Director Ext. 4175
                                                 DEANS’ OFFICE
      Mr. Kevin Murphy       (A-L)         Ext. 5102         Ms. Renee Ebel             (A-L)          Ext. 4136
      Mr. Mike Denson        (M-Z)         Ext. 5037         Mr. Anthony Garcia         (M-Z)          Ext. 4148
                                           GUIDANCE COUNSELORS
      CENTRAL CAMPUS                                  SOUTH CAMPUS
      Juniors/Seniors                                        Freshman/Sophomores
      Mrs. Bobbi White       (A - E)       Ext. 5072         Mrs. Katie Cassidy  (A – G)               Ext. 4164
      Mrs. Kristin Carlson   (F – K)       Ext. 5058         Ms. Kristina Brown  (H - O)               Ext. 4165
      Mrs. Jessica Hopkins   (L - Rh)      Ext. 5084         Mrs. Angela Ferro   (P – Z)               Ext. 4155
      Mr. Ray Liberatore     (Ri - Z)      Ext. 5091
      DEPARTMENT CHAIRS
      Department		                                              South Campus Ext.          Central Campus Ext.
      CTE & World Language                   Mr. Jonathan Calder Ext. 4122                      Ext. 5030
      P.E./Dr. Ed./Health                    Mr. Matt Williams      Ext. 4423                   Ext. 5043
      English                                Mr. Sean Hackney       Ext. 4060
      Math                                   Mrs. Jill Nehring      Ext. 4053                    Ext. 5031
      Science                                Mrs. Donna Engel       Ext. 4388                    Ext. 5042
      Social Studies & Fine Arts             Mrs. Glenda Smith      Ext. 4201
      Special Education                      Mr. Joseph Pacetti     Ext. 4116                    Ext. 5035
      World Languages, Music, Fine Arts      Mr. Jeff Easton        Ext. 5122
      PARENT/TEACHER ADVISORY COMMITTEE:
      This handbook was made possible with the help and input from numerous students, staff and parents
      of current students at both South and Central Campus.
      This handbook summarizes various Board of Education policies, complete copies of which
      may be reviewed at the District office. Board policies and/or this handbook may be amended at
      any time without notice. In the event of a conflict between this handbook and Board policies or
      applicable law, the policies or law shall control.
      ADMISSION TO SCHOOL/RESIDENCY
      For a student to attend MCHS, the parent or legal guardian must reside within the district. Any resident
      student who has completed the work of the eighth grade and provides proof of: residency, age (birth
      certificate), a completed physical form, and immunization record, will be admitted to school. It is strongly
      recommended that a student also have a dental examination. Students whose parent or legal guardians
      move out of the district during the school year may finish that school year at MCHS, but must transfer
      to the new school district the following year.

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    Students who are transferring into the district must have their previous school send MCHS the following
    information: a completed transcript of credits, the student in good standing form signed by the principal
    of the school they are transferring from and a completed physical form and immunization record. A
    dental examination is strongly recommended. Proof of residency and a birth certificate are also required.
    Non-resident students who want to attend MCHS must pay a tuition fee based on the student per capita
    cost. Non-resident students will be admitted only after approval by the Board of Education and payment
    of the tuition charges.
    BOOK BAGS/BACKPACKS/SPORTPACKS/PURSES
    Bookbags/Backpacks/Sportpacks and Purses should be of reasonable size and shape. Special needs
    should be discussed with the Nurse and/or the Deans. Backpacks/Sportspacks must be kept in student
    lockers unless student is entering or exiting the building.
    BUILDING USAGE FOR STUDENTS
    Students entering the building before 7:45A.M. at the Central Campus will be required to wait near the
    career center, and before 7:30A.M. at the South Campus will be required to wait in the cafeteria. All
    students should be out of the corridors 15 minutes after their last scheduled class unless authorized.
    Athletes and students participating in after-school activities are only allowed to use those exits, and
    areas of the building designated for those after-school activities.
    Any student who needs to be in the building during unscheduled class times must check into the Deans’
    office and must carry a pass with them to their designated area.
    BULLETINS
    A daily bulletin is available on the MCHS website.
    CAFETERIA
    All students (including those who bring their lunches) will eat in the cafeteria. Students have a wide
    variety of choices, including regular type lunches and ala-carte items. Those who bring their lunches
    may purchase milk and other items. Information pertaining to specific meal options, and/or menu items,
    will be posted by the cafeteria staff. Lunch costs will be determined by the option chosen. Payment must
    be made at the time of purchase. Applications for free and reduced priced lunches are available at both
    campuses in the main office. Students are strongly encouraged to use the mealtime account system.
    DISCIPLINE OF STUDENTS WITH DISABILITIES
    In general, students with disabilities will be held accountable for the same expectations for appropriate
    conduct as non-disabled students. For students receiving special education services, an Individual
    Education Program conference will determine if the conduct at issue was caused by, or had a direct and
    substantial relationship to, the student’s disability.
    In situations where serious behavior problems arise which require the use of restrictive behavioral
    interventions, the interventions will be implemented in accordance with the Individual Education Program
    (IEP) and/or Behavior Intervention Plan (BIP) of the student. Restrictive behavioral interventions for
    serious behavioral problems not anticipated by the IEP/BIP may be used in emergency situations.
    DISCRIMINATION DISCLAIMER
    Educational opportunities will be offered by Minooka Community High School without regard to race, color,
    national origin, gender, religion, or handicap. The Director of Student Services of Minooka Community
    High School has been designated to serve as coordinator for the civil rights program as designated
    above. The program includes Title IX (prohibits discrimination on basis of gender), and Section 504
    (prohibits discrimination on basis of handicap).
    DISASTER DRILLS
    Drills are held at unspecified times. Each room has emergency exit procedures posted. When an
    emergency drill sounds, move quickly to the designated exit or area. Do not attempt to take coats or
    school supplies with you. In case of a fire drill, students should move quickly away from the building
    a safe distance, remaining together with their class. When the drill ends, students will return to class
    promptly and quietly. Various “Student Safety” drills will also be conducted.




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      GRUNDY AREA VOCATIONAL CENTER (GAVC)
      All Grundy Area Vocational Center (GAVC) courses are designed as two-year programs. Students
      can elect to take one year of a program and not return for year two with the exception of cosmetology.
      Students in this program receive four hours of classroom and practical work experience each day. Due
      to GAVC schedule students attending GAVC might not be able to attend all assemblies. All students who
      elect to attend GAVC classes are expected to be familiar with rules that relate to conduct and discipline
      at the Center and/or Cosmetology. Attendance in this program is a privilege not a right. The study hall
      period prior to and the bus ride to Morris is considered to be part of the GAVC experience. If behavioral
      infractions occur in either place, discipline will be assigned. If the student accumulates 3 behavioral
      infractions they will be removed from the GAVC program. Any violation of a safety or security nature
      may result in the student being immediately removed from GAVC. At that time, they will have their class
      schedule changed and assigned two (2) resource classes at MCHS and reimbursement of any fees will
      not be given. Discipline-related incidents will be handled by the Center and referred back to Minooka
      Community High School. If a student is suspended from Minooka Community High School the student
      is not allowed to attend classes at GAVC and the absences at GAVC will be unexcused. Students are
      also reminded that their continued attendance at GAVC is dependent upon their behavior riding the bus
      to and from GAVC. GAVC students are required to sign a behavioral contract that parents receive a
      copy of. Copies of this contract are available upon request in the Deans office. In addition, for sequential
      courses, such as Building Trades I & II, if a student earns a D for the final semester grade of the course,
      the student will not be allowed to continue to the next course without teacher recommendation. If a
      student earns an F for the final semester grade of the course in a sequential course, the student will not
      be allowed to continue to the next course. GAVC students will not be sold a parking permit if they
      still owe previous school fees and/or need to meet any previous school obligations.
      MCHS students must achieve Junior grade-level status by earning 26 credits by the first day of the new
      academic year in order to maintain enrollment in any GAVC course.
      GRIEVANCE PROCEDURE/DUE PROCESS FOR TITLE VI, IX - SECTION 504 PROGRAMS
      A grievance is a difference of opinion raised by a student or group of students involving (1) the meaning,
      interpretation, or application of established school policies; (2) difference of treatment; or (3) application
      of the legal requirements of civil rights legislation.
      This procedure is not intended to limit the option of the grievant(s) who wants to resolve any grievance
      mutually and informally. Hearings and conferences under this procedure shall be conducted at a time
      and place, which will afford a fair and equitable opportunity for all persons to participate.
      The grievance procedure is not required if the grievant(s) prefers other alternatives such as the Office
      of Civil Rights (OCR) or the courts. Due process shall exist throughout the procedure with the right to:
      a. Representation;
      b. Present witnesses and evidence;
      c. Confidentiality;
      d. Review relevant records; and
      e. Proceed without harassment and/or retaliation.
      Time limits refer to days when school is in session.
      STEP I - The student(s) and/or parents(s) should discuss the matter with the person(s) directly responsible
      for the grievance issue within fourteen (14) days of the time when a reasonably alert person should have
      been aware of the event giving rise to a grievance. An oral response must be made within five (5) days.
      STEP II - If the problem is not resolved, the grievance should be referred informally to the coordinator.
      A meeting must be held within five (5) days from the notification of referral and an oral response made
      within five (5) days.
      STEP III - If the grievance is still not resolved, it should be submitted in writing within ten (10) days to the
      principal. The grievance should be described as specifically and completely as possible. A thorough
      investigation of the issue will be conducted and documented. Extra time, if needed, can be mutually
      agreed upon. A meeting must be held between the grievant(s) and district representative within ten (10)
      days and a written response made within five (5) days after the meeting.
      STEP IV - If a resolution satisfactory to both parties is not reached, the grievance is to be forwarded to
      the Superintendent within five (5) days of Step III. The Superintendent will meet with the coordinator
      and the grievant(s) to seek a solution.
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    STEP V - If a satisfactory resolution has still not been achieved, the Superintendent and the grievant(s)
    will present the grievance reports on Step I, II, III and IV to the Board of Education within thirty, (30)
    days of Step IV. The Board of Education has the final decision as to the resolution of the grievance.
    A hearing officer may be included on any of the above steps at the discretion of the parties involved.
    When the resolution is reached, whether it is at Step I, II, III, IV or V, a written report of the solution shall
    be given to the grievant(s), the hearing officer, the Title VI, IX, and Section 504 Coordinator, the principal,
    the superintendent, and the Board of Education.
    HALL/RESOURCE PASSES
    Students who have work to make up, wish to confer with a teacher, practice for band or chorus, or
    receive special help must obtain a Resource Pass from a teacher ahead of time or a hall pass in their
    own handbook, from the teacher ahead of time. A student must always sign out of assigned attendance
    centers. The weekly hall passes provided in this handbook; should be used by students. Students
    must have a hall pass or Resource Pass in their possession at all times that they are in the halls during
    academic times. All hall passes and Resource Passes are valid for 5 minutes only.
    HEALTH EXAMINATIONS
    All students entering as freshmen or as transfer students must have a physical exam form completed
    and ready to turn in the first day of school. Students will not be able to receive their schedules on
    registration day if their physical is not completed. State law also requires that all students entering school
    be immunized against polio, diphtheria, tetanus, pertussis (whooping cough), measles, mumps, rubella,
    and Hepatitis B. In addition all students must show proof of receiving the Varicella vaccine, physician
    verification of Varicella disease history or laboratory evidence of varicella immunity. Proof of immunity is
    verified by documented evidence by a health care provider of having received the vaccine or of having
    had the disease. State law provides that students who do not meet these requirements be excluded from
    school. Students transferring from another state must have a current physical completed on an Illinois
    comparable health form on their first day of school.
    Vision and hearing screening will be done, as mandated, for freshmen during the semester in which they
    have physical education and for new students in the school district. Vision screening is not a substitute
    for a complete eye and vision evaluation by an eye doctor. Students will not be required to undergo this
    vision screening if an optometrist or ophthalmologist has completed and signed a report form indicating
    that an examination has been administered within the previous 12 months and that evaluation is on file
    at the school.
    INCLEMENT WEATHER PROCEDURES
    When school must be closed due to an emergency, an announcement will be made over the following
    stations as well as a School Messenger call will be made to students’ home phone numbers:
    RADIO:
    WGN - 720 AM            WONU - 89.7 FM      WBUS - 100.7 FM
    WBBM - 780 AM           WJTW - 93.5 FM      WYKT - 105.5 FM
    WJOL - 1340 AM          WLLI - 96.7FM       WJDK – 95.7 FM
    WCSJ - 1550 AM          WCCQ - 98.3 FM
    TELEVISION:             CBS - Ch. 2
                            NBC - Ch. 5
                            ABC - Ch. 7
                            FOX - Ch. 32
    WEBSITE:                www.mchs.net
                            www.emergencyclosings.com
    Parents and students may assume that school is open unless they hear or see a closure announcement.
    Since the telephone line can handle only a limited number of calls at one time, we urge parents and
    students to utilize the other announcement locations first.
    INSURANCE
    All participants in athletics must provide verification of insurance coverage in order to participate.

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      INTERNET/NETWORK POLICY
      All use of the Internet/Network shall be consistent with the District’s goal of promoting educational excel-
      lence by facilitating resource sharing, innovation, and communication. This handbook summary does
      not attempt to state all required or proscribed behavior by users. However, some specific examples are
      provided. The failure of any user to follow the terms of the District’s policies and procedures concerning
      Internet/Network access will result in the loss of privileges, disciplinary action, and/or appropriate legal
      action. The signature at the beginning of this book, on the acknowledgement page, is legally binding
      and indicates that the party who signed has read the terms and conditions carefully and understands
      their significance.
      Terms and Conditions
      1. Acceptable Use – All use of the District’s connection to the Internet/Network must be in support
           of education and/or research, be consistent with the educational objectives, policies, rules, and
           regulations of the Board of Education, and be in compliance with and subject to District and building
           discipline codes.
      2. Privileges – The use of the District’s Internet/Network connection is a privilege, not a right, and
           inappropriate use will result in a cancellation of those privileges. The system administrator will make
           all decisions regarding whether or not a user has committed a violation, and may deny, revoke, or
           suspend access at any time; his or her decision is final. Violations of the codes of conduct will result
           in the loss of privileges and student discipline. Due Process will be given commensurate with the
           seriousness of the offense.
      3. Unacceptable Use – The user is responsible for the user’s actions and activities involving the Internet/
           Network. The Administration may periodically revise the concepts of acceptable and unacceptable
           use. These revisions will become part of this document and the District’s policies and procedures
           concerning Internet/Network access.
      4. Internet/Network Etiquette – You are expected to abide by the generally accepted rules of the Internet/
           Network. These include, but are not limited to, the following: Be polite. Do not become abusive in
           your message to others.
           a. Use appropriate language. Do not swear, or use vulgarities or any other inappropriate language.
           b. Do not reveal the personal addresses or telephone numbers of students.
           c. Recognize that electronic mail (e-mail) is not private. People who operate the system have
                access to all mail. Messages relating to or in support of illegal activities may be reported to the
                authorities.
           d. Do not use the Internet/Network in any way that would disrupt its use by other users.
      5. No Warranties – The District makes no warranties of any kind, whether expressed or implied, for the
           service it is providing. The District will not be responsible for any damages you suffer. This includes
           loss of data resulting from delays, non-deliveries, missed-deliveries, or service interruptions caused
           by its negligence or your errors or omissions. Use of any information obtained via the Internet/
           Network is at your own risk. The District specifically denies any responsibility for the accuracy or
           quality of information obtained through its services.
      6. Indemnification – The user agrees to indemnify the School District for any losses, costs, or damages,
           including reasonable attorney fees, incurred by the District relating to, or arising out of, any breach
           of the District’s policies and procedures concerning Internet/Network access.
      7. Security – Internet/Network security is a high priority. If you can identify a security problem on the
           Internet/Network, you must notify a teacher, dean or administrator. Do not demonstrate the problem
           to other users. Keep your account and password confidential. Attempts to log-on to the Internet/
           Network as a system administrator will result in cancellation of user privileges. Any user identified
           as a security risk will be denied access to the Internet/Network.
      8. Vandalism – Vandalism will result in cancellation of privileges and other disciplinary action. Vandalism
           is defined as any malicious attempt to harm or destroy the networks, software, hardware, and data
           of the District, another user, the Internet/Network, or any other Internet/Network. This prohibits
           degrading or disrupting of equipment, software, or system performance. It also includes, but is not
           limited to, the uploading or creation of computer viruses. Users are responsible for any and all costs
           related to the repair or restoration of any damage done through vandalism. The District will use the
           legal system to seek restitution.
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    CYBRARY/MEDIA CENTER
    Students coming to the library from resource must be signed up by one of their current teachers on
    the library Google Doc before coming to the library. Students coming to the library from a class must
    have an individual pass. Central GAVC students and those on release time do not need a pass nor do
    they need to be signed up on the library Google Doc before coming to the library. All students using
    the library during the school day must present their current and valid student ID at the welcome desk.
    LOCKERS
    (Hallway/P.E./Athletic)
    Lockers and combinations are issued at the beginning of the year. Students are to use their assigned
    lockers only. Students may have assigned lockers at both campuses. Each student is responsible for
    keeping his/her locker clean both inside and outside. Pictures and advertisements displayed in lockers
    must be in good taste and not advertise alcohol, drugs, tobacco, gang symbols or activity, illegal activities,
    hate messages, sexual innuendo, or vulgar words or gestures. Damages caused by misuse will be charged
    to the student responsible. Any locker malfunction should be reported to the Deans’ office for repair.
    LOST/FOUND/STOLEN ITEMS
    Any items found in or around the school will be returned to the main office at both campuses where it
    will be logged in and held for two weeks. At the end of that period of time, any unclaimed items will be
    donated to a charitable organization. Prior to the end of that two-week period, the owner may claim the
    item by properly identifying it. Report any loss as soon as it is detected to your teacher and/or to the
    Deans’ office. Stolen property should be reported to the Deans’ office.
    MEDICATIONS
    Minooka Community High School recognizes that occasionally a medication must be taken by students
    during school hours. When a student’s licensed health care provider and parent(s)/guardian(s) believe
    that it is necessary for the student to take a medication during school hours, the following procedure
    must be followed.
    Prescription medication must be kept in the Certified School/Registered Nurse’s office in a pharmacy
    provided bottle with all identifying information and instructions clearly legible. A “Student Medication”
    form must be completed by the parent and prescribing health care provider prior to the first dose of
    prescription medication being administered. All prescription medication(s) must be transported to the
    school by the student’s parents. A student may not possess prescription medication at any time on the
    school bus or school property.
    As per school board policy a student may posses no more than a 12-hour dosage of non-prescription/
    over the counter medication as long as a “Self Administration of Non-Prescription Medication by Student”
    form has been completed by a parent and is on file in the Certified School/Registered Nurse’s office. If
    a parent/guardian wishes to have their child keep a larger supply of non-prescription medication at the
    school, then that supply must be brought to the school in the original container and must be kept in the
    Nurse’s office. A health care provider must complete the “Student Medication” form for that medication.
    All over the counter medication is to be provided by the student. The school nurse will not provide or
    dispense any non-prescription medication.
    No student shall possess or consume any prescription or non-prescription medication on school grounds or
    at a school-related function other than as provided for in the board policy and its implementing procedures.
    Nothing in this policy shall prohibit any school employee from providing emergency assistance to students,
    including administering medication.
    Multi-dose inhalers (MDI) for asthma may be carried by the student for immediate use at the student’s
    discretion. A “self administration of asthma medication” form must be signed by a parent yearly and kept
    on file in the nurse’s office. A student may possess an epinephrine auto-injector (EpiPen) for immediate
    use at the student’s discretion, provided the student’s parent(s)/guardian(s) has completed and signed
    a “School Medication Form.” This form must be signed by a parent and physician yearly and kept on file
    in the nurse’s office. Failure to comply with these procedures could result in disciplinary action after a
    Deans’ investigation. (Please refer to specific consequences involving drugs and/or prescription drugs
    on campus without permission.) All mentioned medication permission forms are available from the
    Certified School/Registered Nurse at either campus or online at www.mchs.net and follow the Certified
    School/Registered Nurse link.


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      The School District shall incur no liability, except for willful and wanton conduct, as a result of any injury
      arising from a student’s self-administration of medication or epinephrine auto-injector or the storage of
      any medication by school personnel. A student’s parent(s)/guardian(s) must indemnify and hold harmless
      the School District and its employees and agents, against any claims, except a claim based on willful
      and wanton conduct, arising out of a student’s self-administration of an epinephrine auto-injector and/
      or medication, or the storage of any medication by school personnel.
      NURSE’S OFFICE
      Central: Mrs. Peggy Babic        South: Mrs. Heidi Lia
      A certified school nurse and/or a registered nurse are available to students during regular school
      hours. All students who receive injuries in classes or on the school grounds should report to the nurse
      immediately. All students requesting permission to leave school due to illness must see the school
      nurse prior to leaving school.
      PARENTS RIGHTS TO KNOW EDUCATOR QUALIFICATIONS
      District parents have the right to request information regarding the professional qualifications of any
      teacher that is instructing their child. Parents may request the following information: Whether or not the
      teacher has met state qualification requirements; Whether or not the teacher is teaching under emergency
      or provisional status; The bachelor’s degree major of the teacher, any other certification or degrees held
      by the teacher and the subject area of the certification or degree; and Whether your child is provided
      services by teacher aides/paraprofessionals and, if so, their qualifications.
      Please visit www.mchs.net or contact District Office at 815-467-2557 for more information on making
      a request.
      PARENT-TEACHER NIGHT
      A Parent/Teacher conference date is scheduled during term one. This meeting offers the opportunity to
      discuss the student’s academic performance. Academic progress reports are available to view online.
      To obtain a password for online viewing of progress reports, contact Jim Kelly at 815-467-2140 x5119.
      Those not interested in using Power School to view their child’s progress may request that paper copies of
      progress reports and report cards be sent home. It is the responsibility of the parents to contact teachers
      about progress reports. Under certain circumstances, the School Visitation Rights Act requires employers
      to grant leave to eligible employees for the purpose of attending school conferences or classroom activities.
      For additional information, please refer to the School Visitation Rights Act at 820 ILCS 147/1, et seq.
      PHYSICAL EDUCATION – NON-DRESS
      A fundamental goal of all physical education classes at Minooka Community High School is to improve
      each student’s fitness. Students that do not dress for physical education cannot fully participate in class
      activities and therefore cannot make improvements in their fitness. Each time a student does not dress
      for physical education class, he/she will not be able to complete the lesson’s “Daily Assessment.” This
      will impact the student’s grade. “Daily Assessments” missed due to a non dress cannot be made up.
      Students that forget their PE uniform can always rent a Minooka PE shirt and shorts for .50 cents each
      day prior to the start of class. If students do not have .50 cents to rent they may be issued an IOU for the
      uniform. A student will have the opportunity for unlimited PE uniform rentals and IOU’s without receiving
      disciplinary consequences. As such, students have the opportunity to dress for PE each day without
      disciplinary action. If students choose not to take the opportunity to dress for PE they will be issued the
      following consequences:
      Step 1 – First Non-Dress Day: The instructor informs the student of the infraction. The instructor will
      issue the student an after school detention.
      Step 2 – Second Non-Dress Day: The instructor informs the student of the infraction. The instructor
      calls/emails home within two school days, notifying the parent(s)/legal guardian(s) of the problem and
      the consequences, should the student choose not to dress for another physical education class during
      the semester. The instructor will issue the student an after school detention.
      With each additional non-dress, the teacher will issue an after school detention.
      When the student’s grade makes it mathematically impossible to pass the semester, the instructor will
      refer the student to the counselor, so that the student may be removed from the class with an “F” for the
      semester and entered into a resource class.


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    PICTURE DISCLAIMER
    Students and parents are advised that the District’s Community Relations Department photographs
    extra-curricular activities, social events, academic activities and other school events and activities. The
    photographs are printed and/or displayed in various publications and other locations, including yearbook,
    press releases, bulletin boards, newsletters, brochures, calendars, hallway posters and the District’s web
    site. Photographs may be provided to local newspapers for publication. The District reserves all rights
    to the photographs, which are used for school and community relations purposes without compensation
    to the individual(s) pictured.
    REPLACEMENT OF HANDBOOK
    Replacement cost of the Student/Parent Handbook is $10.00.
    RESOURCE EXPECTATIONS
    Resource is intended for quiet study and educational purposes. Therefore, the following rules will apply:
    1. Students must have a legitimate resource pass to leave the resource.
    2. Students must sign in and sign out on the resource sign in/out sheet.
    3. Students must return to their resource before the end of that time block.
    SCHOOL FEES
    A school fee will be assessed for each student. The fee will be dependent upon whether a student is
    full-time or part-time. Nonpayment of school fees may result in a student being barred from participating
    in all student events or activities. Privileges covered may include all extracurricular activities, school
    events or activities, including graduation, athletics, club organizations, and social events. The school
    fee includes all textbooks, workbooks, lab manuals, novels, practice sets, school newspaper, admission
    to all school activities, except tournaments and school musicals/plays, I.D. card, and school handbook.
    School-owned materials are to be returned in good condition following their use.
    The school fee does not include a calculator, P.E. uniform, P.E. lock, school yearbook, and GAVC fees.
    School fees will be sent annually and are due at time of student registration.
    SCHOOL RESOURCE OFFICER (SRO)
    In partnership with the Minooka and Channahon Police Departments, police liaison officers are assigned to
    both the Central campus and the South campus. These officers work in partnership with the administration
    and Deans’ Offices to maintain a safe and positive learning environment in both buildings.
    SCIENCE DEPARTMENT - SAFETY CONTRACT
    There is a departmental safety contract that students will be required to sign and have signed by their
    parent(s)/guardian(s) prior to performing labs in class. Discipline will be determined by both the science
    department and the Deans’ office on a case-by-case basis.
    SEARCHING STUDENTS/LOCKERS/VEHICLES
    Upon reasonable suspicion by a Dean and/or an administrator, a school official will have the right to
    search a student’s person, vehicle, locker, and personal belongings.
    Locker Searches
    Lockers are school properties that are loaned to students. The school authorities have the right to open
    and search any locker and its contents as they deem necessary, without notice to or consent of the
    student and without a search warrant.
    Vehicle Searches
    All vehicles are subject to search and inspection by designated school personnel if deemed necessary
    by the Dean/Administration. This applies whether or not a parking permit has been purchased.
    SHUTTLE BUSES
    Shuttle buses transport all students between the two school buildings for classes during the school day.
    If a student misses the shuttle bus they must report to the Deans’ office immediately. After explaining to
    a Dean why they missed the bus, discipline consequences may be assigned.




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      SOCIAL MEDIA
      Students often mistakenly believe that social networking websites have a veil of privacy about them and
      assume their profiles are viewed only by a close circle of friends and fellow students. To the contrary,
      the content on most social media websites is accessible by anyone in the general public unless security
      and privacy features are used. The public nature of these websites can create personal safety and
      personal welfare concerns. Students should also be aware that potential employers and college/university
      admissions officers now regularly screen applicants by conducting searches of profiles. Students should
      be very careful about what personal information they share on social networking websites.
      STUDENT DIRECTORY INFORMATION
      Minooka Community High School can release to the military and institutes of higher learning directory
      information on all students unless we receive a written request from a parent to withhold the information.
      Directory information includes student’s name and address, telephone number, grade level, date of birth
      and place, parents’ names and addresses, information on participation in school sponsored activities
      and athletics, the student’s major field of study, and period of attendance in the school. Students are
      responsible for immediately reporting any changes in this information to the registrar’s office.
      TEXTBOOKS
      The school will furnish textbooks and students are expected to show concern and are responsible for
      the care and treatment of textbooks. Students will be charged for lost or damaged textbooks and/or
      workbooks. Notifications of any obligations are mailed home on a monthly basis.
      USE OF OFFICE TELEPHONES
      Students may make telephone calls before school begins in the morning and after school ends. The office
      phones are for school business only. In case of an emergency, a student must secure a pass from his/
      her classroom teacher to go to any office and secure permission to use the phone.
      VALUABLES
      Students are strongly discouraged to bring items of value to school. Students are advised not to bring
      large amounts of cash or valuables to school. The school is not responsible for lost or stolen items.
      VIDEO SURVEILLANCE
      In the interest of the safety and security of students, staff, visitors, and property, video surveillance
      equipment is present and visible in many areas of both MCHS campuses and on district school buses.
      It will be understood that there is no reasonable expectation of privacy in these areas.
      VISITOR REGULATIONS
      All visitors must check in at the main office at both campuses and hand in a picture I.D. to receive a
      visitor’s pass. School personnel will then escort them to their destination.




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    SCHOOL EVENTS, DANCES, AND EXTRA-CURRICULAR ACTIVITIES
    School events, dances, and extra-curricular activities are privileges provided primarily for Minooka Com-
    munity High School students. Attendance and participation in these privileged extra-curricular activities can
    be taken away from students who have demonstrated an inability to perform the most basic expectations
    of public schooling, including but not limited to arriving to classes on time, maintaining regular class
    attendance, demonstrating proper behavior, and progressing toward graduation. Students are reminded
    that while attending school events they should refrain from bringing any expensive or luxury items with
    them. (ex. digital camera’s, I-pods, expensive jewelry). If they do, they do so at their own risk. The
    School District shall incur no liability for any lost or stolen items at these events either on or off campus.
    If a dance or activity is open to outside guests, an announcement will be made. All outside guests are
    required to provide proof of identification by a state I.D, Driver’s License, or current high school I.D.
    Students must obtain, complete, and have approved, an out of school guest form, before purchasing a
    ticket. Forms may be obtained from the information board outside of the main office. Tickets will not be
    sold to outside guests at the door. Tickets are limited if the dance is held at the school. Tickets will be
    issued on a first come-first served basis. Be advised that students under suspension will not be sold
    tickets. Student suspensions are considered to be in effect from the date of the suspension until the
    beginning of the school day the student is allowed to return to school, and include weekends, holidays and
    evenings during that time. No junior high students or guests over the age of 20 years old will be allowed
    at any school dance or activity. Guests are the responsibility of the host student. Students and guests
    are allowed to remain at the event until the scheduled end time. However, if students leave before the
    end time they are not permitted to return per the school’s “Good Night Policy.” Spectators and audience
    members are prohibited from being in possession of water or other refreshments purchased offsite when
    concessions are available at a specific event.
    School rules will be enforced regarding students and their guests in attendance at school events, dances,
    and extra-curricular activities. This includes but is not limited to alcohol, tobacco, and drugs. Any students
    or guests who are suspected of consuming alcohol in violation of this rule will be asked to submit to
    a breathalyzer administered by a police officer. Should a guest refuse to submit to a breathalyzer the
    student and guest will be taken to the Police Department. A social suspension will also be assigned to
    the students and a no trespass letter mailed to guests.

                                    STUDENT SERVICES
    COUNSELORS:
    CENTRAL CAMPUS (815) 467-2140                          SOUTH CAMPUS (815) 521-4001
    Juniors/Seniors                                        Freshman/Sophomores
    Mrs. Bobbi White         (A –E)        Ext. 5072       Mrs. Katie Cassidy  (A - G)            Ext. 4164
    Mrs. Kristin Carlson     (F - K)       Ext. 5058       Ms. Kristina Brown  (H - O)            Ext. 4165
    Mrs. Jessica Hopkins     (L– Rh)       Ext. 5084       Mrs. Angela Ferro   (P – Z)            Ext. 4155
    Mr. Ray Liberatore       (Ri– Z)       Ext. 5091
    SOCIAL WORKERS/PSYCHOLOGIST:
    CENTRAL CAMPUS                                         SOUTH CAMPUS
    Ms. Shannon Kleczka 467-2140 Ext. 5103                 Ms. Melissa Caruso   521-4189
    Mr. Erik Milnes     467-2140 Ext. 5032                 Mr. Erik Milnes      521-4067
    Mrs. Lauren Corsi			                                   Mrs. Lauren Corsi  521-4071
    EARLY GRADUATION
    Students who have completed graduation requirements by the end of six or seven semesters of school
    attendance may apply to their counselor for early graduation. Notification of the student’s request and
    verification of the student’s eligibility for early graduation will be given by the counselor to the Principal
    and the Assistant Principal. The Superintendent, or designee, upon the recommendation of the Principal,
    may grant permission for early graduation to a student. The deadline for application/submission of
    paperwork is the last day of the semester prior to the semester of graduation. Students interested in the
    early graduation option should contact their counselors for information. Once fall semester of the senior
    year has started, students may not drop classes to declare early graduation.

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      GRADE POINT AVERAGE (GPA) AND CLASS RANK
      Grade point average at Minooka Community High School is computed by dividing grade points earned
      by the number of attempted credits. Every letter grade is assigned a numerical value (grade points).
      There is a distinction between weighted courses and regular courses in relation to the assignment of
      grade points for a particular letter grade.
      Weighted courses are given the following grade point values:
      A+ = 5, A = 5, A- = 4.7, B+ = 4.3, B = 4, B- = 3.7, C+ = 3.3, C = 3, C- = 2.7, D+ = 1.3, D = 1, D- = .7, F =0
      Regular courses are given the following grade point values:
      A+ = 4, A = 4, A- = 3.7, B+ = 3.3, B = 3, B- = 2.7, C+ = 2.3, C = 2, C- = 1.7, D+ = 1.3, D = 1, D- = .7, F =0
      Each semester, a grade point average will be computed for honor roll purposes. Students who earn
      a GPA of 3.00 to 3.74 will be placed on the regular honor roll. Students who earn a GPA of 3.75 and
      above will be placed on the high honor roll.
      At the end of a semester, the GPA for that semester will be calculated. In addition, a cumulative GPA
      will be calculated which includes all grades (including physical education) earned while in high school.
      The cumulative GPA is calculated by, adding all grade points earned, and dividing by the total number
      of attempted credits.
      GRADING SYSTEM/SCALE
      The grading system used for the term and the semester report is as follows:
                Weighted/Unweighted Grading Scale
                97-100 A+          87-89 B+          77-79 C+               67-69 D+                 0-59     F
                93-96 A            83-86 B           73-76 C                63-66 D
                90-92 A-           80-82 B-          70-72 C                60-62 D-
      CLASS RANK
      Class rank will be reported as a percentile band within which the student’s GPA falls. Semester and
      year-end report cards will include a student’s individual GPA and the corresponding percentile band (i.e.
      top 1% has a GPA of 4.7 and above). Additionally, the percentile band will be reported in Powerschool,
      on school profiles (updated yearly), and on transcripts. Percentile bands include: 1, 2, 3-5, 6-10, 11-15,
      16-20, 21-25, 26-50, 51-75, 76-100. Students may request their exact class rank from their counselor.
      GRADUATION REQUIREMENTS
      All students attending Minooka Community High School must meet the following graduation requirements:
                             CREDITS:                    REQUIRED:            ELECTIVES:
                             52                          36                   16
      The required credits are listed below:
      7 credits of English (3.5 yrs.) (Eng. I, II, III required, and one sem. elective)
      1 credit of Speech (1 semester)
      6 credits of Mathematics (3 years)
      6 credits of Science (3 years)
      2 credits of U.S. History (1 year)
      2 credits of World Cultures* OR Honors World History (1 year)
      1 credit of Government (1 semester)
      1 credit of Consumer Education or Economics (1 semester)
      2 credits from Arts, Vocal/Instrumental/General Music, Vocational Education, or World Language (1 year)
      1 credit of Health (1 semester)
      7 credits of P.E. (3 1/2 years)
      1 credit of a Computer Applications (1 semester)
      The remaining credits are earned through electives. If a student earns an F for the final semester grade
      of the course in a sequential course, the student will not be allowed to continue to the next course.



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    Class Designation by Credit
    Classification of students as freshman, sophomore, junior, or senior year students will be based on
    credits rather than years of attendance. Students must earn a minimum number of credits by the first
    day of the new academic year in order to be designated as a sophomore, junior, or senior as follows:
    Sophomore – 13, Junior – 26, Senior – 39.
    A student will not be allowed to participate in the graduation ceremony unless all academic requirements
    and financial obligations have been met.
    With prior administrative approval, a maximum of 6 units of credit may be recovered and counted toward
    the requirements for graduation from Minooka Community High School from the following: correspondence
    courses, exchange programs, out-of-district summer school, and independent study/night school.
    GUIDANCE SERVICES
    Students are assigned a counselor who can provide assistance in such areas as: course selection, career
    planning, job placement, college planning/selection, meeting graduation requirements, job planning, test
    results interpretation, and/or individual/home/social problems. When a student wants to talk to a counselor,
    the best procedure is to make an appointment so that both the student and the counselor will have time
    free for a discussion. The philosophy of the Guidance Department is to be people oriented. Therefore,
    the counselors believe in making personal contact on a daily basis with as many students as possible.
    Their goals are as follows:
    a. Aid each student in feeling important as an individual.
    b. Assist each student in finding direction after high school.
    c. Serve as the coordinating factor between student and all groups with whom the student interacts.
    d. Assist students in establishing positive self-esteem at both an academic and social level.
    e. Maintain personal and informal contact with all students.
    f. Take a pro-active approach through individual counseling, specialized groups, general meetings,
        specialized programs, and informational sessions.
    INCOMPLETES
    Students receiving an Incomplete (“I”) have two weeks from the end of the grading period in which to
    complete the work, unless special arrangements have been made with the student’s teacher/administra-
    tion. Failure to complete the work will result in a zero for all assignments remaining incomplete.
    MAKE-UP POLICY
    This applies to excused absences only.
    For make-up work, including quizzes, tests, review material and finals. Please follow the examples below:
    Examples:
    If a student is aware of an assignment, including quizzes, tests, review material and finals, being due on
    the day he/she is absent, then the assignment is due the first day that the student returns.
    A-day                 B-day                  A-day                    B-day                A-day
    Assignment            X                      Due date,                X                    Student returns,
    given		                                      student absent		                              assignment due
    If the student is absent or suspended on the day the assignment is given, then the student has the
    day he/she returns (to get the assignment) and the assignment is due during the next scheduled
    meeting time for that class.
    A-day                 B-day                  A-day                    B-day                A-day
    Assignment            X                      Student                  X                   Assignment Due
    given, but		                                 returns, assignment
    student absent		                             given
    This applies to excused absences only. The student is responsible for contacting teachers to acquire all
    make-up work. If a student will be out of the building for three or more days, the Attendance/Deans’ office
    should be contacted. The secretary will then contact the teachers and request work for the missed days.



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      NATIONAL HONOR SOCIETY
      Information regarding the MCHS National Honor Society and the MCHS National Honor Society selection
      process can be found at www.mchs.net
      The National Honor Society has specific guidelines regarding student discipline and consequences. The
      clarification of guidelines and consequences; can be explained by the National Honor Society advisor
      SCHOLASTIC HONORS
      Both a Valedictorian and Salutatorian are selected from the senior class. In order to be considered for
      either of these honors, a student must have been in full-time attendance a minimum of the last four
      semesters before graduation from MCHS and earned a minimum of 28 credits. Students who have been
      schooled in a NR/NA school for more than one semester of grades nine through twelve will not be eligible
      for the top 10% honors at graduation, including Valedictorian and Salutatorian.
      SEMESTER CREDIT/FINALS
      At the end of each semester, three school days are set aside for finals in every subject in whom the
      student is enrolled. Semester exams will be administered on designated test days only. Semester
      exams cannot be taken early, unless authorized by the Principal. Exemptions from semester exams
      can only occur in full year courses, where a student has earned an “A” for their semester one and term
      two grade. The exemptions will only take place at the end of the second semester. Exemptions do not
      apply to students taking JJC courses. The value of the semester final will be 20% of the overall course
      grade. Students enrolled in AP classes are expected to take the AP exam. Students who take AP exams
      have the option of taking the 2nd semester final exam. An unexcused absence from a semester exam
      will result in the student’s receiving a zero for that exam.
      The final grade on which the semester credit will be determined combines both the term grade at
      80% and the semester test grade at 20%. Only the final semester grades are recorded on a student’s
      permanent record.
      STUDENT PLACEMENT
      Students will be placed in remedial, basic, regular, or honor programs according to their ability in each
      subject. Proficiency exams, standardized test scores, writing prompts, teacher recommendations,
      previous school grades/placement, SRI reading test score, completed portfolio, and/or an application
      may be utilized to properly place the student and determine eligible credits. Students entering in the
      middle of a semester may be placed in an Alternative School, as determined by the Principal, pending
      admission into MCHS. Placement will be reviewed throughout the year and changes will be made as
      deemed necessary and/or advisable by the school administration.
      Admission Criteria for Transferring Recognized/Accredited School Students
      The credits of students who transfer to District 111 from public, private, or parochial schools that are
      recognized by the State Board of Education and/or accredited by the North Central Association or
      comparable associations will be honored. The Principal or designee will evaluate all transfer courses
      and may utilize any or all methods listed under Student Placement to evaluate transfer credits. No credit
      will be granted toward graduation requirements for courses in religious studies. In order to earn a MCHS
      diploma, a student transferring from a recognized/accredited school must be enrolled at MCHS or its
      affiliates the entire semester before graduation and earn a minimum of 7 credits.
      Admission Criteria for Transferring Non-Recognized/Non-Accredited (NR/NA) School Students
      (including private, home-schooled, and parochial students)
      Class Assignments: The building Principal or designee shall assign students to classes. Proficiency
      is defined as; validation of course work previously taken within a school setting for transfer placement,
      credit, and/or grade purposes.
      Assignment When Enrolling Full-Time in a District School: A student who, after receiving instruction in a NR/
      NA school, enrolls in the District will: (1) be assigned to a grade level according to academic credits earned.
      (2) be awarded academic credits from the District if the student demonstrates appropriate academic
      proficiency to the school administration. Any portion of a student’s transcript relating to such instruction
      will not be considered for placement on the honor roll or computation in class rank. Recognition of grade
      placement and academic credits awarded by a NR/NA school is at the sole discretion of the District.



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    Assignment When Enrolling Part-Time in a District School
    The District will accept private, home-schooled, or parochial students who live within the District for
    part-time attendance in the District’s regular education program provided there is sufficient space in the
    school/class. Requests for part-time attendance must be submitted to the principal for the school in the
    school attendance area where the student resides. All requests for attendance in the following school
    year must be submitted prior to May 1.
    Students accepted for partial enrollment must comply with all discipline and attendance requirements
    established by the school. A student in this category may attend any co-curricular activity associated
    with a District class in which he/she is enrolled. The parent/guardian of a student accepted for part-time
    attendance is responsible for all fees, pro-rated on the basis of a percentage of full-time fees.
    Transportation to and/or from school is provided to part-time school students on regular bus routes to
    or from a point on the route nearest or most easily accessible to the part-time student’s school or home.
    This transportation shall be on the same basis as the District provides transportation for its full-time
    students. Transportation on other than established bus routes is the responsibility of the parent/guardian.
    Extracurricular Activities: A nonpublic school student who attends a District school for a minimum of
    5 classes at MCHS during the regular school day, excluding lunch, shall be eligible to participate in
    extracurricular activities, provided his or her participation adheres to the regulations established by any
    athletic association in which the School District maintains a membership. A nonpublic school student
    who participates in an extracurricular activity is subject to all policies, regulations, and rules that are
    applicable to other participants in the activity.
    Admission Guidelines for Transferring NR/NA School Students (including private, home-schooled,
    and parochial students)
    Parents must provide verification that a student has been previously schooled. This will be true for
    students entering any level.
    1. Student placement and determination of eligible credits of NR/NA students may require any and/or all
          methods stated under Student Placement in order to demonstrate mastery of curriculum necessary
          for enrollment in sequential courses. Administration of such procedures shall be at the discretion of
          the building administrator and/or Department Chair as appropriate.
    2. Grades for NR/NA school courses will not be given by MCHS. Rather, given proper verification, a NR/
          NA student will receive a “P” for “Pass” on the high school transcript. A NR/NA student’s grade point
          average and class rank will be computed only on the basis of work completed while in attendance
          at MCHS. In order to earn a MCHS diploma, a NR/NA student must be enrolled at MCHS or its
          affiliates a minimum of the last four semesters before graduation and earn a minimum of 28 credits
          at MCHS.
    3. Eligibility of a newly enrolled student for Driver Education and for interscholastic athletics will be
          determined on the basis of pass/fail verification as described in item numbers 1 & 2 listed above.
    The Minooka Community High School Principal will utilize all of the information available to determine the
    best educational placement for the child. The MCHS Principal and Guidance Department will verify that all
    state and local standards for admission to public schools are met prior to enrolling the student at MCHS.
    Credit for Incoming Freshmen
    A student will be classified as a freshman only after the first day of actual student attendance at the
    high school. When students have successfully completed course work at the elementary or junior high
    school or through correspondence that would more typically be high school work (e.g., Algebra, French
    I), the student’s high school permanent record may reflect the name of the course and the name of the
    school. However, no grade will be noted. In no case will high school credit be assigned for this type
    of course work, but it may be used for student placement. It is the parents’ responsibility to arrange for
    evidence of this information to be provided by the elementary or junior high school. Junior high school
    students who are approved to take high school courses at the high school will have the courses noted
    on their high school record and will receive high school credit.




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      STUDENT RECORDS
      Notification of Rights of Parents and Students
      1. The student permanent record consists of basic identifying information, academic transcripts,
          attendance records, accident reports, health records, and scores received on all state assessment
          tests administered in grades 9-12. Permanent records shall be kept for 60 years after graduation
          or permanent withdrawal.
      2. The student temporary record consists of all information not required to be in the student permanent
          record including family background information, psychological evaluations, special education files,
          teacher anecdotal records, and disciplinary information. The temporary record will be reviewed
          every four years for destruction of out-of-date information, and will be destroyed entirely five years
          after graduation or permanent withdrawal.
      3. Parents have the right to:
          a. Inspect and copy any and all information contained in the student record. There may be a charge
               for copies, not to exceed $.35 a page.
          b. Challenge the contents of the record by notifying the Principal or records custodian in writing
               of an objection to information contained in the record. An information conference will then be
               scheduled to discuss the matter. If no satisfaction is obtained a formal hearing will be scheduled,
               by an impartial hearing officer.
          c. Receive copies of records to be destroyed. The school will notify the parents of the destruction
               schedule.
          d. Inspect and challenge information proposed to be transferred to another school district in the
               event of a move to another school district.
      4. Local, state and federal educational officials have access to student records for education and
          administrative purposes without parental consent. Student records shall also be released without
          parental consent pursuant to a court order or to appropriate persons in connection with an emergency
          where the records are needed meet a threat to the health or safety of the student or other persons.
          All other releases of information require the informed written consent of the parent/guardian
          or eligible student.
      5. The following is designated as directory information and shall be released to the general public
          unless the parents request in writing that any or all information not be released: student’s name
          and address, phone number, grade level, date of birth and place, parents’ names and addresses,
          information on participation in school sponsored activities and athletics, the student’s major field of
          study, and period of attendance in the school.
      6. A parent or student may not be forced by any person or agency to release information from the
          temporary record in order to secure any right, privilege or benefit, including employment credit or
          insurance.
      7. Full and complete copies of the laws, rules and regulations on student records are on file with the
          records custodian of each school and the Superintendent of the district.
      SUPPORT SERVICES
      •   Student Support Team (SST)
      •   Social Work Services
      •   Teen Support Groups
      •   In-House Guidance Services & Peer Mediation




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                 ATTENDANCE/DEANS’ OFFICE
    ATTENDANCE POLICY
    Regular attendance is essential for academic success, and is required in all classes held at MCHS
    attendance centers, including JJC courses and GAVC courses. The state laws of Illinois are very specific
    concerning the matter of pupil attendance in public schools. It is assumed that students will always be in
    school except for cases of illness or serious family crisis. The guidelines of the State of Illinois regarding
    attendance are as follows:
    Absent 30 minutes or less will show as a full day present
    Absent 31 to 210 minutes will show as one-half a day absent
    Absent 211 to 360 minutes will show as a full day absent.
    Parents should contact the main office if there is a question of extracurricular eligibility due to an absence.
    EXCESSIVE ABSENCES
    A student may accumulate seven (7) absences within each semester. Any absence following the seventh
    absence will be unexcused. In order for the absence to be excused, a student will be required to provide
    documentation from the list below. This policy will apply to a student being absent from a single class
    period seven times and/or a student missing two or more class periods, which will count as a full day
    absence, for seven days. Seven (7) absences does not equal seven (7) days. Absence from one class
    is equal to a ½ day absence per the ISBE attendance policy. Note that vacation days will be included
    as part of the 7 total days allowed per semester. Be advised extended vacation beyond seven days will
    turn into unexcused absences, which will prevent credit for make-up work. A Vacation Form (available
    in the Deans’ Office) must be submitted. Arrangements for absences due to doctor appointments, court
    appearances, vacations, etc., should be made in advance. It is recommended to bring in documentation
    for any absence listed below every time an absence of this type occurs in order to avoid an accumulation
    of unexcused absences due to lack of documentation.
    Provided documentation, from the list below, will not count towards a students seven (7) absences
    allowed per semester. Documentation must be provided within 48 hours.
    1. Doctor/Dentist Note
    2. Death in the family
    3. Court appearance
    4. College visit
    5. Hospitalization
    Example of absences that will count towards a students seven (7) absences allowed per semester.
    1. Sick without Doctor note
    2. Vacation
    3. Tardy/late to school greater than 30 minutes
    4. Student sent home through the nurse’s office
    5. Unexcused absence
    Again, an UNEXCUSED ABSENCE even with a parent phone call prevents the student from earning
    academic credit for that absence, and the student may receive disciplinary consequences.
    CHRONIC TRUANCY
    If a student reaches “Chronic Truancy” status (5% of the previous 180 regular attendance days) and
    if the student is under 17 years of age, he/she may be referred to Juvenile Probation and the parents
    referred to appropriate legal authorities. Truancies are unexcused absences. Work may be made up
    but no credit will be given.
    CLOSED CAMPUS
    All students are to report to their designated areas when scheduled and are to remain in school until
    dismissed at their scheduled end of the school day. No student is authorized to leave the school without
    properly signing out of the Attendance/Deans’ Office. Exceptions are provided for GAVC students,
    special education students, and groups going on field trips. Students will remain in school and go to
    their assigned area including lunch periods.
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      COLLEGE VISITS
      Seniors may be allowed two (2) school days for college visitations per year. Juniors may be allowed one
      (1) college visit per year. Requirements: arrangements made at least three (3) days in advance, students
      musts pick up and return an official MCHS College Visit Form signed by a college representative, and a
      parent must phone in to verify the absence. No college visit will be excused during the month of May.
      DROP POLICY
      When a student is above the age of seventeen (17) and misses five (5) consecutive days of school without
      valid cause, the student’s parent(s) will be notified in writing that if the student fails to attend school for
      ten (10) consecutive days of school without valid cause, the student will be deemed to have voluntarily
      withdrawn. When a student who is above the age of seventeen (17) misses ten (10) consecutive days of
      school without valid cause, the student will be deemed to have voluntarily withdrawn, and the student’s
      name will be removed from the District’s enrollment roster.
      Pursuant to the Illinois School Code, the District will deny re-enrollment to any student nineteen (19)
      years of age or older who has dropped out and who could not, because of his or her age and lack of
      credits, attend classes during the normal school year and graduate before his or her twenty-first birthday.
      EXCUSED ABSENCES
      Excused absences permit the student to make up missed assignments including quizzes, tests, review
      material and final exams and earn credit. It is the responsibility of the student to make the appropriate
      arrangements for the academic assignments to be made up.
      Based on Section (26-2A) of the Illinois School Code VALID CAUSES for an excused absence
      include the following:
      a. Personal illness or physical disability. This includes hospitalization, outpatient treatment, mandatory
          doctor consultation, and emergency appointments (each request will be dealt with individually) if
          verified by a student’s doctor/dentist. Students must present a card/note from the doctor/dentist
          to verify the appointment.
      b. Critical illness or death in the immediate family. This includes funerals and necessary travel.
      c. Approved school activities. This includes all field trips, both co and extra-curricular events scheduled
          during school hours, college visitations with proper documentation and other sanctioned events.
      d. Absences from class period due to conferences with Minooka Community High School administrators,
          counselors, nurse, or other staff members.
      e. Court appearances. Students must present statement from the court showing appearances.
      f. Others as determined by MCHS Deans and/or Administration.
      PERMIT TO LEAVE
      Students who leave the building without following the proper procedure will be considered ABSENT
      UNEXCUSED and disciplinary action will follow. Students who leave the building due to an illness must
      first report to the nurse. If the student is required to leave the building because of some other reason,
      the student must obtain permission from the Attendance/Deans’ Office.
      REPORTING AN ABSENCE
      The following provisions have been made to govern the attendance policy:
      a. It is requested that parents call the office to verify and explain the absence before 9 A.M. on the day
         of the absence. It is the responsibility of the student to remind the parent to make this phone
         call.
      b. In the event a phone call cannot be made during school hours, a voice mail system is available for
         parents to provide the above information at the Junior/Senior Campus phone number 815-467-2140.
         (Press 1). For the Freshman/Sophomore Campus call 815-521-4001.
      c. Failure to call the school within a 24-hour period will result in a student receiving an unexcused
         absence.
      d. Upon investigation, the Deans’ office reserves the right to excuse absences beyond the 24-hour
         time period.



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    TARDY - STUDENTS ARRIVING LATE TO SCHOOL
    A student arriving LATE but within 10 minutes after the tardy bell should go directly to class. The teachers
    and Deans’ will track the number of tardies for each student. Tardies will be tracked cumulatively for all
    classes and will reset at the beginning of the 2nd semester. The student may have a parent/guardian call
    the school to explain the reason for the student’s late arrival. It is the Deans’ decision whether the reason
    for tardiness is excused or unexcused. This phone call should be received by 9:00 A.M. the same day.
    If the reason given for the student’s late arrival is determined by the Dean to be acceptable the student
    will not be issued a consequence.
    If the reason given for the student’s late arrival is determined to be unacceptable, the student will be
    issued a consequence.
    Students arriving late, but within 10 minutes of the bell will be dealt with in the following manner:
    Infraction                                 Consequence
    First tardy                                Warning
    Second                                     Warning
    Third – Fifth                              One-Hour Detention
    Sixth – Seventh                            Two-Hour Detention & Possible Placement on the No-Pass List
    Eighth +                                   Four-Hour Detention & Possible Placement on the No-Pass List
    Any student who is absent, without a recognized excuse, for 11-90 minutes will be dealt with in the
    following manner:
    Infraction                                 Consequence
    First - Second                             Two-Hour Detention & Possible Placement on No Pass List
    Third – Fifth                              Two-Hour Detention / Possible No Pass List & Social Suspension
    Sixth +                                    Four-Hour Detention / Possible No Pass List & Social Suspension
    * Any infraction after the sixth will receive a Four-Hour Detention and the length of the social suspension
    will reset to 4 weeks.
    TRUANCIES
    Board Policy 7:190 - # 11
    Being absent without a recognized excuse is prohibited. State law and Board policy on truancy control
    will be used with chronic and habitual truants.
    Any student arriving more than 10 minutes late to any class period will receive a discipline consequence.
    Both Minooka Community High School Campuses are considered to be Closed Campuses. All students
    are to report to their designated areas when scheduled and are to remain in school until dismissed at their
    scheduled end of the school day. Students are not permitted to leave campus during their lunch periods.
    Any student who is absent, without a recognized excuse, for 11-90 minutes will be dealt with in
    the following manner:
    Infraction                                 Consequence
    First – Second                             Two-Hour Detention
    Third – Fifth                              Two-Hour Detention / One Week Social Suspension
    Sixth +                                    Four-Hour Detention / 4 Week Social Suspension
    * Any infraction after the sixth will receive a Four-Hour Detention and the length of the social suspension
    will reset to 4 weeks.
    Any student who is absent, without a recognized excuse, for more than 90 minutes will be dealt
    with in the following manner:
    Infraction                                 Consequence
    First                                      SSC & One (1) week social suspension
    Second                                     SSC & Two (2) week social suspension
    Third +                                    SSC/Four (4) week social suspension/possible parking pass revoked
    * Any infraction after the third will receive an SSC and the length of the social suspension will reset to
    Four (4) weeks.
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      Multiple Days - Two (2) days Student Support Center, reminder of Drop Policy; parent notification,
      SST referral, and an ordinance violation ticket may be issued, police referral, if applicable, removal of
      parking privileges.
      A student that accrues more than three (3) unexcused absences in a school year may be required to
      surrender their parking permit to the Dean. They will not be eligible for a refund of the money paid for
      the parking permit.
      If a student reaches “Chronic Truancy” status (5% of the previous 180 regular attendance days), that
      student will be recommended to the Board of Education for expulsion (gross disobedience). If the
      student is under 17 years of age, he-she may be referred to Juvenile Probation and the parents referred
      to appropriate legal authorities. Truancies are unexcused absences. Work may be made up but no
      credit will be given.
      TRUANCY PREVENTION INITIATIVE
      3 Step Approach to Absentee Reduction
      To improve daily school attendance Minooka Community High School District 111 will utilize the following
      interventions: support systems, parental involvement, possible home visits by the Dean’s Office, Guidance
      Counselors and the Grundy County Regional Office of Education. By addressing the underlying issues
      associated with absenteeism and providing supportive parental education, District #111 expects to reduce
      absenteeism. The Dean’s Office will manage all issues relating to student attendance.
      The three-stage approach incorporates actions by the school, students, and parents. There is a specific
      focus for each stage with disciplinary consequences:
      Stage One – The initial parent contact by letter will be made after a student misses 5 days (20 class
      periods). Parents receive the Truancy Prevention Initiative brochure and a letter seeking their assistance.
      The letter is brief and cooperative in nature. For some families, truancy will end at this step.
      Stage Two – The second parent contact is made after 10 days (40 class periods). This formal letter
      requests that the parents come in to have a conference with the Dean, the Guidance Counselor, and
      the student. The parent is presented with all of the documentation that the district has attempted to
      improve the student’s absenteeism. The student’s name is brought to the Pupil/Personnel Service team,
      requesting assistance.
      Stage Three – If the student’s absenteeism has not improved and the student has missed 15 days
      (60 class perods), the entire case documentation is handed to the Grundy County Regional Office of
      Education Truancy Caseworker. The request will be made for the Truancy Officer to schedule a hearing
      with the parent and the student to determine if the case will proceed to court.
      UNEXCUSED ABSENCES
      Based on Section (26-2A) of the Illinois School Code, any student who is absent one or more periods of
      the school day, without a VALID CAUSE, will be considered truant and therefore UNEXCUSED.
      UNEXCUSED ABSENCES without a recognized excuse prevent the student from earning credit for
      missed academic assignments, along with being subjected to DISCIPLINARY CONSEQUENCES.
      Examples of absences, which fall under this category, are:
      a. Truancy (willful absence from one or more class periods without proper parental and/or school
          consent).
      b. Oversleeping.
      c. No parent calls on a student absence. If the parent calls after school hours, they are asked to leave
          a phone number where they can be reached to verify the absence.
      d. Working at home or on the job, including baby-sitting.
      e. Missing the bus or ride to school.
      f. Chronic Truancy.
      This list is not all-inclusive. Any exception to the list will be considered by the dean/administration. An
      unexcused absence from a semester exam will result in the student receiving a 0%for that exam.




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    I.D. CARDS
    While on school premises students will have their I.D. cards in their possession and also while at school-
    sponsored activities. When students are asked for their ID they must produce and/or forfeit it. Staff can
    confiscate student ID’s at anytime. The following rules and procedures will apply.
    a. If a student loses his/her I.D. card, the student should immediately report it to the Deans’ Office
        where arrangements for a replacement I.D. card will take place. The replacement fee is $5.00.
    b. Should a student forget their ID they can buy a replacement at a cost of $5.00 or a temporary ID, at
        a cost of $1.00 or fill out an I.O.U. If a student accumulates $3.00 in IOU’s a bill will be sent home
        and the amount will be added to the student’s school fees. Once a debt of $3.00 is accumulated,
        no additional ID’s will be issued until that debt is paid in full.
    c. Defacement of ID will result in the student being required to purchase a replacement ID.
    d. Failure to be in possession of a current I.D. card will result in the student receiving consequences
    e. Failure to produce a current student ID at an athletic or extra-curricular event will result in the student
        being charged admission.
    First, second and third offense – Warning, Student has the following three options:
    1. Purchase new ID
    2. Purchase temporary ID
    3. Complete I.O.U.
    Fourth and subsequent offense – Written referral




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                  STUDENT CODE OF CONDUCT
      For over one hundred and twenty-five years, Minooka Community High School has been building a tradition
      of excellence. Accordingly, the community, parents, staff and administration of Minooka Community High
      School have high expectations for the students who attend MCHS. Academically, students are expected
      to do their best in each of their classes. This means that students must be in school each day, have their
      homework done to the best of their ability, be on time, and be a productive and cooperative member of
      the MCHS family. In order to assure that all students have equal access to the educational opportunities
      offered at MCHS, the following rules and regulations governing student behavior have been adopted.
      1. Students are to treat everyone associated with MCHS (fellow students, teachers, secretaries,
           custodians, cooks, campus monitors, guests, etc.) with dignity and respect. Treat others as we
           would like to be treated ourselves, MCHS will be a special school. Student behavior that interferes
           with other students’ opportunity to learn, teachers’ opportunity to teach, or others’ rights to function
           in the building will not be tolerated.
      2. Teachers are in charge of the program at MCHS. As such, students are expected to follow their
           directives. Those who fail to do so will be considered insubordinate and subject to disciplinary action.
           If a student questions a teacher’s decision, the student should do as the teachers directs and then
           see an administrator to discuss concerns.
      3. Hallways - students are expected to act like ladies and gentlemen. Please walk on the right, do not
           run or make loud noises. This is particularly important during the lunch period, when classes are in
           session.
      4. Students are expected to pick up after themselves and help maintain a clean and safe school
           environment. This applies to all areas of the school; hallways, classrooms, rest rooms, locker rooms,
           student center, cafeteria, and outside areas. Students littering or throwing things will be disciplined.
      5. Dress - students’ dress for school, school activities, and school trips should be reasonable, reflect
           good taste, and be agreeable to the school sponsor/administration. Any mode of dress or appearance,
           which is disruptive to the educational process at MCHS, will not be tolerated. Please see the specific
           rules under DRESS CODE.
      6. School rules apply to students at school, at school activities (whether at MCHS or another location)
           and on school approved transportation. Students will be subject to discipline for inappropriate
           behavior, including the following: engaging in any activity, on or off campus, that; poses a threat
           or danger to the safety of other students, staff, or school property, constitutes an interference with
           school purposes or an educational function, or is disruptive to the school environment. In general,
           inappropriate behavior will be grounds for disciplinary action whenever the student’s conduct is
           reasonably related to school or school activities. This includes any disruptive verbal, written, or
           electronic communication (i.e. email, text, social media) that causes a disruption to other students
           learning opportunities. School handbook jurisdiction may begin once a student leaves home in the
           morning and may extend until the student returns home after school.
      7. In an effort to change inappropriate student behavior, as well as to limit the repeating of unacceptable
           behavior, MCHS will employ every support service and consequence available. MCHS, however,
           does reserve the right to alter and/or modify this philosophy, in situations where the administration
           has determined that an extreme infraction has taken place. Misconduct will generally result in the
           progressive disciplinary measures set forth herein. However, for each offense, MCHS reserves
           the right to impose additional and/or more severe discipline, up to and including expulsion, when
           circumstances warrant.
      All students are responsible for knowing and observing these rules and regulations. Students who violate
      these rules will be subject to disciplinary action by the deans and/or school administration. A student’s
      series of discipline and consequences, for the 2019-2020 academic school year, will be cumulative.
      Therefore, the discipline and consequences a student receives in the first semester will carry over and
      be included in the totals that are allowable for the academic school year.




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                       DEMERIT SYSTEM
    1. In an effort to curb repeated acts of misbehavior, the Dean’s Office will continue the demerit system
       for the 2019-2020 school year.
    2. For every infraction written up, the student will receive a corresponding number of demerits. As he
       or she progresses on the matrix below different interventions will take place in an attempt to curb
       the student’s misbehavior.
       a. Written Warning = 1 demerit
       b. Dean’s Detention = 1 demerit
       c. 2-Hour Detention = 2 demerits
       d. 4-Hour Saturday = 4 demerits
       e. SSC = 6 demerits per day assigned
       f. Out of School Suspension = 8 demerits for each suspended day
       g. Be advised, the deans can issue demerits when no other consequence is given
       h. 1 day bus Suspension = 3 demerits
       i. Student removed from cafeteria = 3 demerits
    3. When the student reaches each of the following accumulated number of demerits, a letter will be
       sent home and the following interventions will take place.
       a. 25 total demerits: First mandatory meeting with student/dean, and/or the guidance counselor,
            stressing the importance of good behavior. Student will also receive a nine (9) week social
            suspension.
       b. 50 total demerits: Second mandatory meeting with student, dean, counselor, and parent/guardian
            to establish steps for acceptable behavior. Student will also receive an eighteen (18) week social
            suspension.
       c. 75 total demerits: Third mandatory meeting with dean, counselor and parent guardian. At this
            point a behavior contract may be put in place to establish specific loss of privileges such as
            hall pass, parking and attendance at extra-curricular activities. Student will also be socially
            suspended for the remainder of the school year. A student may have an opportunity to have
            demerits removed if there is an extended period of time without any discipline infractions.
            Students may only reduce their demerit total to 60.
       d. 85 total demerits: Final Warning – A final meeting will take place between the student, dean,
            counselor and either the building principal or assistant principal with the parent / guardian
            invited to attend. A final warning will be given, and the student will again be notified that if he/
            she reaches 100 demerits, he/she may be brought to the Board of Education for an expulsion
            hearing or alternative placement. Student will be socially suspended for the remainder of the
            school year.
       e. 100 total demerits: A student may be brought before the Board of Education for expulsion or
            alternatively placed in lieu of expulsion. – If student is alternatively placed for behavior reasons
            he/she will:
            1. Not be allowed on campus without permission
            2. Not be allowed to participate in athletics or any other extra-curricular activity as determined
                 by the administration
       f. Re-entry: Re-entry process outlined must be followed for student to be readmitted.
            * Students alternatively placed (Project Indian or Premier Academy) may be subject to the
                 above restrictions at the determination of the administration.
       g. Seniors who are eligible to graduate may be able to participate in graduation ceremony only if
            he/she has approval from the principal.




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          BEHAVIORAL INTERVENTIONS & DISIPLINARY
                         CONSEQUENCES
      Students who engage in misconduct will receive behavioral and disciplinary interventions and conse-
      quences to address the misconduct. Not all behavioral and disciplinary interventions and consequences
      are appropriate to address an act of misconduct. Determination of the appropriate behavioral and
      disciplinary interventions and consequences shall be made on a case-by-case basis. The severity of
      behavioral and disciplinary interventions and consequences will be proportionate to the misconduct and
      will be designed to remediate and improve behavior. Our procedures are designed to involve the student,
      teacher, parent(s)/guardian(s), counselor, school administrators, Superintendent, and/or Board in the
      process. The following behavioral interventions and disciplinary consequences are available to students,
      but may be modified at the discretion of the administration to better service the general student body.
      AFTER SCHOOL INTERVENTION
      A detention period will be assigned at both campuses for violations of school rules and will consist of the
      assignment of an additional 60-minute period after the regular school day Monday through Thursday.
      Detention dates, once determined, will not be changed except for reasons of unexpected emergency or
      by permission from the Dean. This is to allow the students time to make transportation arrangements
      with their parents. A parental request to the dean must be received before any consideration for change
      is given. Student employment or athletic practices or contests are not just cause for a detention
      change. A detention not served due to absence is automatically rescheduled for the day the student returns
      to school. It is the student’s responsibility to notify his/her parents/ guardians of the assigned detention.
      ALTERNATIVE EDUCATION PLACEMENT
      The placement of a student at a district approved alternate educational program. Rationale for this
      intervention/consequence consists of one or more of the following reasons: (1) in lieu of expulsion, (2)
      the discretion of administration (3) determination as the most appropriate setting for the success of the
      individual student based on previous interventions and supports.
      BEHAVIOR AGREEMENTS
      Established for students who have continuing behavior concerns. The student and parent(s)/guardian(s)
      are invited to a school conference to discuss the student’s inability to conform to school expectations.
      BUS SUSPENSION
      The temporary removal of a student from District-provided transportation for a period up to 10 days,
      but can be extended due to safety concerns. This penalty is designed to discourage acts of student
      misconduct that could pose a threat to the safety of students or staff in a moving vehicle or while traveling
      to and from school or school sponsored activities
      CONFISCATION OF ITEMS
      Any items brought to school that are forbidden per Illinois School Code, Board Policy, and/or Handbook
      Policy will be confiscated upon sight. In addition, any items that could jeopardize the safety of the student
      body or creates a disruption to the educational process will be confiscated. Parents/guardians should
      contact their student’s dean or administration to inquire about retrieval of confiscated items.
      DAILY CHECK
      A daily scheduled, positive interaction between staff members and students designed to increase a
      student’s ability to self-monitor his or her behavior. The approach utilizes a daily progress-monitoring tool.
      EXPULSION
      In cases of repeated or extreme anti-social, gross disobedience, or illegal behavior, the principal may
      recommend to the Board of Education that expulsion proceedings be initiated. The Board has the authority
      to expel a student for up to two (2) years. For a student who has been recommended for expulsion,
      the student’s work will be issued and corrected. However credit for the work will be contingent on the
      outcome of the expulsion hearing. If the next scheduled Board Meeting is beyond the 10-day suspen-
      sion, alternative educational opportunities will be provided until the next Board Meeting. The student
      is expected to remain off South and Central Campus school grounds until the Board Meeting occurs.




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    LOSS OF PRIVILEGES
    Students of Minooka Community High School may receive certain privileges - homecoming dance, prom,
    graduation ceremony, spectator at events, activities and athletics, parking privileges, etc. However,
    forfeiture of these privileges is possible when a student does not comply with school rules.
    MEDIATION
    A conflict resolution intervention in which disrupting students of similar age work to resolve a conflict in
    a controlled environment. The mediation is run by student services personnel and the outcome is an
    agreed upon written or verbal commitment between the two disputing parties.
    NO PASS LIST
    Students placed on the No Pass List will not be permitted to be in the hallways during class time without
    an escort. This is a loss of privilege that students will be assigned for a specific amount of time determined
    by deans and/or administration.
    OUT-OF-BUILDING SUSPENSION
    Although every effort is made to keep students in school, when a student’s behavior in the opinion of the
    dean, or administration, constitutes a threat to safety of other students, staff, or members of the school
    community, or substantially disrupt, impede, or interfere with the operation of school the student will be
    suspended out of the building.
    A student completing Out-of-Building Suspension may be required to schedule a conference involving the
    student, the dean or administrator, and parent(s) or guardian prior to being readmitted to regular classes.
    Students who are suspended from school may not attend class or any school-sponsored activity, on or off
    campus, or be on the school grounds during the suspension unless they have made prior arrangements
    with an administrator. Student suspensions are considered to be in effect from the date of the suspension
    until 11:59 pm. on the date that the suspension expires, and includes weekends, holidays, and evenings
    during this time. If suspended students appear at school during their suspension, they will be considered
    as trespassing and could be arrested for trespassing. When a student is on external suspension, he/she
    must contact his/her teachers for make-up assignments. Students will be able to make up all work for full
    credit during a suspension from school. The loss of instruction due to suspension cannot be made up
    and could lead to loss of academic credit. It is the student’s responsibility to contact teachers regarding
    the work that must be completed according to the makeup policy.
    SPECIAL NOTE: A student may be suspended up to ten (10) consecutive school days. Parents must
    be notified in writing of the reason for a suspension and be given a chance to review with a school
    administrator, if they so desire. Suspension days are not included in the seven-day absence count per
    semester (first suspension only).
    PARENT CONFERENCES
    Parents are viewed as partners with the school in helping students successfully complete their high
    school education. Parents are encouraged to be involved in their student’s education. In serious cases
    of student discipline or cases of repeated minor problems, Minooka Community High School will require
    parent conferences. If a conference is scheduled and a parent does not attend, the meeting will take
    place as scheduled without the parent present.
    PARKING PASS REVOCATION
    Severe or multiple violations of the parking rules and regulations may result in the loss of privilege to
    park on school grounds. Final decisions regarding the revocation of parking passes are made by the
    Deans’ Office and/or Administration.
    POLICE REFERRAL
    Students engaged in activities while in school that could result in felonious charges will be referred to
    the local police.
    RE-ENGAGEMENT MEETING
    Upon re-entry to the building (from suspension), a re-engagement meeting with the student, dean and/
    or a building administrator is required. Parents/guardians are strongly encouraged to attend this meeting
    with their student. During the meeting the school representative(s) will discuss all prior supports and
    interventions provided for the student, as well as additional supports and interventions available upon
    reentry.
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      SATURDAY INTERVENTION
      The assigned session may be two (2) to four (4) hours in length and run from 8:00 A.M. to 10:00 A.M.
      or 8:00 A.M. to 12:00 NOON on designated Saturdays at South Campus. Reminder; 2 hour Saturday
      detention = 2 demerits, and a 4 hour Saturday detention = 4 demerits.
      SOCIAL-EMOTIONAL GROUPS AND COUNSELING GROUPS
      Intervention groups created in response to student-specific skill deficit areas. The purpose of group
      sessions is to teach and foster the development of deficit skills in a controlled environment.
      SOCIAL SUSPENSION
      A socially suspended student may not attend or participate in any school functions while serving the
      social suspension. Any student who has been suspended out-of-building is automatically placed on
      social suspension for the length of the suspension. The term of any additional social suspension issued
      because of demerit thresholds will begin upon the student’s return to school after meeting with the Dean
      of Students. Students can also be socially suspended for violating handbook expectations, accumulation
      of excessive demerits, and inappropriate behavior while attending extra-curricular activities including
      assemblies. The Dean that assigns the social suspension will inform the parents and appropriate staff
      members. This includes but is not limited to, the Principal, the School Resource Officer, the other Deans
      and crowd control workers. The length of the social suspension may range from a minimum of one
      week from the date of the infraction, to a maximum length of the remainder of the school year. Social
      suspensions are considered to be in effect from the start date of the social suspension until 11:59 pm. on
      the date the social suspension expires, and includes weekends, holidays, and evenings during that time.
      When socially suspended, if a student is in attendance at a school-sponsored event, on or off campus
      (including both home and away events), he or she could be arrested for trespassing. Students who are
      socially suspended may be assigned 1 demerit per week that they are socially suspended.
      STUDENT CONFERENCES
      Students are provided opportunities throughout the school day to schedule conferences with deans,
      counselors, administrators, teachers and other staff throughout the building. The purpose of the such a
      conference is to discuss concerns and possible solutions with a focus on collaborative problem solving.
      STUDENT SUPPORT CENTER
      The Student Support Center is assigned to a student based on a serious act of misconduct. The length
      of a Student Support Center assignment may vary from part or all of each 90-minute time block or the
      entire school day. Students assigned to the SSC will have the opportunity to work with one of the school’s
      Behavior Interventionists to take restorative measures to remediate their behavior and reconcile any
      relationships damaged as a result of the student’s behavior. Students who fail to successfully serve
      their SSC or misbehave while assigned will be subject to additional interventions and/or more severe
      disciplinary consequences.
      WEEKLY CONNECT
      A weekly scheduled, positive interaction between staff members and students designed to regularly
      monitor academics and behaviors through the use of a weekly progress-monitoring tool.




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             SPECIFIC DISCIPLINE INFRACTIONS:
    The School District addresses student misconduct on a case-by-case basis, considering the
    individual circumstances of each incident. The interventions and consequences listed above in
    this handbook are guidelines only, and may be modified at the discretion of school officials. The
    School District complies with Public Act 99-456 and makes decisions relating to consequences
    in accordance with Public Act 99-456
    Minooka Community High School teachers, counselors, deans, and administrators work with students to
    provide a safe and secure environment. Two-way communication between the school and our student
    body is essential to ensure the safety of staff and students. Students are encouraged to inform, discuss,
    self-report, and/or document items and actions they observe that could threaten school safety to the
    appropriate staff members. Furthermore, students’ assistance and proactive behaviors will be taken
    into account in the event that consequences are administered.
    The following is a listing of specific infractions and rules that are used to govern the student body at
    MCHS. However, no listing of rules can be all-inclusive. Students will be subject to intervention and/or
    disciplinary action any time their behavior is disruptive, illegal, or inconsiderate of others.
    ALCOHOL/ALCOHOL PARAPHERNALIA
    Board Policy 7:190 – #2
    The school administration is authorized to discipline students for gross disobedience or misconduct,
    including, but not limited to using, possessing, distributing, purchasing, or selling alcoholic beverages.
    Students who are under the influence are not permitted to attend school or school functions and are
    treated as though they had alcohol in their possession.
    RULE:
    The possession, use, transmission, sale, purchasing distribution of alcohol/alcohol paraphernalia (i.e.
    tappers, beer bongs, shot glasses, etc.) or being under the influence of alcoholic beverages of any kind
    is not permitted on school property, on school buses, or at any school-sponsored activity, either on
    campus or off campus. Students who are suspected of consuming alcohol in violation of this rule will be
    asked to submit to a Breathalyzer, administered by a police officer. Should a student refuse to submit to
    a Breathalyzer the student will be taken to the Police department.
    First offense: Based on a Dean investigation the student will receive up to a ten (10) day out-of building
    suspension. If both the student and parent/guardian chooses to participate in a school approved alcohol
    assessment and counseling program the suspension will be reduced to a five (5) day out-of-building
    suspension. If the student fails to provide proof of this assessment the full suspension will be administered.
    Also a Parent conference, Police referral, social suspension, and a possible recommendation for
    Expulsion could occur.
    Second and subsequent offenses’ - Ten (10) days Out-of-Building Suspension pending a dean
    investigation; Possible recommendation for Expulsion, Police Referral; Parent Contact.
    ASSAULT AND BATTERY TOWARD A STUDENT, STAFF MEMBER AND/OR SCHOOL
    BOARD MEMBER
    Board Policy 7:190 - #14
    Violation of any criminal law such as assault and battery, arson, theft, gambling, and/or hazing will result
    in disciplinary action.
    Violation of these prohibitions may result in the following disciplinary actions: Ten (10) day Out-of-Building
    Suspension and recommendation for Expulsion; Police referral; Parent conference before student can
    return to schol.
    BOMB THREATS
    Board Policy 7:190 - #15
    Engaging in any activity, on or off campus, that poses a threat or danger to the safety of other students,
    staff or school property is prohibited.
    First offense - Out-of-Building Suspension pending deans’ investigation. The Suspension may be up to
    ten (10) days; possible expulsion; Police referral; parent conference before student can return to school.
    Second and subsequent offenses’ - Ten (10) days Out-of-Building Suspension; possible recommenda-
    tion for Expulsion; Police referral; Parent conference.
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      BUS MISCONDUCT
      Board Policy # 7:220
      The Superintendent, or any designee as permitted in The School Code, is authorized to suspend a student
      from riding the school bus for up to 10 consecutive school days for engaging in gross disobedience or
      misconduct.
      Students who ride the school bus to school or to extra-curricular activities are expected to conform to
      the prescribed school bus rules as posted in the school bus. Students are expected to carry their I.D.
      while on the bus.
      Public Act 95-0352 effective 8-23-07 allows both a visual and audio recording to be made on the
      interior of a school bus when transportation is provided for any school-related activity. Notice of such
      recordings will be clearly posted on the entrance door and inside the school bus. Recordings must be
      held confidential and can only be used by school officials and law enforcement personnel for disciplinary
      actions or prosecutions related to incidents occurring in or around the school bus.
      Rules:
      Bus rules include but are not limited to the following:
      a. Do not leave your seat while the bus is in motion.
      b. Absolutely no swearing or sexual comments.
      c. Keep your hands to yourself.
      d. No intimidation of other students.
      e. Bus driver can assign seats for the entire school year.
      f. No spitting.
      g. No throwing litter or hanging outside window.
      h. No smoking nor possession of tobacco products, lighters, or matches.
      i. No unnecessary noise or rude conduct.
      j. Do not distracts driver.
      k. Students from South campus are required to ride their assigned bus from South Campus to Central
           Campus, and then home.
      l. Students must enter/exit the bus from their assigned pick-up/drop-off.
      m. Students must ride assigned bus, unless they have written permission from school administration.
      Students who fail to observe these rules will, upon the complaint of the driver, be issued detentions,
      assigned seats, or removed from the bus for a period of time. Parental conference will be held when
      deemed necessary. Students should be aware that removal from the bus might occur on the first violation
      if the situation so warrants.
      Reminder: School handbook jurisdiction may begin once a student leaves home in the morning and
      may extend until the student returns home after school.
      First offense: Based on a Dean investigation, disciplinary action may range from a warning to
      an Out-of-Building suspension with a recommendation for Expulsion




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    CAFETERIA MISCONDUCT
    In order to ensure a clean and comfortable environment for all, students are asked to observe the following:
    a. Students are to be on time to lunch. Tardies will be counted.
    b. Upon entering the cafeteria, take the proper place at the end of the service line. Do not “cut” in front
         of others already in line.
    c. Only students purchasing food or beverage are allowed in lines.
    d. Keep all doorways clear for cafeteria workers transporting food to other serving-lines.
    e. Eating will be allowed in the cafeteria only.
    f. Students should not harass and/or coerce others for money.
    g. Students are allowed only within the cafeteria during lunch periods. Students are not allowed to go
         to their locker or be in a hallway without a pass. (Note) All students sitting at a lunchroom table will
         be held responsible for clearing their table and the immediate area.
    h. Leave the table and floor around the table free from lunch papers and refuse when finished eating.
    i. Return all trays, to the designated area.
    j. Students are not allowed to order any take-out food to be delivered.
    k. No selling of non-school approved items.
    l. No throwing of food.
    Based on a Dean investigation, disciplinary action may range from a warning to an Out-of-Building
    Suspension.
    A student who is removed from the cafeteria because of poor behavior will receive up to 3 demerits.
    This will be done upon the dean receiving a written referral.
    CARD PLAYING/GAMBLING
    Students are not allowed to play cards and/or gamble in school, unless such activity is directly related
    to an assignment specifically given by a teacher.
    Disciplinary action may range from a warning to Out-of-Building Suspension depending on the seriousness
    of the offense.
    CELL PHONES
    See Electronic Devices
    CHEATING/ACADEMIC DISHONESTY
    Board Policy 7:190 - #8
    Engaging in academic dishonesty, including cheating, intentionally plagiarizing, wrongfully giving or receiv-
    ing help during an academic examination, and wrongfully obtaining test copies or scores is prohibited.
    To cheat is to steal, provide, receive or plagiarize information, knowledge, or work from another and
    wrongfully obtaining test copies or scores. All student work is expected to be individual unless otherwise
    stated by the instructor. The student is responsible for making sure he/she is the sole creator of the
    assignments, and evidence to the contrary may cause the student to face disciplinary measures for
    cheating. Teachers will document all cases of cheating through the Dean.
    Students should consult with their current teachers regarding the proper use of MLA and/or APA styles
    of documentation when citing sources before their assignment is turned in.
    First Offense: For being caught cheating for the first time in an academic year, the student will earn
    a zero for all items, the test, quiz, final exam or assignment. This failing grade will count in computing
    the quarter grade for that particular course. The incident will be reported to Deans, Principal, Assistant
    Principal, NHS sponsor and parents.
    Second offense: In the same academic year, the student will earn a zero for all items, the test, quiz, final
    exam or assignment and their letter grade will be reduced 10% points for the semester in that course,
    even though the first reported incident might have been in another course. The incident will be reported
    to Deans, Assistant Principal, NHS sponsor, Principal and parents contacted.



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      Third and Subsequent Offenses: In the same academic year, the student will earn a zero for all
      items, the test, quiz, final exam or assignment, a failing grade in that course for the semester, placed in
      a resource. The incident will be reported to Deans, Assistant Principal, NHS sponsor, Principal, parents
      contacted and the student may be suspended up to ten (10) days and may be recommended for expulsion.
      COMPUTER/ INTERNET/ NETWORK MISUSE
      a. Stealing or defacing computers or computer components, including but not limited to writing on or
          covering the equipment with any foreign substance, causing liquid damage, or physical damage.
      b. Downloading or using malicious or personal software not authorized to be present on a computer
          or device at MCHS.
      c. Using another user’s account or password with or without permission from the owner of that account
          or if access has been terminated due to previous infraction.
      d. Downloading or viewing materials from the Internet/Network that are considered unacceptable,
          including objectionable graphics or links to inappropriate sites.
      e. Gaining unauthorized access to resources or entities.
      f. Using the internet/network while access privileges are suspended or revoked.
      g. Bypassing the District Internet/Network filter by any means including, but not limited to using software
          or proxy/anonymous servers.
      h. Using the internet/network for any illegal activity, including violation of copyright or other contracts,
          or transmitting any material in violation of any U.S. or State regulation.
      i. Accessing, submitting, posting, publishing, or displaying any defamatory, inaccurate, abusive,
          obscene, profane, sexually oriented, threatening, racially offensive, harassing, or illegal material.
      Violation of the rules will result in the following disciplinary actions:
      First Offense: Forbid use of equipment for one to six months or other action deemed appropriate by
      the Deans and /or administration.
      Second Offense: Forbid use of equipment for one calendar year or other action deemed appropriate
      by the Deans and /or administration
      Third Offense: Forbid use of equipment for the remainder of attendance at MCHS or other action deemed
      appropriate by the Deans and/or administration.
      Additional disciplinary action may include any of the following, depending on the severity of the conduct:
      warning, detention, suspension, police referral, or expulsion proceedings.
      DEROGATORY/DISCRIMINATORY LANGUAGE: RACIAL, ETHNIC, GENDER
      IDENTIFICATION, RELIGIOUS BELIEFS, SEXUAL ORIENTATION (LGBTQ)
      Language that is intended to offend or abuse, including that associated with computer use, i.e. internet
      web pages and any other kind of propaganda, is a violation of school and district policies and will be
      handled through the school’s disciplinary code.
      Disciplinary action may include any of the following, depending on the severity of the conduct: warning,
      detention, in-school suspension, suspension, police referral, or expulsion proceedings.
      DISHONESTY/LYING TO SCHOOL OFFICIALS
      Students are expected to be truthful, courteous, and respectful to staff members.
      Disciplinary action may range from a warning to Out-of-Building Suspension.
      DISRESPECT/ INSUBORDINATION
      Board Policy 7:190 - # 7
      Disobeying rules of student conduct or directives from staff members or school officials. Examples of
      disobeying staff directives include refusing a District staff member’s request to stop, present school
      identification, or submit to a search.
      Disciplinary action may range from detentions to Out-of-Building Suspension depending on the serious-
      ness of the offense.



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    DRESS CODE
    When a student is not properly dressed or is wearing prohibited clothing or accessories (including hats)
    the student will be sent to the Dean’s office. If the student refuses to report to the Dean’s office, a referral
    will be written for insubordination. The Deans have the authority to require the student to change attire.
    The primary responsibility for student dress rests with the parents and students as long as it does
    not pose a threat or disrupt the educational process. Students must be clothed from shoulder
    to mid-thigh. The school makes final judgment on acceptability and school appropriateness.
    At any time, while in the school building, on school grounds, at a school- sponsored event, on or off
    campus, the following dress code policies will be in effect.
    a. A student’s dress and grooming must not disrupt the educational process or interfere with the
         maintenance of a positive teaching/learning climate, or compromise reasonable standards of health,
         safety, modesty and decency as determined by the Dean or Building Principal.
    b. Male and female students must wear clothing that completely covers the body from the shoulders
         to mid-thigh, whether standing or sitting. (Mid-thigh is defined as: The end of the fingers when a
         student is standing in an upright position with arms hanging along the side of the body when the
         fingertips are touching the thigh.) The only exception is a sleeveless, tailored shirt or blouse.
    c. Clothing or hats that advertise or depict weapons, drugs, alcohol, or tobacco, or have suggestive or
         obscene materials written or displayed may not be worn. Vulgar, obscene or violent messages on
         clothing or hats will be treated as vulgar/obscene language or expression.
    d. P.E. uniforms are only to be worn in P.E. class.
    e. Hats – and the hood on sweatshirts, and other headwear, including but not limited to, hair nets,
         bandanas, do-rags, nylons, skullcaps, headbands etc. are not to be worn in the building or in the
         classroom at any time. Students and visitors should remove these items from their head before
         entering the building and wait until they are outside before wearing them. Hats can be worn outside
         only if they are worn straightforward.
    f. Coats and Outerwear- trench coats, jackets, gloves, sunglass cannot be worn in the building, unless
         the student is directly entering or leaving the building. Carrying these items in the building is allowed
         for GAVC students.
    g. Students, who have courses that require safety equipment or special dress codes, must adhere to
         wearing the proper equipment and/or clothing.
    h. Blouses, shirts, and pants must not be worn in a revealing manner.
    i. Short shorts are not to be worn. Clothing that has holes/slits that are above the knee or revealing,
         as determined by the Dean or Building Principal is not allowed.
    j. Any equipment used to carry books (including backpacks, and book bags) cannot be carried from
         class to class. Book bags and such must be stored in student lockers.
    k. Wearing, using or displaying, any clothing, hats, jewelry, emblem, badge, symbol, sign, or other
         thing that is indicative or symbolic of drug use or membership or affiliation in any gang, cult or secret
         society, including but not limited to wearing a handkerchief, shoelaces or bandana around the neck
         or hanging out of one or more pants pockets, as determined by the Dean or Building Principal is not
         allowed.
    l. Chains, drug, gang, and/or cult related jewelry, key chains and any excessive spikes, piercing or
         excessive beads are not to be worn.
    m. Baggy pants are prohibited. Undergarments should not be visible. Elastic bands used to hold up
         one or both pant leg(s) is prohibited.
    n. Proper footwear with soles should be worn at all times.
    First offense – Based on a dean investigation, confiscation, if applicable and Warning with a Parent/
    Guardian Conference.
    Second offense – Based on a dean investigation, confiscation if applicable and a detention is issued.
    Parent/Guardian Conference.
    Third and Subsequent offenses’ – Based on dean investigation, confiscation if applicable. Saturday
    Detentions to Out-of-Building Suspension up to ten (10) days. Parent/Guardian Conference.
    A dress code violation that a dean or administrator determines to be gang related will be disciplined
    following the consequences listed under the gang section on page 39.
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      DRUGS/DRUG PARAPHERNALIA
      Board Policy 7:190
      Students who are under the influence of any prohibited substance or drug or in possession of any drug
      paraphernalia are not permitted to attend school or school functions and are treated as though they had
      the prohibited substance, as applicable, in their possession.
      The possession, use, transmission, purchasing, sale, distribution or being under the influence of any
      illegal or narcotic drug, anabolic steroid, cannabis (including marijuana and hashish), vaping devices/
      materials used to consume illegal drugs (including marijuana), use and/or possession of THC dab and
      wax vaporizing pens or devices, inhalant, hallucinogenic drug, amphetamine, intoxicant, stimulant,
      depressant, look-a-like drugs, designer drugs, contra-indicator devices, drug paraphernalia, razor blades,
      rolling papers, pill boxes, abused prescription or non-prescription drugs or chemicals of any kind are not
      permitted on school property, on school buses, or at any school-sponsored activity, either on campus or off
      campus. Please refer to page 12 for details regarding proper procedures for medication use during school.
      Violation of these prohibitions may result in the following disciplinary actions: Ten (10) days Out-of-Building
      Suspension and recommendation for Expulsion; for one (1) semester up to two (2) years; police referral.
      The District may also require a student who violates any of these prohibitions to participate satisfactorily
      in an approved substance or alcohol abuse assistance or rehabilitation program.
      Students are advised that lockers are school, not personal property. The District may request the
      assistance of law enforcement officials for the purpose of conducting reasonable searches of school
      grounds and lockers for illegal drugs, including the use of specially trained dogs. Any student who feels
      that he or she has developed an addiction or dependence on or drugs is encouraged to seek assistance
      by contacting a counselor, social worker, or Dean. Requests for assistance will be confidential.
      ELECTRONIC DEVICES & CELL PHONES
      Board Policy 7:190 - #5
      Using or possessing any electronic device on school grounds will be done under the following stipulations:
      A. Students will be allowed to use their electronic device during their scheduled lunch period.
      B. Students will be allowed to use their electronic device during scheduled passing periods.
          - Only ear-bud type earphones may be worn during passing periods. Only one ear-bud may be
               worn at a time (one ear only). Wearing ear-buds in both ears will not be allowed. All other types
               of headphone devices will not be allowed during school hours.
          - Music may not be played from the electronic device during lunch periods or passing periods
               using the devices internal speaker of external speaker.
      C. Students will not be allowed to make or receive phone calls via their electronic device/cell phone
          during the regularly scheduled school day (7:45 am – 2:42 pm. at South Campus and 8:00 am. – 2:57
          pm. at Central Campus).
      D. Electronic devices may not be used in any manner that disrupts the educational environment of
          violates the rights of others. The use of any electronic device to engage in any of the following is
          strictly prohibited and subjects the student(s) involved to appropriate school consequences.
          - Failure to comply with school personnel directives with regard to use in instructional areas.
          - Cheating/Academic dishonesty
          - Planning inappropriate behavior that would affect the orderly proceeding of the school day.
          - Sending, receiving, or possessing sexually explicit or otherwise inappropriate pictures, images,
               videos, of statements commonly known as “sexting”.
          - Invading the privacy of others
          - Taking and/or transmitting pictures, video or audio recordings of another without that person’s
               consent.
          - Bullying or harassment of others
          - Identity theft
          - Interfering in a school investigation.
          - Use deemed inappropriate by the Administration and/or Deans.

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    E. Digital/Video Cameras – Digital or Video cameras may be used in school only with written permission
         from a staff member during school hours.
    F. Any item that is confiscated by a staff member will be placed in a school issued white envelope,
         initialed by the student and brought to the Deans’ Office to be kept secure.
    G. No privately owned laptop or desktop computers may be brought to school at any time.
    H. The school is not responsible for lost or stolen electronic devices or cell phones.
    First offense – Verbal reprimand. Confiscation of cell phone and/or electronic device. It will be turned
    into the Deans office for the student to pick up after school. Additional discipline may be issued based
    on a Deans’ investigation.
    Second offense – One, two (2) hour detention. Confiscation of cell phone and/or electronic device. It
    will be turned into the Deans’ office for the student to pick up after school. Additional discipline may be
    issued based on a Deans’ investigation.
    Third & Subsequent offenses – One, four (4) hour Saturday detention. Confiscation of cell phone and/
    or electronic device. It will be turned into the Deans’ Office for the parent/guardian to pick up after school.
    Additional discipline may be issued based on a Deans investigation.
    ENTRANCE AND EXIT PROCEDURES
    The only entrances that students are allowed to enter and exit the building through are:
    Central Campus – Doors #1, #2, #19         South Campus – Doors #1, #16, #20
    Please note – Approved door accessibility is subject to change throughout the school year. Students
    will be notified if any changes occur.
    All other entrances are locked and should remain that way for the entire school day. Any student that
    uses a door not designated above poses a security threat and will be dealt with by the appropriate Dean.
    Students are prohibited from opening unauthorized doors for other students or guests. Students are also
    prohibited from propping doors. Discipline can range from a warning to an out-of-building suspension
    with recommendation for expulsion.
    FALSE EMERGENCY CALLS (911) FALSE FIRE ALARMS
    No person may set off a false fire alarm, falsely report a fire, ignite a fire, use a fire extinguisher without
    cause, or misuse other school safety devices.
    Out-of-Building Suspension pending Administrative action; recommendation for expulsion based upon
    investigation; police referral.
    FIGHTING/AGGRESSIVE PHYSICAL CONTACT
    Board Policy 7:190 - # 9
    Engaging in any kind of aggressive behavior that does physical or psychological harm to another or any
    urging of other students to engage in such conduct is prohibited. Prohibited aggressive behavior includes,
    any use of violence, force, noise, coercion, threats, intimidation, fear, or other comparable conduct.
    Fighting between members of the school community should be resolved through proper channels. If the
    student is involved in a fight, the student should be prepared to receive the consequences listed below.
    Furthermore, criminal charges may be pressed including disorderly conduct and/or battery. The Deans
    investigation will determine if an actual fight occurred or simply aggressive physical contact.
    Fighting in school cannot be tolerated. When such an event happens, the Deans and/or Administration
    will conduct a thorough investigation of the activity and discipline is usually issued to all participants.
    Unfortunately, such events are usually not the result of one simple act of aggression on the part of
    one individual. Usually, the fight is a result of many circumstances and verbal exchanges. If you are
    approached by another student who threatens you and wants to fight, simply tell the nearest teacher or
    go directly to the Deans’ Office. DO NOT INVOLVE YOURSELF IN A FIGHT; YOU MAY BE SUSPENDED
    AND POSSIBLY EXPELLED IF YOU DO.




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      First offense- Up to a Ten (10) day out of school suspension pending a deans investigation, referral to
      the registered school nurse; police referral possible; Final Warning Contract; possible recommendation
      for Expulsion. Furthermore, criminal charges may be pressed including disorderly conduct and/or battery.
      Additional consequences may be issued if the incident instigates mob action or takes place in a crowded
      area of the school such as the cafeteria during lunch.
      Second and any subsequent offense – Up to a Ten (10) days Out-of-Building Suspension pending
      a deans investigation; referral to the registered nurse; Final Warning Contract; Police referral possible;
      possible recommendation for Expulsion. Furthermore, criminal charges may be pressed including
      disorderly conduct and/or battery. Additional consequences may be issued if the incident instigates mob
      action or takes place in a crowded area of the school such as the cafeteria during lunch.
      FIRECRACKERS, SMOKE BOMBS, AND SIMILAR DEVICES
      Any action that endangers the safety and well-being of others will not be tolerated.
      First offense - Confiscate materials; Out-of-Building Suspension pending a deans’ investigation. The
      suspension may be up to ten (10) days; parent contact and Final Warning Contract; Police referral;
      possible recommendation for Expulsion.
      Second and any subsequent offense - Ten (10) days Out-of-Building Suspension; Recommendation
      for Expulsion; parent conference; Police referral.
      FOOD AND BEVERAGES
      Students are allowed to have a clear water bottle in their possession for use during school hours. All
      other food and beverages are prohibited in the hallways and/or classrooms when school is in session.
      Vending machines will be programmed off during the hours school is in session.
      1st offense – Warning
      2nd and any subsequent offense – Deans’ Referral
      FORGERY
      This includes altering school forms, parent or teacher signature, parent or teacher voice.
      Disciplinary action may range from a warning to Out-of-Building Suspension.
      FRATERNITIES, SORORITIES, GANGS, CULTS, SECRET SOCIETIES, AND OTHER
      GROUPS NOT SANCTIONED BY MINOOKA COMMUNITY HIGH SCHOOL
      Board Policy 7:190
      For purposes of District 111policy, and as defined by the Illinois Street gang Terrorism Omnibus Prevention
      Act (740 ILCS 147/1,et.seq.), a “gang” is defined as any combination, confederation, alliance, network,
      conspiracy, understanding, or other similar conjoining, in law or in fact, of three or more persons with an
      established hierarchy that, through its membership or through the agency of any member, engages in
      a course or pattern of criminal activity.
      Being a member, being involved, or joining, or promising to join, or becoming pledged to become a member
      of, or soliciting any other person to join, promise to join, or be pledged to become a member of any public
      school fraternity, sorority, gang, cult, or secret society, or engaging in other gang activity, is prohibited.
      Gang activity includes, but is not limited to:
      1. Wearing, using, distributing, displaying, or selling any clothing, jewelry, emblem, badge, symbol,
           insignia, sign, colors, combinations of colors or combinations of clothing, wearing apparel, acces-
           sories, identifiers, paraphernalia, or other thing that is indicative or symbolic of drug use or membership
           or affiliation in any gang, cult or secret society;
      2. Committing any act or omission, or using any speech, either verbal or non-verbal (such as gestures,
           graffiti, tagging, or hand-shakes) showing membership or affiliation in any gang, cult or secret society;
           and
      3. Using any speech or committing any act or omission in furtherance of the interests of any gang or
           gang activity, cult or secret society, including, but not limited to: (a) soliciting others for membership
           in any gangs, cult or secret society, (b) requesting any person to pay dues, insurance, or protection
           or otherwise intimidating or threatening any person, (c) committing any other illegal act or other
           violation of school district policies, and (d) inciting other students to participate in any form of physical
           violence involving persons or property.

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    4. Confirmation of a student being in a public school fraternity, sorority, gang, cult, or secret society, or
        soliciting for membership, displaying or possessing symbols or engaging in other gang activities.
    5. Any activity that includes causes or requires the student to perform a task that involves a violation
        of state or federal law.
    First offense - Out-of-Building Suspension pending an investigation by a dean. The suspension may be
    up to ten (10) days; possible placement in alternative learning environment; parent/guardian contact and
    Final Warning Contract; Police referral; possible recommendation for Expulsion. Furthermore, criminal
    charges may be pressed.
    Second and any subsequent offense - Out-of-Building suspension up to ten (10) days pending an
    investigation by a dean; Parent/Guardian conference; Recommendation for Expulsion; police referral.
    Furthermore, criminal charges may be pressed.
    NOTE: Excessively baggy pants are prohibited. Elastic bands used to hold up one or both pant leg(s) is
    prohibited, including but not limited to wearing a handkerchief, shoelaces or bandana around the neck
    or hanging out of one or more pants pockets, including any shaved or slashed eyebrows, as determined
    by the Dean or Building Principal is not allowed.
    GAVC
    All students who elect to attend GAVC classes are expected to be familiar with rules that relate to
    conduct and discipline at the Center and/or Cosmetology. Discipline-related incidents will be handled
    by the Center and referred back to Minooka Community High School. In addition, students need to be
    aware that if they do violate a rule or procedure while attending these classes, they will not only receive
    the GAVC disciplinary consequence, but also will be subjected to Minooka Community High School
    disciplinary consequences.
    1. If a student is suspended from Minooka Community High School the student is not allowed to
         attend classes at GAVC and the absences at GAVC will be unexcused. The student is responsible
         for informing the GAVC teacher and obtaining the missing work. The Deans’ office will contact the
         administration at GAVC to inform them which students are suspended.
    2. GAVC students will be excused from class in order to attend MCHS assemblies or other functions
         upon approval of the MCHS dean and prior notice is given.
    3. Students are also reminded that their continued attendance at GAVC is dependent upon their behavior
         riding the bus to and from GAVC.
    4. Students that drive or ride to GAVC, whether a passenger or driver of the vehicle, without written
         permission from both GAVC and the MCHS dean may face disciplinary consequences.
    5. GAVC students will not be sold a parking permit if they still owe previous school fees and/or need
         to meet any previous school obligations.
    GAVC students are required to sign a behavioral contract that parents receive a copy of. Copies of this
    contract are available upon request in the Dean’s office
    First offense - One four (4) hour Saturday Detention
    Second and subsequent offenses’ - Out-of-Building suspension, and may be dropped from attending
    GAVC classes.
    HALL PASSES
    Students who have work to make up, wish to confer with a teacher, practice for band or chorus, or
    receive special help must complete the weekly hall pass in this handbook from the teacher ahead of
    time. A student must always sign out of assigned attendance centers. Students must have a hall pass
    in their possession at all times that they are in the halls during academic times. All hall passes are good
    for 5 minutes only.
    Disciplinary action may range from a warning and inclusion on the No Pass List to an Out-of-Building
    suspension.




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      HAZING/INTIMIDATION/BULLYING
      Board Policy 7:190 - # 9; Board Policy 7:20
      Engaging in any kind of aggressive behavior that does physical or psychological harm to another or
      any urging of other students to engage in such conduct is prohibited. Prohibited aggressive behavior
      includes, any use of violence, force, noise, coercion, threats, intimidation, fear, bullying, hazing, or other
      comparable conduct.
      Definition: Bullying occurs when a student or students are exposed, repeatedly and over time, to negative
      actions on the part of one or more other persons in such a way as to disrupt or interfere with the school’s
      educational mission or the education of any student.
      An intentional, knowing or reckless act directed against a student, by one person or acting with others,
      that endangers the mental or physical health or the safety of a student or any District 111 employee for the
      purpose of being initiated into, holding office in or maintaining membership in any student organization,
      or as directed against any student because of grade level, organizational affiliation, race, religion, gender
      or ethnic background is not allowed.
      The term hazing/intimidation/bullying includes, but is not limited to:
      1. Any type of physical brutality such as whipping, beating, striking, branding, electronic shocking or
           placing a harmful substance on the body.
      2. Any type of physical activity such as sleep depravation, exposure to weather, confinement in a
           restricted area, calisthenics or other activity that subjects the student to an unreasonable risk of
           harm or that adversely affects the mental or physical health or safety of the student.
      3. Any activity involving the consumption of a food, liquid, alcoholic beverage, drug, tobacco product or
           other substance that subjects the student to an unreasonable risk of harm or that adversely affects
           the mental or physical health or safety of the student.
      4. Any activity that intimidates or threatens the student with ostracism, that subjects a student to
           extreme mental stress, shame or humiliation that adversely affects the mental health or dignity of
           the student or discourages the student from remaining in school. (This includes verbal, written, or
           electronic communication (i.e. email, text, and social media).
      5. Any activity that includes causes or requires the student to perform a task that involves a violation
           of state or federal law.
      6. Students who engage in hazing/intimidation/bullying, solicit, encourage, direct, aid or attempt to aid
           another engage in hazing/intimidation/bullying, intentionally, knowingly or recklessly permit hazing/
           intimidation/bullying, having knowledge of the planning or occurrence of a specific hazing/intimidation/
           bullying activity and failing to report it to a school official could face disciplinary consequences.
      Based on a deans’ investigation, disciplinary action may range from Saturday Detentions, Out-of-Building
      Suspensions, Final Warning Contract and possible recommendation for Expulsion and police referral.
      Parent/Guardian conference.
      HORSEPLAY/SHOVING /SLAPPING
      Any action(s) that may endanger students or staff, and/or any physical actions, which may impede the
      educational process, is prohibited.
      Disciplinary action for this type of behavior may range from a Detention to Out-of-Building Suspension
      depending on the seriousness of the situation.




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    I.D. CARDS
    While on school premises students will have their I.D. cards in their possession and also while at school-
    sponsored activities. When students are asked for their ID they must produce and/or forfeit it. Staff can
    confiscate student ID’s at anytime. The following rules and procedures will apply.
    a. If a student loses his/her I.D. card, the student should immediately report it to the Deans’ Office
        where arrangements for a replacement I.D. card will take place. The replacement fee is $5.00.
    b. Should a student forget their ID they can buy a replacement at a cost of $5.00 or a temporary ID, at
        a cost of $1.00 or fill out an I.O.U. If a student accumulates $3.00 in I.O.U’s a bill will be sent home
        and the amount will be added to the student’s school fees. Once a debt of $3.00 is accumulated,
        no additional ID’s will be issued until that debt is paid in full.
    c. Defacement of ID will result in the student being required to purchase a replacement ID.
    d. Failure to be in possession of a current I.D. card will result in the student receiving consequences
    e. Failure to produce a current student ID at an athletic or extra-curricular event will result in the student
        being charged admission.
    First, second and third offense – Warning, Student has the following three options:
    1. Purchase new ID
    2. Purchase temporary ID
    3. Complete I.O.U.
    Fourth and subsequent offense – Written referral
    I.D. SCANNERS
    All students entering the building during school hours and when classes are in session will be required
    to scan their Student ID in the Deans’ Office prior to entering the hallway. Any student who has lost
    the school ID provided at the beginning of the school year will need to purchase a new one ($5) in the
    Deans’ Office.
    LIGHTERS
    Possession and/or use of lighters or other igniting devices in the school building is prohibited.
    First Offense – Confiscation; and one two (2) hour Saturday detention.
    Second Offense – Confiscation; and one four (4) hour Saturday detention.
    Third Offense - Confiscation; and one Student Support Center.
    Fourth and Subsequent Offense’s - Confiscation; and an Out-of-Building Suspension up to ten
    (10) days.
    LOCKERS (HALLWAY/ATHLETIC/PE)
    Lockers and combinations are issued at the beginning of the year. Students are to use their assigned
    lockers. Each student is responsible for keeping his/her locker clean both inside and outside. Any locker
    malfunction should be reported to the office. Lockers are school property loaned to students. The school
    authorities have the right to open and search any locker and its contents, as they deem necessary, without
    notice to or consent of the student and without a search warrant.
    Damages caused by misuse will be charged to the student the locker was issued to, and/or the student
    responsible and may also face disciplinary consequences ranging from detention to out of building
    suspension.
    LUNCH
    Students may bring lunch from home or purchase lunch a la carte items through the food service.
    Students are prohibited from having food delivered to the school for their lunch. Minooka Community
    High School is a closed campus for lunch.




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      MEDIA DEVICE USAGE
      All use of Minooka Community High School media equipment shall be consistent with the District’s
      goal of promoting education excellence in communications. Students who use media equipment during
      school hours must NOT:
      a. Interrupt or distract the education process of other classes;
      b. Record audio or video information in a secretive or “undercover” manner;
      c. Interview students or employees of Minooka Community High School without properly identifying
           themselves and the purpose of their interview;
      d. Distribute or present information, which is defamatory to others.
      Disciplinary action may range from a warning to out-of-building suspension. However, expulsion may
      be recommended if warranted.
      PASS MISUSE/ OUT OF ASSIGNED AREA
      This includes but is not limited to; a student found without a pass, somewhere that is not on their class
      schedule, or in the building, or on school grounds that a hall pass was not written for; changing any
      original information on the pass; forgery; exceeding the five-minute, time limit; or using another students
      handbook for a pass.
      First offense - One two (2) hour Saturday Detention; placed on the no pass list.
      Subsequent offenses - Disciplinary action may range from Saturday Detention to Out-of-Building
      Suspension. Placed on the No pass list.
      PUBLIC DISPLAY OF AFFECTION (PDA)
      School is not the place for public displays of affection. Students are to refrain from displays of affection
      on school grounds. Other than holding hands, all other displays of affection, including kissing, are
      prohibited on school property. Violators will receive disciplinary action.
      First offense - Warning
      Second offense – Detention
      Third and any subsequent offense - Deans’ Referral
      SECURITY
      Unauthorized accomplice to individuals entering the building during school hours.
      Consequences ranging from a warning to an out-of building suspension of up to 10 days.
      SEXUAL HARASSMENT
      Board Policy 7:20
      Sexual harassment of students is prohibited on school property, at school events, or on the school
      bus. An employee, district agent, or student engages in sexual harassment whenever he/she makes
      unwelcome sexual advances, requests sexual favors, and engages in other verbal or physical conduct
      of a sexual or sex-based nature, imposed on the basis of sex that:
      1. Denies or limits the provision of education aid, benefits, services, or treatment; or that makes such
           conduct a condition of a student’s academic status, or
      2. Has the purpose or effect of:
           a. Substantially interfering with a student’s educational environment;
           b. Creating an intimidating, hostile, or offensive educational environment;
           c. Depriving a student of educational aid, benefits, services, or treatment; or
           d. Making submission to or rejection of such unwelcome conduct the basis for academic decisions
              affecting a student.




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    Students, who believe they are victims of sexual harassment, or have witnessed sexual harassment, are
    encouraged to discuss the matter with the Building Principal, Assistant Principal, or Dean of Students,
    as well as the district Nondiscrimination Coordinator or Grievance Complaint Manager, which is in
    compliance with Board Policy 7:20 (available on www.mchs.net or at the District Administrative Center).
    An allegation that one student was sexually harassed by another student shall be referred to the Building
    Principal, Assistant Principal, or Dean of Students for appropriate action.
    Any student of the District who is determined, after an investigation, to have engaged in sexual harassment
    will be subject to disciplinary action, including but not limited to, suspension and expulsion consistent
    with the District’s discipline policy. Police referral.
    Any student making a knowingly false accusation regarding sexual harassment will likewise be subject
    to disciplinary action up to and including suspension and expulsion. Police referral.
    STEALING/BREAKING, ENTERING, TAKING OR POSSESSING THE SCHOOL’S
    OR ANOTHER’S PROPERTY WITHOUT PERMISSION, INCLUDING BEING AN
    ACCOMPLICE
    Board Policy 7:190 – #10
    Causing or attempting to cause damage to, or stealing or attempting to steal, school property or another
    person’s personal property is prohibited.
    Theft/possession/causing or attempting to cause damage to, or stealing or attempting to steal, school
    property or another person’s personal property is not allowed.
    If an item is found it should be turned in to the “Lost and Found” located in the main office at each
    campus. A student in possession of another’s property without their permission is prohibited and may
    result in a disciplinary consequence.
    The consequences for these acts will depend upon the extent of the theft/possession of stolen goods.
    Disciplinary action can range from restitution within ten (10) days of the offense, Saturday Detentions
    and Out-of-Building Suspension to recommendation for expulsion. Police referral based on investigation.
    Students should follow the procedure below if they have had anything stolen:
    1. If in class report it immediately to their teacher.
    2. Complete a student statement form and a stolen/lost property report found in the Deans’ office.
    3. School officials then refer the matter to the Police.
    4. Students should periodically check the lost and found in the main office and/or follow-up with the
         Dean and police.
    TARDINESS TO CLASS
    A student arriving LATE but within 10 minutes after the tardy bell should go directly to class. The teachers
    and Deans’ will track the number of tardies for each student. Tardies will be tracked cumulatively for all
    classes and will reset at the beginning of the 2nd semester. The student may have a parent/guardian call
    the school to explain the reason for the student’s late arrival. It is the Deans’ decision whether the reason
    for tardiness is excused or unexcused. This phone call should be received by 9:00 A.M. the same day.
    First and Second tardy - Warning
    Third, Fourth, and Fifth tardy – One Hour Detention
    Sixth and Seventh tardy – Two Hour Detention & Placement on the No-Pass List
    Eighth, and each successive tardy – Four Hour Detention & Placement on the No-Pass List
    THROWING OBJECTS
    Throwing objects on school grounds is not allowed.
    Disciplinary action may range from a warning to out-of-building suspension. However, expulsion may
    be recommended if warranted.




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      TOBACCO
      Board Policy 7:190 - # 1
      Using, possessing, distributing, purchasing, or selling tobacco materials are prohibited.
      Students are not allowed to possess, use, distribute, purchase, or sell tobacco during the school day
      from the time they arrive in the morning until they leave at the end of the day, and at any extra-curricular
      activities on or off school property. This includes any time a student is riding on the school bus. Cigarettes,
      smokeless tobacco, nicotine patch or gum, e-cigarettes, vaping devices/materials, and look-a-likes are
      treated the same.
      First offense - Confiscation of materials; Out-of-Building Suspension one (1) day; referral to the
      registered nurse; an ordinance violation ticket may be issued; automatic police referral; placed on hall
      pass restriction. Parent/guardian conference.
      Subsequent offenses - Confiscation of materials; Out-of-Building Suspension one (1) to three (3) days;
      referral to the registered nurse; automatic police referral; an ordinance violation ticket may be issued;
      placed on hall pass restriction. Parent/guardian conference.
      TRUANCIES
      Board Policy 7:190 - # 11
      Being absent without a recognized excuse is prohibited. State law and Board policy on truancy control
      will be used with chronic and habitual truants.
      Any student arriving more than 10 minutes late to any class period will receive a discipline consequence.
      (Also refer to Truancy Prevention Initiative)
      Both Minooka Community High School Campuses are considered to be Closed Campuses. All students
      are to report to their designated areas when scheduled and are to remain in school until dismissed at their
      scheduled end of the school day. Students are not permitted to leave campus during their lunch periods.
      Any student who is absent, without a recognized excuse, for 11-90 minutes will be dealt with in
      the following manner:
      Infraction                       Consequence
      First – Second                   Two-Hour Detention & Possible Placement on No Pass List
      Third – Fifth                    Two-Hour Detention / Possible No Pass List & Social Suspension
      Sixth +                          Four-Hour Detention / Possible No Pass List & Social Suspension
      * Any infraction after the sixth will receive a Four-Hour Detention and the length of the social suspension
      will reset to 4 weeks.
      Any student who is absent, without a recognized excuse, for more than 90 minutes will be dealt
      with in the following manner:
      Infraction                       Consequence
      First                            SSC & One (1) week social suspension
      Second                           SSC & Two (2) week social suspension
      Third +                          SSC/Four (4) week social suspension/possible parking pass revoked
      * Any infraction after the third will receive an SSC and the length of the social suspension will reset to
      Four (4) weeks.
      Multiple Days - Two (2) days Student Support Center, reminder of Drop Policy; parent notification,
      SST referral, and an ordinance violation ticket may be issued, police referral, if applicable, removal of
      parking privileges.
      A student that accrues more than three (3) unexcused absences in a school year they will be required
      to surrender their parking permit to the Dean. They will not be eligible for a refund of the money paid
      for the parking permit.
      If a student reaches “Chronic Truancy” status (5% of the previous 180 regular attendance days), that
      student will be recommended to the Board of Education for expulsion (gross disobedience). If the
      student is under 17 years of age, he-she may be referred to Juvenile Probation and the parents referred
      to appropriate legal authorities. Truancies are unexcused absences. Work may be made up but no
      credit will be given.

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    VANDALISM
    Board Policy 7:170
    The Board will seek restitution from students and their parent(s)/guardian(s) for vandalism or other
    student acts which cause damage to school property.
    Defacing, destroying or vandalizing of school property of any kind including but not limited to graffiti is
    not allowed.
    First offense - Restitution within ten (10) days of the offense; other disciplinary action can range from
    police involvement, detentions, Saturday Detentions, Out-of-Building Suspension to recommendation
    for Expulsion.
    Second and any subsequent offense - Possible recommendation for Expulsion; Final Warning; Police
    referral.
    VEHICLES/ PARKING
    Students will not be sold a parking permit if they still owe previous school fees and/or need to
    meet any previous school obligations.
    Students who use cars or other motor vehicles for transportation to and from school are not allowed to
    drive from one campus to the other during school hours and are expected to comply with the following
    school regulations:
    • Parking permits can only be purchased from the Dean’s office. There is to be no student-to-student
          transfer of parking permits. Failure to comply with this regulation could result in the dean’s office
          revoking your permit and you will not be eligible for a refund of the money paid for the parking permit.
    * GAVC students will not be sold a parking permit if they still owe previous school fees and/or need
          to meet any previous school obligations.
    • Should there be any parking permits left, Junior students, who have completed and turned in a parking
          permit application will be eligible to purchase a permit. Juniors who are eligible by the Secretary of
          State to acquire an Illinois driver’s license, after completing the nine (9) month permit phase, issued
          prior to August 12th of the current school year, and can provide a valid drivers license will be eligible
          to complete an application. Juniors may begin turning in completed parking permit applications, to
          the Deans’ Office at the beginning of Senior class parking permit sales. All applications that are
          collected during this week will be entered into a junior lottery to determine placement on the junior
          waiting list. All Junior applications that are turned in after the first day of school will be placed on the
          Junior waiting list, in the order that they are received. Senior students who transfer into our district
          will be placed at the top of the waiting list
    • A student that accrues more than three (3) unexcused absences in a school year, or 8 tardies in one
          semester, may be required to surrender their parking permit to the dean. They will not be eligible
          for a refund of the money paid for the parking permit.
    • Any student parking in a Visitors Parking spot or in faculty lot behind the school without prior
          authorization will be fined $15.00. The fine money collected will be contributed to the repair and
          upkeep of the parking lots.
    • Failure to comply with these regulations will result in a police citation, forfeiture of driving privileges,
          or both, and other discipline measures, if the circumstances warrant.
    The consequences for violation of these parking rules and regulations will be as follows:
    First offense – One two (2) hour detention, inform parents and SRO to explain future consequences.
    Second offense - One four (4) hour Saturday detention, inform parents and SRO to explain future
    consequences.
    Third offenses – If student has a parking permit he /she will receive a four (4) hour Saturday, forfeit his
    parking permit with no refund, inform parents and SRO to explain future consequences.
    If student does not have a parking permit the SRO will be given the documentation from the previous
    infractions and the car will be towed at owners expense.
    Fourth and subsequent offenses: The student will forfeit the parking permit with no refund and the SRO
    will be given the documentation from the previous infractions and the car will be towed at owner’s expense.



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      To Parents and Students who park on school campus:
      • The student must have a valid license at the time of purchase as well as throughout the school year
          in order to retain their permit.
      • All vehicles must be registered with the school and display a MCHS parking permit. The cost for the
          vehicle registration and parking permit is $150.00. Replacement cost for lost permits will be $5.00
          with subsequent increases for additional replacements.
      • Students are not allowed to park in reserved or visitor marked parking spaces. Students must also
          obey all speed limit signs and other posted traffic or parking rules.
      • Students are to vacate vehicles immediately upon arrival. Loitering in the parking lot before or after
          school is prohibited.
      • Vehicles can only be driven during school hours with administrative approval.
      • Students must observe the traffic laws and ordinances of the State of Illinois and the Village of
          Minooka. Carrying passengers on the exterior of vehicles, overloading vehicles, speeding or reckless
          driving, etc. is not allowed. Your signature on the acknowledgement page of this handbook verifies
          that you realize that per the State of Illinois Rules of the Road, the speed limit in an unmarked parking
          lot is 5 MPH and it will be enforced.
      • CONSENT TO SEARCH: All vehicles are subject to search and inspection by designated school
          personnel if deemed necessary by the administration. This applies whether or not a parking permit
          has been purchased.
      • School buses have the right of way when departing and arriving on school grounds. Students must
          wait for buses.
      • Parking will be limited to senior and junior students only.
      • Only school appropriate displays will be permitted on vehicles in the school parking lot.
      • The parking permit is to be returned to the dean’s office if a student, drops or transfers, is expelled
          or placed in an alternative setting. None of these situations will warrant a student being eligible for
          a refund of the money paid for the parking permit except for a student who graduates early.
      * Any guest, visitor, or students’ car is subject to search upon entering school property. This search
          may be done utilizing specially trained dogs.
      VERBAL OR WRITTEN VULGAR/OBSCENE/ THREATENING BEHAVIOR/LANGUAGE/
      GESTURES TO A STAFF MEMBER/SCHOOL BOARD MEMBER
      Board Policy 7:20
      Vulgar, obscene, or threatening language, drawings, illustrations, gestures or materials, whether in verbal,
      written, or computer form, i.e. Internet web pages, social media posts and any other kind of propaganda,
      are not allowed on or off (if reasonably related to school) school property.
      First offense - Out-of-Building Suspension pending administrative action. Suspension may be up to ten
      (10) days; parent conference before student can return to school; police referral; possible recommendation
      for Expulsion; Final Warning (until graduation).
      Second and any subsequent offense - Ten (10) days Out-of-Building Suspension; recommendation
      for Expulsion; Police referral
      For the student’s safety and the safety of the staff and the other students a documented threat assess-
      ment from a licensed provider designated by the school may be required, if deemed necessary by the
      Student Service team and/or the Administration, before the student will be allowed to return to school.




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    VULGAR, OBSCENE, THREATENING BEHAVIOR/LANGUAGE/ GESTURES IN THE
    SCHOOL BUILDING
    Vulgar, obscene, or threatening language, drawings, illustrations, gestures, or materials, whether in
    verbal, written, or computer form, i.e. Internet web pages, social media posts and any other kind of
    propaganda, are not allowed on or off school property and at any school sponsored event on or off (if
    reasonably related to school) school property and at any school sponsored event on or off campus.
    Disciplinary action may range from warning to Out-of-Building Suspension and may include parent
    conference and/or Final Warning, possible recommendation for expulsion.
    For the student’s safety and the safety of the staff and the other students a documented threat assess-
    ment from a licensed provider designated by the school may be required, if deemed necessary by the
    Student Service team and/or the Administration, before the student will be allowed to return to school.
    WEAPONS
    Board Policy 7:190
    A student, who uses, possesses, controls, or transfers a weapon, or any object that can reasonably be
    considered, or looks like, a weapon, may be expelled for at least one calendar year, but no more than
    2 calendar years. A “weapon” means possession, use, control, or transfer of (1)any gun, rifle, shotgun,
    a weapon as defined by Section 921 of title 18, United States Code, firearm as defined in Section 1.1
    of the Firearm Owners Identification Act, or use of a weapon as defined in Section 24-1 of the Criminal
    Code, (2)any other object if used or attempted to be used to cause bodily harm, including but not limited
    to, knives, brass knuckles, billy clubs, or (3)”look-a- likes” of any weapon as defined above. Any item,
    such as a baseball bat, pipe, bottle, lock, stick pencil, and pen is considered to be a weapon if used or
    attempted to be used to cause bodily harm.
    The possession, use, control or transfer of any razor blades, knives, guns, (including but not limited
    to, look-a-like guns, BB guns, pellet guns, air soft guns and/or paint ball guns) explosives, firearms or
    other weapons or dangerous instruments are prohibited on school buses, in school buildings, and on
    school grounds, and at any school-sponsored activity or event, and at any activity or event which bears
    a reasonable relationship to school.
    Based on a deans’ investigation an Out-of-Building Suspension up to ten (10) days; possible placement
    in an alternative learning environment; possible recommendation for Expulsion; police referral; Parent/
    guardian conference. Furthermore, criminal charges may be pressed.




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             STUDENT/PARENT ATHLETIC HANDBOOK
      Minooka Community High School is a member of the Illinois High School Association (IHSA), based in
      Bloomington, Illinois.
      MCHS ATHLETIC MISSION STATEMENT
      It is the responsibility of MCHS students, staff, and community to create an environment for athletics that
      promotes sportsmanship and a strong work ethic with an emphasis on team first, through the guidance
      of the coaching staff.
      SPORTSMANSHIP MISSION STATEMENT
      Good sportsmanship is the attitude and behavior that exemplifies positive support for the interscholastic
      programs of IHSA member schools, as well as for the individuals who participate in such programs.
      People involved in all facets of the interscholastic program are expected to demonstrate respect for
      others and display good sportsmanship.
      SPORTSMANSHIP IS EVERYBODY’S RESPONSIBILITY
      Sportsmanship starts on the court or athletic field and extends into the bleachers and beyond. In
      today’s increasingly competitive environment, the thrill of victory and the agony of defeat seem to be
      more intensified than ever before. It is important to raise the public awareness of sportsmanship and
      interscholastic activities. It is everyone’s responsibility to practice good sportsmanship. Recognizing the
      efforts by students, coaches, administrators, spirit groups, and fans is a valuable part of the interscholastic
      experience.
      MINOOKA COMMUNITY HIGH SCHOOL ATHLETIC DEPARTMENT SLOGAN
      “WORK TOGETHER WIN TOGETHER” SPORT A WINNING ATTITUDE
      (THE SPORTING CREED)
      The Participant . . .
      1. Lives clean and plays hard. Plays for the love of the game.
      2. Wins without boasting, loses without excuses, and never quits.
      3. Respects officials and accepts their decisions without question.
      4. Never forgets that he/she represents his/her school.
      The Coach . . .
      1. Inspires in his/her athletes a love for the game and the desire to win.
      2. Teaches them that it is better to lose fairly than to win unfairly.
      3. Leads players and spectators to respect officials by setting a good example.
      4. Is the type of person he/she wants athletes to be.
      The Spectator . . .
      1. Acknowledges the efforts of participants involved in interscholastic activities.
      2. Respects officials, players, and coaches of all teams, and treats them courteously.
      3. Always demonstrates behavior that is conducive to good sportsmanship.
      4. Never forgets that he/she also represents the school.
      ATHLETIC PHILOSOPHY
      A broad and varied program of interscholastic athletics, that meets the needs of our students. Participa-
      tion in athletic programs will provide athletes with the opportunity to develop their skills in the areas of
      sportsmanship, teamwork, dedication, loyalty, work ethic, character, commitment, and responsibility.
      The administration and coaching staff will provide an environment that is conducive to the development
      of these skills.




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    GENERAL PROVISIONS
    1. Participation in athletics is a privilege, not a right. This privilege carries with it responsibilities to one’s
       community, school, team, and coaches.
    2. As representatives of the school, athletes are expected to exhibit good sportsmanship and ethical
       behavior at all times.
    3. Athletes must meet all academic and behavioral guidelines in order to participate.
    4. Athletes are encouraged to participate in multiple school-sponsored activities (i.e. other athletics,
       band, FFA, Speech, etc.).
    5. Athletes are expected to follow the guidelines and team rules provided by the head coach.
    ATHLETIC CODE OF CONDUCT
    1. Athletes are representatives of their school and community. Their conduct must reflect this responsibil-
       ity before, during, and after contests.
    2. Athletes are to conduct themselves in a sportsmanlike manner at all times. Be humble in victory and
       gracious in defeat. Good sportsmanship is a prime objective at Minooka Community High School
       and is expected of its participants.
    3. Players must abide by the decisions of the game officials who are charged with administrating the
       contest.
    4. Players are to respect the talent and efforts of opposing players and coaches. Any disrespect shown
       to opposing players and coaches is inappropriate and will not be tolerated.
    5. Control your emotions. Develop good attitudes and character. Use your energies to develop your
       ability and your team. Keep your cool when players’ and fans’ emotions are high.
    6. Racial and ethnic prejudice have NO place in competitive athletics. Respect your fellow athletes for
       themselves and not according to race, creed or religious belief.
    7. It is the responsibility of Minooka Community High School players, coaches, athletic director, and
       principal to ensure that their code is in effect at their school.
    SPECTATOR CODE OF CONDUCT
    All spectators, adults and students, are to respect the talents and efforts put forth by the players and
    coaches of all teams. This courtesy will also be extended to all game officials. Furthermore, spectators
    are to treat school representatives and other spectators with dignity and respect. Any actions that
    are counterproductive to these expectations are inappropriate and will not be tolerated. Spectators
    not conducting themselves appropriately will be subject to any of following actions, depending on the
    severity of the incident:
    1. The spectator may be asked by any school representative to refrain from further inappropriate actions.
    2. The spectator may be asked by any school representative to leave an athletic event. Should a
         spectator refuse to leave when requested, local law enforcement agencies will be contacted for
         assistance. Once a spectator has been removed from an athletic event, the Athletic Director will
         hold a conference with the spectator to resolve the issue.
    3. Severe or repeated offenses may result in the Athletic Director’s requesting a “No Trespassing” letter
         from the Superintendent and/or the contacting of local law enforcement officials.
    ATHLETIC ELIGIBILITY
    Every student interested in the interscholastic athletic programs must be in strict compliance with the
    IHSA, Southwest Prairie Conference, and Minooka Community High School District eligibility requirements.
    IHSA ELIGIBILITY RULES
    This summary is for the purpose of assisting in the understanding of IHSA Bylaws and Policies. In case
    of a conflict between this publication and the constitution and by-laws of the IHSA, the constitution and
    by-laws shall control.




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      Key Provisions Regarding IHSA Rules Eligibility Rules
      When you become a member of an interscholastic team at your high school, you will find that both your
      school and the IHSA will have rules you must follow in order to be eligible for interscholastic participation.
      The IHSA’s rules have been adopted by the high schools which are members of IHSA as part of the
      Association’s constitution and bylaws. They must be followed as minimum standards for all interscholastic
      athletic competition in any member high school. Your high school may have additional requirements, but
      they may not be less stringent than these statewide minimums.
      The principal/official representative of your school is responsible to see that only eligible students represent
      the school in interscholastic competition. Any question concerning your eligibility should be referred to
      your principal/official representative, who has a complete copy of all IHSA eligibility rules, including the
      Association’s due process procedure. Only the IHSA Executive Director is authorized to make formal
      rulings on eligibility, so if your principal/official representative has questions or wishes assistance in
      answering your questions, the principal/official representative should contact the IHSA Office.
      Information contained here highlights some of the most important features of the IHSA by-laws regarding
      interscholastic eligibility. It is designed to make you aware of major requirements you must meet to be
      eligible to compete in interscholastic competition. The information here is only a general description of
      major by-law provisions and does not contain the statement of the by-laws in their entirety. You can
      review the by-laws at www.ihsa.org.
      You may lose eligibility for interscholastic competition if you are not in compliance with IHSA by-laws.
      Remember, if you have any questions regarding IHSA rules, please contact your principal/official
      representative.
      1. Attendance
           A. You may represent only the school you attend. Participation on a cooperative team of which
                your school is a member is acceptable.
           B. You must be enrolled and attending classes in your high school no later than the beginning of
                the 11th school day of the semester.
           C. If you attend school for ten (10) or more days during any one semester it will count as one of the
                eight (8) semesters of high school attendance during which you may possibly have eligibility.
           D. If you have a lapse in school connection for ten (10) or more consecutive school days during a
                semester, you are subject to ineligibility for the rest of the semester. The specific terms of your
                extended absence must be reviewed by the Executive Director to determine if it is “lapse in
                school connection” or not.
      2. Scholastic Standing:
           A. You must pass twenty-five (25) credit hours of high school work per week. Generally, twenty-five
                (25) credit hours is the equivalent of five (5) .5 credit courses (2.5 full credits).
           B. You must have passed and received credit toward graduation for twenty-five (25) credit hours of
                high school work for the entire previous semester to be eligible at all during the ensuing semester.
      3. Residence
           Your eligibility is dependent on the location of the residence where you live full time with your parents,
           parent who has been assigned custody by the court, or court appointed legal guardian. You may be
           eligible if you are entering high school as a freshman and:
           A. You attend the public high school in the district in which you live full time with both of your parents,
                custodial parent or court appointed guardian; or
           B. In the case of a multiple school district, you attend the public high school in the attendance area
                where you live full time with your parents, custodial parent or court appointed guardian; or
           C. You have paid tuition to attend a public school for a minimum of 7th and 8th grades in a district
                other than the one where you live with your parents, custodial parent or court appointed guardian
                and you continue to pay tuition as a high school student in that same district; or
           D. You attend a private/parochial school located within the boundaries of the public school district
                where you live with your parents, custodial parent or court appointed guardian; or



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       E. You attend a private/parochial high school and have attended a private/parochial school for 7th
            and 8th grades, or for any four (4) grades from kindergarten through eighth grades; or
       F. You attend the private/parochial high school which one or both of your parents attended; or
       G. You attend a private/parochial high school located within a thirty (30) mile radius of the residence
            where you live with your parents, custodial parent or court appointed guardian.
    4. Transfer
       A. In all transfer cases, both the principal of the school from which you transfer and the principal
            of the school into which you transfer must concur with the transfer in writing on a form provided
            by the IHSA Office. You cannot be eligible when you transfer until this form is fully executed and
            on file in the school office.
       B. If you transfer after classes begin for the current school term, you will definitely be ineligible for
            thirty days from the date you start attending classes at the new high school. In addition, you will
            be ineligible for that entire school term in any sport in which you engaged in any team activity,
            including but not limited to tryouts, drills, physical practice sessions, team meetings, playing in
            a contest, etc. at the school from which you transferred. For example, if you were out for cross
            country at the school from which you transfer and transfer after classes have started for the
            school term, you will be ineligible for cross country that entire school term at the new school.
       C. If you transfer attendance from one high school to another high school, you will be ineligible
            unless:
            1. Your transfer is in conjunction with a change in residence by both you and your parents,
                 custodial parent or court appointed guardian from one public school district to a different
                 public school district;
            2. Your transfer is between high schools within a public school district and both you and your
                 parents, custodial parent or court appointed guardian change residence to the district
                 attendance area for the school to which you transfer;
            3. Your parents are divorced or legally separated; you transfer to a new school in conjunction
                 with a modification or other change in legal custody between your parents by action of a
                 judge; and required court documents are on file at the school into which you transfer;D. If
                 you transfer in conjunction with a change in legal guardianship, a ruling on your eligibility
                 must be obtained from the IHSA Office.
       E. If you transfer attendance from one school to another while you are ineligible for any reason,
            the period of ineligibility imposed prior to your transfer or the period of ineligibility that would
            have been imposed had you stayed at the school, will be enforced at the school to which you
            transfer, even if you are otherwise in compliance with the by-laws.
       F. Any questions about your eligibility in any of these instances must be resolved by a formal ruling
            from the IHSA Executive Director.
       G. In all other transfer situations, a ruling by the IHSA Executive Director is necessary to determine
            your eligibility. This ruling must be obtained in writing by the principal/official representative of
            the school into which you transfer before you participate in an interscholastic athletic contest.
    5. Age
       You will become ineligible on the date you become twenty (20) years of age, unless your twentieth
       (20th) birthday occurs during a sport season. In that case, you will become ineligible in regard to
       age at the beginning of the sport season during which your twentieth (20th) birthday occurs.
    6. Physical Examination
       You must annually have placed on file with your principal/official representative a certificate of
       physical fitness, signed by a licensed physician, physician’s assistant or nurse practitioner in order
       to practice or participate. Your physical examination is good for 395 days from the date of the exam.
       The physician’s report must be on file with your high school principal/official representative.




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      7. Amateur Status
          A. If you win or place in actual competition, you may accept a medal or trophy for that accomplish-
              ment, without limit to its cost. Your school may provide IHSA state champions with championship
              rings/mementoes.
          B. For participating in competition in an interscholastic sport, or for athletic honors or recognition
              in a sport, you may receive any type of award (except cash, check or legal tender) that does
              not exceed $75 fair market value. There is no limitation on the value of your school letter.
          C. The amateur rule does not prohibit you from being paid to referee, receiving pay for teaching
              lessons or coaching in a little kids league, etc. It only applies to your own competition in an
              athletic contest.
          D. If you violate the amateur rule, you become ineligible in the sport in which you violate. You must
              be reinstated by the Executive Director before you may compete again.
      8. Recruiting of Athletes
          A. The by-laws prohibit recruiting of high school students for athletics. If you are solicited to enroll
              in or transfer to a school to participate in athletics, you are being illegally recruited and your
              eligibility is in jeopardy.
          B. You will lose your eligibility if you enroll in or transfer to a school in response to recruiting efforts
              by any person or group of persons, connected with or not connected with the school, related to
              athletic participation.
          C. You will lose your eligibility if you receive special benefits or privileges as a prospective student-
              athlete which are not uniformly made available to all students who attend your school.
          D. You may not receive an “athletic scholarship” or any other special benefit from your school
              because you participate in athletics.
          E. It is a violation for any student-athlete to receive or be offered remuneration or any special
              inducement which is not made available to all applicants who apply to or enroll in the school.
          F. It is also a violation to induce or attempt to induce or encourage any prospective student to attend
              any member school for the purpose of participating in athletics, even when special remuneration
              or inducement is not given. Please remember that you may not be offered or receive any benefit,
              service, privilege or opportunity which is not also provided or made available to all prospective
              students at that school.
          Note: If you are interested in finding out more information about a school, contact the principal/official
          representative or an administrator at the school, not a member of the coaching staff.
      9. School Team Sports Seasons
          A. Each sport conducted by IHSA member schools has a starting and ending date. Your school
              may not organize a team, begin practice or participate in contests in a given sport until the
              authorized starting date. Your school may not continue to practice or participate in contests after
              the authorized ending date. This means that:
              1. During the school year, you may not participate on a non-school team coached by any
                    member of your school’s coaching staff unless it meets specific criteria established by the
                    by-laws.
              2. No school coach may require you to participate in an out-of-season sport program as a
                    requirement for being a member of a school team.
          B. Violation of the sport season by-laws will result in penalty to you and/or to your school’s coaching
              personnel.
      10. Playing in Non-School Competition
          A. During the time you are participating on a school team in a sport at your high school, you may
              neither play on a non-school team nor compete in non-school competition as an individual in
              that same sport or in any skill of that sport.
          B. If you participate in non-school competition during a sport season and subsequently wish to join
              the school team in the same sport, you will not be eligible.



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        C. If you wish to participate in a competition sanctioned by the National Governing Body, or its
            official Illinois affiliate for the sport, your principal/official representative must request approval
            in writing from the IHSA Office prior to any such participation.
        D. You may try out for a non-school team while you are on your school’s team in that same sport,
            but you may not practice, receive instruction, participate in workouts, or participate in competition
            with a non-school team in that same sport until you cease being a member of your school’s
            team. You cease being a member of your school’s team when the team(s) of which you are a
            member terminates for the school term.
        E. You will become ineligible if you participate on, practice with or compete against any junior
            college, college or university team during your high school career.
    11. All-Star Participation
        A. After you have completed your high school eligibility in the sport of football, basketball, soccer
            or volleyball, you may participate in three (3) all-star contests in any of these sports and still
            play for other school teams, provided the high school season in that sport has been completed.
            You may lose your eligibility for other interscholastic sports if you play in all-star competition in
            any of these sports under any other conditions.
        B. You are not restricted from participating in all-star competition in sports other than football,
            basketball soccer or volleyball, except that you may not do so during the school season for the
            sport.
    12. Misbehavior During Contests
        A. If you violate the ethics of competition or the principles of good sportsmanship, you may be
            barred from interscholastic athletic contests, either as a participant or spectator or both.
        B. If you are ejected from a contest for unsportsmanlike conduct, you will be ineligible for your
            team’s next contest. You are also subject to other penalties.
    THE COMPLETE SET OF IHSA BY-LAWS AND POLICIES IS AVAILABLE AT WWW.IHSA.ORG
    ELIGIBILITY CLEARANCE PROCEDURE
    To check the eligibility of each student interested in participating in the school’s interscholastic athletic
    program, each interested student must clear the eligibility clearance procedure that has been developed
    for the Minooka Community High School District. To do so, the interested student must:
    1. Complete the online participation form accessible at
         http://mchs.revtrak.net/tek9.asp?pg=AthleticFormsF. A receipt will generate when you have
         completed all the steps. Board Policy #7:300 states that Athletes, Arrowettes, and Cheerleaders
         must provide verification of insurance coverage in order to participate.
    2. All student-athletes must have a current physical on file in the school nurse’s office. Every physical
         must have been performed within 13 months to be current. Freshman students may use their freshman
         entrance physical examination toward their requirement. Sophomore, junior and senior students
         must turn in a completed IHSA physical form to the athletic office. These forms are available in the
         Athletic Director’s office.
    3. When the student has correctly completed steps one and two of the eligibility clearance procedure,
         he/she may try out for the team. STUDENTS WILL NOT BE ALLOWED TO BEGIN PRACTICE
         WITHOUT COMPLETING STEPS 1 & 2.
    4. After the student has submitted all necessary documentation, the Athletic Director will rule on the
         student’s eligibility.
    MAINTAINING ELIGIBILITY
    Once a student is declared eligible, it is the student’s responsibility to maintain eligibility.
    ATTENDANCE ELIGIBILITY
    A student must be in school the day of practice or an athletic event, or have an excused absence.
    ACADEMIC ELIGIBILITY
    School Board Policy No. 7.245 requires that each student attain a 1.5 grade point average at the end
    of each semester, to be eligible for participation in athletics. Any student who fails to meet the aforesaid
    requirement will be suspended from further participation until the student attains an overall grade point
    average of 1.5 in a subsequentterm/semester.
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      Student-athletes must also meet the additional eligibility requirements imposed by the I.H.S.A. In order
      to maintain eligibility from one semester to the next requires students to be doing passing work in 25
      credit hours of high school work per week. In order to maintain eligibility, except incoming freshman,
      athletes must have received credit for passing work in 25 credit hours of high school work the previous
      semester. The weekly eligibility will be checked on the last school day of each week. Students not
      meeting the weekly requirements will be ineligible for one calendar week starting the following Monday.
      INTERSCHOLASTIC ATHLETICS
      Minooka Community High School is a member of the Illinois High School Association and the Southwest
      Prairie Conference. Students are encouraged to participate in interscholastic athletics. Participation is
      subject to both academics and IHSA eligibility requirements.
      For further information contact the Athletic Director, at 467-2140, Ext.5120.
      Minooka Community High School Athletic Handbook lists the specific policies, descriptions and principles
      on which the athletic program is based. Athletes are referred to this handbook for additional information.
      The following sports will be offered:
      Fall Sports                     Spring Sports              Winter Sports
      Boys Cross Country              Boys Baseball              Boys Basketball
      Boys Golf                       Boys Tennis                Girls Basketball
      Boys Soccer                     Boys Track                 Girls Bowling
      Football                        Boys Volleyball            Boys Bowling
      Girls Cross Country             Girls Softball             Wrestling
      Girls Tennis                    Girls Track
      Girls Volleyball                Girls Soccer
      Girls Golf                      *Lacrosse
      Cheerleading
      Pom Pons (Arrowettes)
      * Under the IHSA guidelines Lacrosse is considered an emerging sport. The definition of an emerging
      sport is any sport for which IHSA does not conduct a state tournament series and which a member school
      elects to sponsor as either a sport under the auspices of its athletic administration or as a club or other
      informal sports activity shall be considered an emerging sport.
      SPECIFIC DISCIPLINARY GUIDELINES
      The following rules and consequences are general guidelines only. No list of rules can be all - inclusive.
      Student-athletes will be subject to disciplinary action anytime their behavior is disruptive, illegal or
      inconsiderate of others. Furthermore, the specific consequences listed below may be modified at the
      discretion of the administration.
      STUDENT-ATHLETE DISCIPLINARY CODE
      Students are reminded that participation in athletics is a privilege and entered into on a voluntary
      basis. Athletes are expected to act appropriately both in and out of school, as well as in and
      out of season. A student-athlete will be subject to disciplinary action during the school year or athletic
      season (whichever is longer) when he or she commits any of the following:
      a. Severe violation of the MCHS Student Handbook Disciplinary Code.
      b. Use and/or possession of tobacco, drugs or alcohol.
      c. Being in attendance where there is illegal use or possession of drugs or alcohol.
      d. Theft or vandalism of personal or school property.
      e. Acts of unsportsmanlike conduct, in any form, both in and out of school.
      f. Violation of any handbook or team guidelines, rules or policies.
      g. Falsification of signatures on any athletic form.
      The conduct listed above reflects negatively upon the athlete’s school and community, and has a negative
      impact on the student’s athletic performance, the school’s athletic program and the purposes of the
      Student-Athletic Disciplinary Code.



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    THE ATHLETIC HANDBOOK POLICIES
    The parts of the Athletic Handbook are in effect from the day you enroll at Minooka Community High
    School until the day you graduate or the team you are a member of finishes the I.H.S.A. state series.
    SUPPORT SERVICES
    Students, and/or parents that have a concern about drug and/or alcohol use are urged to take advantage
    of the student services available through the high school. Counselors are available at all time as a
    resource for these issues. If so desired, counselors may also refer to outside agencies. All information
    shared with counselors is strictly confidential and not used as a basis for reprimand.
    STUDENT-ATHLETE DISCIPLINARY ACTION
    A student accused of a violation will be informed of the charge and given an opportunity to respond. Any
    student found to be in violation of the Student-Athlete Disciplinary Code is subject to disciplinary action.
    Penalties for violations of the above disciplinary code may be carried over from one sport season to
    another or from one year to the next. If a violation occurs out of season, the penalty will begin at the
    start of the athlete’s next season. Student-athletes must successfully complete the current season
    for the penalty to count. Failure to complete the season will result in the penalty being served in the
    athlete’s next season. Student-athletes are expected to attend all practices and games while serving
    a suspension that will end before the conclusion of the season. Student-athletes serving a Level year
    suspension will not be allowed to participate with any athletic team until the season their suspension
    ends. If a student-athlete’s suspension ends during an upcoming season, the student-athlete will be
    allowed to try out in that season.
    PROBATION
    Probation is a warning to a student-athlete that any further violations of the student-athlete disciplinary
    code will result in some type of an athletic suspension. Probation lasts for one calendar year from the
    date of occurrence. The following actions will cause a student-athlete to be placed on probation, in
    addition to any other discipline that may be imposed:
    a. Falsification of signatures on any athletic form.
    b. Being in attendance where there is illegal use or possession of drugs or alcohol, if the student can
        supply documented evidence that he or she was not using drugs or alcohol.
    c. Other misconduct, at the discretion of the administration.
    SUSPENSION
    Level One
    A Level One violation will result in loss of 20% of the regular season dates. The following are Level
    One violations:
    a. Severe violations of the MCHS student handbook disciplinary code.
    b. Repeated or serious acts of unsportsmanlike conduct.
    c. Theft or vandalism of personal or school property.
    d. Any use of tobacco products.
    e. When an athlete has received probation for a second time.
    Level Two
    The following are Level Two violations:
    a. An athlete is assigned the Level Two consequence when they have violated a Level One incident
         for the second time.
    b. A Level Two violation will result in a one calendar year suspension from the date of occurrence.
    c. Use and/or possession of drugs or alcohol on or off school grounds. This includes school-sponsored
         transportation to and from away events.
    If the violation is related to alcohol or drugs and the athlete enrolls and successfully completes an
    alcohol or substance abuse education program approved by the Athletic Director, the suspension can
    be reduced to 50% of the regular season. If the student fails to complete, attend, or choose to not take
    the education option, they will then be suspended for one calendar year. If a Level Two consequence
    is given a second time to a student/athlete, there will be no reduction in the calendar year suspension.


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      IHSA Steroid Testing Policy
      In January 2008, the Illinois High School Association’s Board of Directors approved a plan developed by
      the IHSA Sports Medicine Advisory Committee to implement random testing for steroids and performance-
      enhancing dietary supplements of team and individuals qualifying for state final competition.
      Beginning with the 2008-09 school term, any student-athlete who test positive for substances from the
      association’s banned drug classes, without written permission by a licensed physician to treat a medical
      condition, is subject to IHSA penalties, including ineligibility from competition.
      Parents and Athletes will be required each school year by the IHSA to sign a “Consent to Random
      Testing” form. The IHSA requires that the signed consent form must be on file prior to participating in an
      IHSA state series competition. For convenience, the consent form has been incorporated into the IHSA
      physical form. Additional consent forms will also be available on the website and in the Athletic Office.
      IHSA Concussion Information
      A concussion is a brain injury and all brain injuries are serious. They are caused by a bump, blow, or jolt to
      the head, or by a blow to another part of the body with the force transmitted to the head. They can range
      from mild to severe and can disrupt the way the brain normally works. Even though most concussions are
      mild, all concussions are potentially serious and may result in complications including prolonged
      brain damage and death if not recognized and managed properly. In other words, even a “ding” or
      a bump on the head can be serious. You can’t see a concussion and most sports concussions occur
      without loss of consciousness. Signs and symptoms of concussion may show up right after the injury or
      can take hours or days to fully appear. If your child reports any symptoms of concussion, or if you notice
      the symptoms or signs of concussion yourself, seek medical attention right away.

                                  GENERAL INFORMATION
      Squad Selection
      1. Selection of team members to a squad/team is the responsibility of the coach.
      2. The procedure for selecting team members for each sport will be announced by the coach prior to
           making team selections.
      Playing Time
      Participation does not guarantee playing time. Playing time is determined by the coaching staff.
      Limitation of Activities
      Athletes may compete in only one sport per season. Exceptions will be granted only with approval of
      the two head coaches involved and the Athletic Director.
      Injuries
      Minooka Community High School (MCHS) has a certified athletic trainer on staff to help with injury
      diagnosis and treatment. Athletes should report all injuries and illnesses, no matter how minor in nature
      to the coach immediately. The coach will refer all appropriate injuries and illnesses to the athletic trainer.
      The athletic trainer will determine the best course of action to protect the athlete and hasten his/her return
      to the team. Any athlete who is examined by a physician and the physician states they cannot participate
      must have a signed release from a physician before the athlete can return to practice or competition.
      Athletes at MCHS can be treated for most common sports injuries, which save the family travel, time
      and money. Please refer to the athletic training policies on the web site www.mchs.net
      Athletes Changing Sports in Season
      No athlete removed from or who removes him/herself from an athletic team will be permitted to begin
      practice in another sport, open gym or any other conditioning program offered at MCHS until the final
      regular season contest has been played by the team on which he/she was involved, unless special
      permission to do so has been granted, in writing, by the Head Varsity Coaches of two sports involved
      and the Athletic Director.
      Practice
      a. Athletes are expected to attend all scheduled practices and athletic contests, unless prior excused
           clearance is given by the coach.
      b. Work hours must be scheduled around athletic practices and contests.


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    Appearance
    Students who represent the school in interscholastic athletic competitions are expected to dress in a
    neat, respectable manner. Their actions and conduct are a direct reflection upon the overall quality of
    our athletic program and school. The coach or sponsor may establish rules regarding a particular dress
    style for their own squad.
    Transportation
    Participants in out-of-district extracurricular activities and events will be provided free transportation by
    the District to and from such events and will be expected to use such transportation, unless the parent
    or guardian is granted prior approval by the appropriate administration.
    Any parent wishing to transport their child to and or from a school sponsored out-of-district athletic event
    must contact the Athletic Director for approval. No school employee may transport students in school
    or private vehicles unless authorized by the administration.
    Equipment/Uniforms
    Students participating in athletics are responsible for the safe return of all equipment and uniforms issued
    to them. They are expected to keep their equipment clean and in good repair. Athletes should inspect
    all personal athletic equipment each day before practice. Athletes should inspect all equipment before
    practice each day. Unsafe equipment should be reported immediately to the coach. Athletes will not be
    allowed to receive awards or participate further in the athletic program until all equipment and uniforms
    are returned or paid for.
    Off Season/Summer Programs
    Athletes are encouraged to participate in any school sponsored athletic program that they enjoy and/or
    might help them in another sport. Also, athletes are encouraged to participate in a year round weight
    training program.
    Athletes are encouraged to participate in summer camps for their sport(s). If there are conflicts with
    other high school sports, family commitments or work, these should be addressed on an individual basis
    with each head coach.
    Coaches need to be sensitive to the family needs of each athlete, especially in the summer. Coaches
    must be willing to work with one another regarding an athlete’s off-season time. Any conflicts that cannot
    be resolved regarding these issues should be brought to the attention of the Athletic Director.
    Athletic Awards
    The coach of each team recommends to the Athletic Director team members for the end-of-the-season
    awards. These awards are based on criteria established by the respective coach/program before the
    start of the season. The following procedures will govern the athletic award policy:
    1. At the beginning of the athletic season, the team coach will establish specific criteria for the end-of-
         the-season awards and explain the criteria to their squad members.
    2. An end-of-the-season athletic award program will be held.
    Letters: Awarded once each year.
    Varsity: Large orange “M” awarded to varsity letter winners based on coaches criteria, including
    managers.
    Sophomore: Small orange “M” awarded to sophomore or freshman that play on sophomore teams,
    also managers.
    Numerals: Awarded to all freshmen and given to athletes who participate for the first time. If athletes
    receive letters or numerals in the fall or winter, they do not get them again that year.
    Certificates/Pins: Awarded to all members of team and managers.
    Tri-Athlete Patches: Patch given in the spring to an athlete who was out for three sports and completed
    each season. This includes anyone who was out for cheerleading or pom pons, and also participated in
    a spring sport. This patch is awarded only once. After that they receive a year pin.
    Scholar Athlete Certificate: Awarded to athletes who maintain a 3.5 or above cumulative grade point
    average.



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      To Parents of Student-Athletes
      Please do not park along the curb by doors #25, #26, #27 and door #28 to pick up your student-athlete
      after practice or a game. This is an access road (emergency entrance) to the back parking lot and the
      back of the school. Please either park in the back parking lot by the stadium or the parking lot located
      in front of school.

                                 ACTIVITIES HANDBOOK
      ASSEMBLIES
      Most assemblies are optional, but some may be mandatory, and the regular bell schedule may be
      altered. All the rules and regulations that are set forth in this handbook applies during every assembly.
      Students are informed that proper behavior is expected at all assemblies. If student behavior becomes
      disrespectful and/or inappropriate they will be removed from the assembly and disciplinary action may
      occur. In addition the entire assembly could be cancelled and all students will report back to class. Due
      to the GAVC schedule, students attending GAVC classes might not be able to attend all assemblies.
      CLUBS/ORGANIZATIONS
      This section of the handbook will describe the specific policies and principles in which the student
      activities are based. For specific club policy questions or information contact the faculty sponsor of the
      organization. MCHS clubs include a variety of Competition, Leadership and Community Service, Student
      Government Special Interest to Creative Arts options.
       American Sign Language Club                          Junior Class
       Art Club                                             Kaleidoscope (Literary Magazine)
       Aspiring Emergency Responders                        Madrigals
       Athletic Leadership Club                             Math Team
       Band                                                 MCHS Book Club
       Book Club                                            Minooka Anglers Club
       Chess                                                Musical
       Children’s Theater                                   Orchesis
       Choir                                                National Honor Society (NHS)
       Colorguard                                           Orchesis
       Comic Club                                           Peace Pipe Chatter (Newspaper)
       Disc Golf                                            Photo Club
       ESports                                              Ping Pong
       Fall Play                                            Students Against Destructive Decisions
       Film Club                                            Scholastic Bowl
       Freshman Class                                       Science National Honor Society (SNHS)
       Future Career & Community Leaders of America Senior Class Committee
       Future Farmers of America                            Senior Mural
       French NHS                                           Sign Language Club
       Freshman Class Committee                             Sophomore Class Committee
       Game Club                                            Spanish National Honors Society
       Indian Climbing Club                                 Speech
       Indoor Percussion                                    Student Council
       Interact Club (Rotary)                               Technical Student Association (TSA)
       International Club                                   Teens Activating the Language of Kindness
       International Thespian (Drama)                       Underwater Robotics
       Investment Club                                      Winterguard
       Judo Club

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    CODE OF CONDUCT
    Participation in club and activity organizations at MCHS is an extension of the curricular program and
    is a privilege thus carries certain expectations beyond the normal classroom situation. The goal of the
    Student Activities program is to offer a wide variety of service, performance, competition and special
    interest opportunities in which students may participate.
    General Provisions:
    1. Regularly attend school, practice and events.
    2. Maintain academic eligibility as defined below.
    3. Students must travel on school transportation for all events off campus.
    4. Students are responsible for all equipment and or clothing issued for an activity and the return at
         the end of the season.
    5. Students will adhere to all rules set forth in the student handbook not outlined here and display
         conduct that is respectful of persons and property at all times.
    6. Forbid the use and /or possession of tobacco, drug or alcohol.
    Disciplinary Action:
    A student accused of a violation will be informed of the charge and given an opportunity to respond. Any
    student found to be in violation of the student activity Code of Conduct is subject to disciplinary action.
    Probation:
    Probation is a warning to the student that any further violations will result in a suspension from participating
    in the activity. Probation lasts for one calendar year from the date of occurrence.
    1. Being in attendance where there is illegal use or possession of drugs or alcohol, if the student can
         supply documented evidence that he or she was not using drugs or alcohol.
    2. Other misconduct, at the discretion of the administration.
    If the violation is related to drugs, alcohol and controlled substances:
    First offense: loss of participation for one calendar year from the date of occurrence. If the student enrolls
    and successfully completes an alcohol or substance abuse education program approved by the Activity
    Director, the suspension can be reduced by 50% of the school year or participation season. If the student
    fails to complete, attend or choose the education option, they will then be suspended for one calendar
    year from all extra curricular activities.
    Extra-Curricular Activities Eligibility
    Minooka Community High School requires that each student maintain an overall 1.5 grade point average
    at the end of each semester to be eligible for participation in any club or organization. Any student who
    fails to meet this requirement will be suspended from further participation until the student attains an
    overall grade point average of 1.5 in a subsequent quarter. Students should be aware that additional
    eligibility requirements would be imposed throughout the year. For example, if an extra curricular or
    co-curricular event falls under the I.H.S.A. requirements, the student’s grades will be checked the week
    before the end week of the I.H.S.A. event. If the student does not meet these additional requirements,
    he/she will not participate in the I.H.S.A event. For participation in I.H.S.A. activities, students must pass
    at least 5 classes the semester prior to participation and maintain passing grades in 5 classes while
    involved in IHSA activities. Furthermore the specific consequences may be modified at the discretion of
    the administration. These policies and requirements are reviewed annually.




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      SOCIAL MEDIA POLICY
      Student-athletes and student activity members are high-profile representatives of the Minooka Community
      School District, and their behavior is subject to scrutiny by their peers, the campus, community, and the
      media. The actions of a single student can reflect positively or negatively, not only on the individual student
      but also on his or her team, activity, coaches, the Athletics/Activity Department, and the entire school.
      Therefore, students are expected to represent themselves and MCHS with honor, dignity, and integrity at
      all times – including when interacting on social networking websites and in other online environments. The
      popularity of social networking websites (e.g., Snapchat, Twitter, Facebook, Vine, YouTube, Instagram,
      BlogSpot, etc.) has grown tremendously during the last few years. These websites can serve as valuable
      communication tools when used appropriately. The use of social media, however, has the potential to
      cause problems for both the student and the school environment. Almost anything a student posts on
      a social networking site may be viewed by others, and both the media and the general public are more
      likely to view the profiles of a student involved in athletics/activities than the profiles of other students.
      The Athletics/Activities Department has developed this Student-Athlete/Activities Social Networking
      Guideline in order to:
      • Provide recommendations and suggestions for students to help them use social media in a safe and
            responsible manner
      • Outline important rules that students must follow when using social media
      Important Suggestions & Recommendations Regarding Social Networking Sites
      Some students mistakenly believe social networking websites have a veil of privacy about them and
      assume their profiles are viewed only by a close circle of friends and fellow students. To the contrary,
      the content on most of these sites is accessible by anyone in the general public unless security and
      privacy features are used. The public nature of these websites has created personal safety and personal
      welfare concerns. For example, students have been stalked or sexually harassed and assaulted as a
      result of their Twitter/Snapchat profiles. Fans of opposing teams have taunted student-athletes based
      on information obtained from social networking sites.
      Students also should be aware that potential employers and graduate school admissions officers now
      regularly screen applicants by conducting “Google” searches of an applicant’s name and by reviewing
      the applicant’s social networking profiles. Students are being passed over for interviews and denied
      admission to universities based on the content of their profiles.
      Students should be very careful about what personal information they share on the internet.
      For their own security, protection, and welfare, and that of their teammates and friends, the Athletics/
      Activities Department strongly recommends and advises students to:
      • Keep phone numbers, physical addresses, birthdates, current whereabouts, travel plans, and other
            personal information strictly confidential. This information should not be contained in a student’s
            personal online profile.
      • Limit the access of others to e-mail addresses and screen carefully those whom a student may
            accept as “friends” on a social networking site.
      • Use whatever security and privacy features are available to restrict the ability of others to view a
            students site or to post pictures, messages, and other content on a student-athlete’s site.
      • If an individual contacts a student via a social networking site and the nature of the contact makes
            the student-athlete concerned for his or her safety or makes the student uncomfortable in any way,
            the student should immediately contact a parent, a coach, sponsor, or an administrator.




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    Rules Regarding Social Networking Sites
    Participation in MCHS Athletics/Activities is a privilege and not a right. As a condition of being a student
    involved in athletics/activities at MCHS, students must abide by the following rules related to the use of
    the internet and social networking sites:
    1. Any postings or communications via social networking websites which disrupt either the educational
         or athletic/activity environments or which advocates the violation of any school or team policy would
         be unacceptable.
    2. Students may not post online any pictures, information, or other content that might cause embar-
         rassment to themselves, fellow student-athletes, teams, coaches, sponsors, the Athletics/Activity
         Department or the school (examples: obscene images or language, nudity, pictures at parties with
         alcohol, references to drugs, sex, or illegal activities).
    3. Students may not post any content online that is unsportsmanlike, derogatory, demeaning or threaten-
         ing toward any other individual, teammate, coach, sponsor, faculty member, or entity (examples:
         derogatory comments regarding another school; taunting comments aimed at a student, coach or
         team at another school). No posts should depict or encourage unacceptable or illegal activities
         (examples: hazing, sexual harassment/assault, gambling, discrimination, fighting, vandalism,
         academic dishonesty, underage drinking, and illegal drug use).
    4. Students may not post any content online that would constitute a violation of the MCHS Student
         Code of Conduct.
    5. Students may not post any information that is sensitive or personal in nature or is proprietary to
         the Athletic/Activity Department or the school which is not public information (examples: routines,
         student-athlete injuries and eligibility status, travel plans/itineraries or information).
    6. Students are required to abide by all laws related to the use of the internet (including state and federal
         privacy laws such as FERPA and HIPPA), and students are personally liable for any violations of
         those laws.
    Student-athletes, activity members at MCHS are required to abide by rules set forth in these
    guidelines. The failure to do so will be considered a violation of the student-athlete/activity code
    of conduct and/or the MCHS student code of conduct. The violation may result in disciplinary
    action by the athletics/activities department and the school.
    1st Offense - Warning and parent meeting with the head coach/sponsor. Consequences will be
    determined based on the severity of the infraction and may include suspension or dismissal from the
    team or activities/games or after school events.
    2nd Offense – Parent meeting with the head coach and the campus Athletic/Activity Director and
    Campus Dean. Consequences will be determined based on the severity of the infraction and may include
    suspension or dismissal from the team or activities/games or after school events.
    3rd Offense – Parent meeting with the head coach, Athletic/Activity Director, and Administration Principal
    or Superintendent. Consequences will be determined based on the severity of the infraction and may
    include suspension or dismissal from the team or activities/games or after school events.




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        CALENDAR YEARS
                                                                                                                                             2019
                      S M T W T F         S                S M T W T F        S                 S M T W T F       S                S M T W T F         S




                                               February
                            1 2     3 4 5                                 1 2                                  1 2                    1 2 3 4 5 6
         January




                                                                                    March




                                                                                                                       April
                      6 7 8 9      10 11 12                3 4 5 6 7 8 9                        3 4 5 6 7 8 9                      7 8 9 10 11 12 13
                     13 14 15 16   17 18 19               10 11 12 13 14 15 16                 10 11 12 13 14 15 16               14 15 16 17 18 19 20
                     20 21 22 23   24 25 26               17 18 19 20 21 22 23                 17 18 19 20 21 22 23               21 22 23 24 25 26 27
                     27 28 29 30   31                     24 25 26 27 28                       24 25 26 27 28 29 30               28 29 30
                                                                                               31

                      S M T W T F         S                S M T W T F        S                 S M T W T F       S                S M T W T F         S
                               1 2 3 4                                       1                     1 2 3 4 5 6                                 1 2 3




                                                                                                                       August
                                               June


                      5 6 7 8 9 10 11
         May




                                                           2 3 4 5 6 7 8                        7 8 9 10 11 12 13                  4 5 6 7 8 9 10




                                                                                    July
                     12 13 14 15 16 17 18                  9 10 11 12 13 14 15                 14 15 16 17 18 19 20               11 12 13 14 15 16 17
                     19 20 21 22 23 24 25                 16 17 18 19 20 21 22                 21 22 23 24 25 26 27               18 19 20 21 22 23 24
                     26 27 28 29 30 31                    23 24 25 26 27 28 29                 28 29 30 31                        25 26 27 28 29 30 31
                                                          30

                      S M T W T F         S                S M T W T F        S                 S M T W T F       S                S M T W T F         S
         September




                                                                                    November




                                                                                                                       December
                      1 2 3 4 5 6 7                              1 2     3 4 5                                 1 2                 1 2 3 4 5 6 7
                                               October




                      8 9 10 11 12 13 14                   6 7 8 9      10 11 12                3 4 5 6 7 8 9                      8 9 10 11 12 13 14
                     15 16 17 18 19 20 21                 13 14 15 16   17 18 19               10 11 12 13 14 15 16               15 16 17 18 19 20 21
                     22 23 24 25 26 27 28                 20 21 22 23   24 25 26               17 18 19 20 21 22 23               22 23 24 25 26 27 28
                     29 30                                27 28 29 30   31                     24 25 26 27 28 29 30               29 30 31




                                                                                                                                          2020
                     S M T W T F         S                S M T W T F         S                S M T W T F       S                S M T W T F         S
                                              February




                               1 2 3 4                                       1                  1 2 3 4 5 6 7                               1 2 3 4
        January




                                                                                   March




                                                                                                                      April
                      5 6 7 8 9 10 11                      2 3 4 5 6 7 8                        8 9 10 11 12 13 14                 5 6 7 8 9 10 11
                     12 13 14 15 16 17 18                  9 10 11 12 13 14 15                 15 16 17 18 19 20 21               12 13 14 15 16 17 18
                     19 20 21 22 23 24 25                 16 17 18 19 20 21 22                 22 23 24 25 26 27 28               19 20 21 22 23 24 25
                     26 27 28 29 30 31                    23 24 25 26 27 28 29                 29 30 31                           26 27 28 29 30


                     S M T W T F         S                S M T W T F         S                S M T W T F       S                S M T W T F         S
                                     1 2                      1 2 3 4 5 6                                1 2 3 4                                       1
                                                                                                                      August
                                              June




                      3 4 5 6 7 8 9
        May




                                                           7 8 9 10 11 12 13                    5 6 7 8 9 10 11                    2    3 4 5 6 7 8
                                                                                   July




                     10 11 12 13 14 15 16                 14 15 16 17 18 19 20                 12 13 14 15 16 17 18                9   10 11 12 13 14 15
                     17 18 19 20 21 22 23                 21 22 23 24 25 26 27                 19 20 21 22 23 24 25               16   17 18 19 20 21 22
                     24 25 26 27 28 29 30                 28 29 30                             26 27 28 29 30 31                  23   24 25 26 27 28 29
                     31                                                                                                           30   31

                     S M T W T F         S                S M T W T F         S                S M T W T F       S                S M T W T F         S
        September




                                                                                   November




                                                                                                                      December




                            1 2 3 4 5                                  1 2 3                    1 2 3 4 5 6 7                            1 2     3 4 5
                                              October




                      6 7 8 9 10 11 12                     4 5 6 7 8 9 10                       8 9 10 11 12 13 14                 6 7 8 9      10 11 12
                     13 14 15 16 17 18 19                 11 12 13 14 15 16 17                 15 16 17 18 19 20 21               13 14 15 16   17 18 19
                     20 21 22 23 24 25 26                 18 19 20 21 22 23 24                 22 23 24 25 26 27 28               20 21 22 23   24 25 26
                     27 28 29 30                          25 26 27 28 29 30 31                 29 30                              27 28 29 30   31




                                                                                                                                             2021
                     S M T W T F         S                S M T W T F         S                S M T W T F       S                S M T W T F         S
                                              February




                                     1 2                      1 2 3 4 5 6                          1 2 3 4 5 6                                 1 2 3
        January




                                                                                   March




                                                                                                                      April




                      3 4 5 6 7 8 9                        7 8 9 10 11 12 13                    7 8 9 10 11 12 13                  4 5 6 7 8 9 10
                     10 11 12 13 14 15 16                 14 15 16 17 18 19 20                 14 15 16 17 18 19 20               11 12 13 14 15 16 17
                     17 18 19 20 21 22 23                 21 22 23 24 25 26 27                 21 22 23 24 25 26 27               18 19 20 21 22 23 24
                     24 25 26 27 28 29 30                 28                                   28 29 30 31                        25 26 27 28 29 30
                     31

                     S M T W T F         S                S M T W T F         S                S M T W T F       S                S M T W T F         S
                                          1                      1 2 3 4 5                                  1 2 3                  1 2 3 4 5 6 7
                                                                                                                      August
                                              June




                      2    3 4 5 6 7 8
        May




                                                           6 7 8 9 10 11 12                     4 5 6 7 8 9 10                     8 9 10 11 12 13 14
                                                                                   July




                      9   10 11 12 13 14 15               13 14 15 16 17 18 19                 11 12 13 14 15 16 17               15 16 17 18 19 20 21
                     16   17 18 19 20 21 22               20 21 22 23 24 25 26                 18 19 20 21 22 23 24               22 23 24 25 26 27 28
                     23   24 25 26 27 28 29               27 28 29 30                          25 26 27 28 29 30 31               29 30 31
                     30   31

                     S M T W T F         S                S M T W T F         S                S M T W T F       S                S M T W T F         S
        September




                                                                                   November




                                                                                                                      December




                               1 2 3 4                                    1 2                      1 2 3 4 5 6                              1 2 3 4
                                              October




                      5 6 7 8 9 10 11                      3 4 5 6 7 8 9                        7 8 9 10 11 12 13                  5 6 7 8 9 10 11
                     12 13 14 15 16 17 18                 10 11 12 13 14 15 16                 14 15 16 17 18 19 20               12 13 14 15 16 17 18
                     19 20 21 22 23 24 25                 17 18 19 20 21 22 23                 21 22 23 24 25 26 27               19 20 21 22 23 24 25
                     26 27 28 29 30                       24 25 26 27 28 29 30                 28 29 30                           26 27 28 29 30 31
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                         MINOOKA COMMUNITY HIGH SCHOOL DISTRICT #111
                                  SCHOOL CALENDAR 2019/2020
         Thursday       August 8      No Student Attendance-Teacher Institute
         Friday         August 9      No Student Attendance-Teacher Institute
         Monday         August 12     First Day of Classes
         Tuesday        August 13     Second Day of Classes

         Monday         September 2   No School-Labor Day

         Monday         October 14    No School-Columbus Day
         Thursday       October 24    No Student Attendance-Full-day P/T Conferences
         Friday         October 25    No Student Attendance-Teacher Institute

         Monday         November 11   Holiday Waiver-School In Session-Veterans Day
         Wednesday      November 27   No School-Thanksgiving Eve
         Thursday       November 28   No School-Thanksgiving Day
         Friday         November 29   No School-Thanksgiving Vacation

         Wednesday      December 18   Tentative First Semester Finals
         Thursday       December 19   Tentative First Semester Finals
         Friday         December 20   Tentative First Semester Finals
         Monday         December 23   No School-Winter Break
         Tuesday        December 24   No School-Winter Break
         Wednesday      December 25   No School-Winter Break
         Thursday       December 26   No School-Winter Break
         Friday         December 27   No School-Winter Break
         Monday         December 30   No School-Winter Break
         Tuesday        December 31   No School-Winter Break

         Wednesday      January 1     No School-Winter Break
         Thursday       January 2     No School-Winter Break
         Friday         January 3     No School-Winter Break
         Monday         January 6     Classes Resume
         Monday         January 20    No School-Martin Luther King Day
         Friday         January 31    No Student Attendance-Teacher Institute

         Monday         February 17   No School-President's Day
         Friday         February 28   No Student Attendance-Teacher Institute

         Monday         March 2       Holiday Waiver-School In Session-Casimir Pulaski Day
         Monday         March 23      No School-Spring Break
         Tuesday        March 24      No School-Spring Break
         Wednesday      March 25      No School-Spring Break
         Thursday       March 26      No School-Spring Break
         Friday         March 27      No School-Spring Break

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                            MINOOKA COMMUNITY HIGH SCHOOL DISTRICT #111
                                     SCHOOL CALENDAR 2019/2020
         Friday            April 10             No School-Good Friday
         Monday            April 13             No School-Easter Monday

         Tuesday           May 19               Tentative Second Semester Finals
         Wednesday         May 20               Tentative Second Semester Finals
         Thursday          May 21               Tentative Second Semester Finals
         Friday            May 22               Emergency Day #1
         Monday            May 25               No School-Memorial Day
         Tuesday           May 26               Emergency Day #2
         Wednesday         May 27               Emergency Day #3
         Thursday          May 28               Emergency Day #4
         Friday            May 29               Emergency Day #5

            ATTENDANCE DAYS                                                  REPORT CARD DAYS IN SESSION
         August.............................. 15                  1stFor
                                                                      Qtrupdated
                                                                          Ends information on school activities/functions,
                                                                                                                    41 Days
         September........................ 20                     2ndplease
                                                                       Qtr Ends
                                                                            check the monthly newsletter calendar. 42 Days
         October............................. 20                  Final Exams                                         3 Days
         November......................... 18                      First Semester                                   88 Days
         December......................... 15
             First Semester................... 88                 3rd Qtr Ends                                      43 Days
         January............................. 18                  4th Qtr Ends                                      44 Days
         February........................... 18                   Final Exams                                        3 Days
         March............................... 17                   Second Semester                                  88 Days
         April................................. 20
         May.................................. 15
             Second Semester.............. 88
         Total Days in Session          176
         Institute/Inservice Days         6
         Emergency Days                   5
         Total Days                     187




      Approved:     3/1/18                                                                                     5/8/2019




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      5 MONDAY




                                                             AUGUST
     6 TUESDAY




                                                             AUGUST
     7 WEDNESDAY




                                                             AUGUST
     8 THURSDAY                            No School - Teacher Institute




                                                             AUGUST
    78      ç µ å | @datebookstore
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        9 FRIDAY                               No School - Teacher Institute




                                                                                                         AUGUST
       10 SATURDAY



                                                                                                         AUGUST
       11 SUNDAY                                                                    Eid al-Adha begins at sundown




                                                                                                         AUGUST
        THIS WEEK     August 6, 1991 — British computer scientist Tim Berners-Lee releases files describing his experimental
        IN HISTORY     World Wide Web project, a hypertext system that will allow documents to “link” to each other easily.


                                              WEEKLY HALL PASS
         Date        Depart Time                      Destination                      Return Time                Teacher




                                                                                      Datebookstore.com                        79
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      12 MONDAY                              A Day
                                             First Day of Classes




                                                           AUGUST
     13 TUESDAY                            B Day
                                           Second Day of Classes




                                                           AUGUST
     14 WEDNESDAY                          A Day




                                                           AUGUST
     15 THURSDAY                           B Day




                                                           AUGUST
    80      ç µ å | @datebookstore
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        16 FRIDAY                              A Day




                                                                                                        AUGUST
       17 SATURDAY



                                                                                                        AUGUST
       18 SUNDAY



                                                                                                        AUGUST
       THIS WEEK
                           August 14, 1908 — The first international beauty contest is held in Folkestone, England.
       IN HISTORY


                                           WEEKLY HALL PASS
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      19 MONDAY                              B Day




                                                     AUGUST
     20 TUESDAY                            A Day




                                                     AUGUST
     21 WEDNESDAY                          B Day




                                                     AUGUST
     22 THURSDAY                           A Day




                                                     AUGUST
    82      ç µ å | @datebookstore
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       23 FRIDAY                              B Day




                                                                                                   AUGUST
      24 SATURDAY



                                                                                                   AUGUST
      25 SUNDAY



                                                                                                   AUGUST
      THIS WEEK                  August 21, 1911 — Vincenzo Peruggia walks out of the Louvre in Paris,
      IN HISTORY                        France, with the Mona Lisa hidden beneath his clothes.


                                         WEEKLY HALL PASS
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      26 MONDAY                              A Day
                                             Late Start




                                                    AUGUST
    27 TUESDAY                             B Day




                                                    AUGUST
    28 WEDNESDAY                           A Day




                                                    AUGUST
    29 THURSDAY                            B Day




                                                    AUGUST
    84     ç µ å | @datebookstore
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       30 FRIDAY                              Muharram begins at sundown
                                              A Day




                                                                                                    AUGUST
      31 SATURDAY



                                                                                                    AUGUST
       1 SUNDAY



                                                                                          SEPTEMBER
       THIS WEEK                  August 31, 1955 — The world’s first solar-powered car is demonstrated
       IN HISTORY                             at the General Motors Powerama in Chicago.


                                          WEEKLY HALL PASS
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      2 MONDAY                               Labor Day
                                             No School




                                                   SEPTEMBER
     3 TUESDAY                             B Day




                                                   SEPTEMBER
     4 WEDNESDAY                           A Day




                                                   SEPTEMBER
     5 THURSDAY                            B Day




                                                   SEPTEMBER
    86     ç µ å | @datebookstore
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        6 FRIDAY                              A Day




                                                                                                    SEPTEMBER
      7 SATURDAY



                                                                                                    SEPTEMBER
      8 SUNDAY



                                                                                                    SEPTEMBER
      THIS WEEK     September 4, 1882 — At 3 p.m., Thomas Edison flips a switch in Edison Electric’s Pearl Street station in
      IN HISTORY    New York City, lighting a portion of the city. This is often considered the beginning of the age of electricity.


                                              WEEKLY HALL PASS
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      9 MONDAY                               B Day




                                                   SEPTEMBER
    10 TUESDAY                             A Day




                                                   SEPTEMBER
    11 WEDNESDAY                           Patriot Day
                                           B Day




                                                   SEPTEMBER
    12 THURSDAY                            A Day




                                                   SEPTEMBER
    88     ç µ å | @datebookstore
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       13 FRIDAY                              B Day




                                                                                            SEPTEMBER
      14 SATURDAY



                                                                                            SEPTEMBER
      15 SUNDAY



                                                                                            SEPTEMBER
      THIS WEEK              September 11, 2001 — A terrorist attack on the World Trade Center in New York
                            City and the Pentagon in Arlington, Virginia, destroys the 110-story twin towers and
      IN HISTORY
                               severely damages a wing of the headquarters of the Department of Defense.


                                          WEEKLY HALL PASS
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      16 MONDAY                              A Day




                                                   SEPTEMBER
    17 TUESDAY                             B Day




                                                   SEPTEMBER
    18 WEDNESDAY                           A Day




                                                   SEPTEMBER
    19 THURSDAY                            B Day




                                                   SEPTEMBER
    90     ç µ å | @datebookstore
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       20 FRIDAY                              A Day




                                                                                     SEPTEMBER
      21 SATURDAY



                                                                                     SEPTEMBER
      22 SUNDAY



                                                                                     SEPTEMBER
      THIS WEEK                  September 16, 1620 — The Mayflower sails from Plymouth, England,
      IN HISTORY                      bound for the New World with 102 passengers on board.


                                       WEEKLY HALL PASS
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                                                                             Datebookstore.com                91
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      23 MONDAY                              First Day of Autumn
                                             B Day




                                                   SEPTEMBER
    24 TUESDAY                             A Day




                                                   SEPTEMBER
    25 WEDNESDAY                           B Day




                                                   SEPTEMBER
    26 THURSDAY                            A Day




                                                   SEPTEMBER
    92     ç µ å | @datebookstore
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       27 FRIDAY                              B Day




                                                                                            SEPTEMBER
      28 SATURDAY



                                                                                            SEPTEMBER
      29 SUNDAY                                                                  Rosh Hashanah begins at sundown




                                                                                            SEPTEMBER
      THIS WEEK         September 25, 1957 — Nine black students enter all-white Central High School in Little Rock,
      IN HISTORY             Ark., escorted by the U.S. Army enforcing federal court-ordered racial integration.


                                           WEEKLY HALL PASS
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      30 MONDAY                              A Day
                                             Late Start




                                                   SEPTEMBER
     1 TUESDAY                             B Day




                                                     OCTOBER
     2 WEDNESDAY                           A Day




                                                     OCTOBER
     3 THURSDAY                            B Day




                                                     OCTOBER
    94     ç µ å | @datebookstore
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        4 FRIDAY                              A Day




                                                                                             OCTOBER
      5 SATURDAY



                                                                                             OCTOBER
      6 SUNDAY



                                                                                             OCTOBER
      THIS WEEK                  October 4, 1957 — The Soviet Union launches Sputnik, the world’s
      IN HISTORY                         first artificial satellite, touching off the Space Age.


                                      WEEKLY HALL PASS
        Date       Depart Time                Destination                      Return Time          Teacher




                                                                              Datebookstore.com               95
: 1:21-cv-04331 Document #: 1-2 Filed: 08/13/21 Page 96 of 176 PageID
      7 MONDAY                               B Day




                                                         OCTOBER
     8 TUESDAY                             Yom Kippur begins at sundown
                                           A Day




                                                         OCTOBER
     9 WEDNESDAY                           B Day




                                                         OCTOBER
    10 THURSDAY                            A Day




                                                         OCTOBER
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       11 FRIDAY                              B Day




                                                                                          OCTOBER
      12 SATURDAY



                                                                                          OCTOBER
      13 SUNDAY



                                                                                          OCTOBER
      THIS WEEK                  October 12, 1492 — Christopher Columbus lands at a Bahamian
      IN HISTORY                         island, believing that he has reached East Asia.


                                     WEEKLY HALL PASS
         Date      Depart Time               Destination                   Return Time         Teacher




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      14 MONDAY                              Columbus Day (Observed)
                                             No School




                                                        OCTOBER
    15 TUESDAY                             A Day
                                           Late Start




                                                        OCTOBER
    16 WEDNESDAY                           B Day




                                                        OCTOBER
    17 THURSDAY                            A Day




                                                        OCTOBER
    98     ç µ å | @datebookstore
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       18 FRIDAY                              B Day




                                                                                              OCTOBER
      19 SATURDAY



                                                                                              OCTOBER
      20 SUNDAY



                                                                                              OCTOBER
      THIS WEEK                  October 17, 1931 — Al Capone, a longtime organized crime kingpin,
      IN HISTORY                          lands in jail after being convicted for tax evasion.


                                       WEEKLY HALL PASS
        Date       Depart Time                 Destination                     Return Time           Teacher




                                                                              Datebookstore.com                99
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    21 MONDAY                              A Day




                                                        OCTOBER
    22 TUESDAY                            B Day




                                                        OCTOBER
    23 WEDNESDAY                          A Day




                                                        OCTOBER
    24 THURSDAY                           No School - P/T Conferences




                                                        OCTOBER
   100    ç µ å | @datebookstore
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      25 FRIDAY                              No School - Teacher Institute




                                                                                                  OCTOBER
      26 SATURDAY



                                                                                                  OCTOBER
      27 SUNDAY



                                                                                                  OCTOBER
      THIS WEEK      October 23, 1946 — Following its inaugural meetings in London in January 1946, the United Nations
      IN HISTORY     General Assembly convenes its first U.S. meeting at an auditorium in Flushing Meadows, New York.


                                           WEEKLY HALL PASS
        Date       Depart Time                    Destination                      Return Time               Teacher




                                                                                  Datebookstore.com                      101
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    28 MONDAY                              B Day




                                                      OCTOBER
    29 TUESDAY                            A Day




                                                      OCTOBER
    30 WEDNESDAY                          B Day




                                                      OCTOBER
    31 THURSDAY                           Halloween
                                          A Day




                                                      OCTOBER
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      1 FRIDAY                               B Day




                                                                                            NOVEMBER
      2 SATURDAY



                                                                                            NOVEMBER
      3 SUNDAY                                                                  Standard Time returns




                                                                                            NOVEMBER
      THIS WEEK         October 29, 1929 — New York Stock Exchange prices collapse. Stockholders sell 16 million
      IN HISTORY          shares and lose billions of dollars. The market’s crash ushers in the Great Depression.


                                          WEEKLY HALL PASS
       Date        Depart Time                   Destination                      Return Time                Teacher




                                                                                 Datebookstore.com                     103
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     4 MONDAY                              A Day




                                                    NOVEMBER
    5 TUESDAY                             Election Day
                                          B Day
                                          Late Start




                                                    NOVEMBER
    6 WEDNESDAY                           A Day




                                                    NOVEMBER
    7 THURSDAY                            B Day




                                                    NOVEMBER
   104    ç µ å | @datebookstore
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      8 FRIDAY                               A Day




                                                                                         NOVEMBER
       9 SATURDAY                                                            Mawlid al-Nabi begins at sundown




                                                                                         NOVEMBER
     10 SUNDAY



                                                                                         NOVEMBER
      THIS WEEK             November 4, 1922 — English archaeologist Howard Carter discovers the entrance
      IN HISTORY                    to King Tutankhamun’s tomb in the Valley of the Kings, Egypt.


                                         WEEKLY HALL PASS
         Date      Depart Time                  Destination                     Return Time                 Teacher




     002631_5176                                                               Datebookstore.com                      105
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    11 MONDAY                              Veterans Day (Observed)
                                           B Day
                                          Holiday Waiver - School In Session




                                                    NOVEMBER
    12 TUESDAY                            A Day




                                                    NOVEMBER
    13 WEDNESDAY                          B Day




                                                    NOVEMBER
    14 THURSDAY                           A Day




                                                    NOVEMBER
   106    ç µ å | @datebookstore
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      15 FRIDAY                              B Day




                                                                                         NOVEMBER
     16 SATURDAY



                                                                                         NOVEMBER
     17 SUNDAY



                                                                                         NOVEMBER
      THIS WEEK              November 11, 1918 — World War I comes to an end. Many countries recognize
      IN HISTORY                this day as Armistice Day; Americans also celebrate it as Veterans Day.


                                        WEEKLY HALL PASS
       Date        Depart Time                  Destination                    Return Time                Teacher




                                                                              Datebookstore.com                     107
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    18 MONDAY                              A Day




                                                       NOVEMBER
    19 TUESDAY                            B Day
                                          Late Start




                                                       NOVEMBER
    20 WEDNESDAY                          A Day




                                                       NOVEMBER
    21 THURSDAY                           B Day




                                                       NOVEMBER
   108    ç µ å | @datebookstore
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      22 FRIDAY                              A Day




                                                                                            NOVEMBER
     23 SATURDAY



                                                                                            NOVEMBER
     24 SUNDAY



                                                                                            NOVEMBER
      THIS WEEK              November 19, 1969 — Brazilian soccer star Pelé scores his 1,000th professional
      IN HISTORY                     goal during a game at Maracanã Stadium in Rio de Janeiro.


                                         WEEKLY HALL PASS
       Date        Depart Time                   Destination                      Return Time                 Teacher




                                                                                 Datebookstore.com                      109
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    25 MONDAY                              B Day




                                                    NOVEMBER
    26 TUESDAY                            A Day




                                                    NOVEMBER
    27 WEDNESDAY                          No School - Thanksgiving Break




                                                    NOVEMBER
    28 THURSDAY                           Thanksgiving
                                          No School - Thanksgiving Break




                                                    NOVEMBER
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      29 FRIDAY                              No School - Thanksgiving Break




                                                                                               NOVEMBER
      30 SATURDAY



                                                                                               NOVEMBER
      1 SUNDAY



                                                                                                DECEMBER
      THIS WEEK      November 26, 1864 — Charles Dodgson, aka Lewis Carroll, sends a manuscript of fantastic stories to
      IN HISTORY      10-year-old Alice Liddell. Dodgson publishes the story in 1865 as Alice’s Adventures in Wonderland.


                                            WEEKLY HALL PASS
        Date       Depart Time                      Destination                      Return Time                Teacher




                                                                                    Datebookstore.com                       111
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     2 MONDAY                              B Day




                                                  DECEMBER
    3 TUESDAY                             A Day




                                                  DECEMBER
    4 WEDNESDAY                           B Day




                                                  DECEMBER
    5 THURSDAY                            A Day




                                                  DECEMBER
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      6 FRIDAY                               B Day




                                                                                             DECEMBER
       7 SATURDAY



                                                                                             DECEMBER
       8 SUNDAY



                                                                                             DECEMBER
      THIS WEEK           December 5, 1933 — The 21st Amendment to the U.S. Constitution is ratified, repealing
      IN HISTORY               the 18th Amendment and bringing an end to national prohibition of alcohol.


                                          WEEKLY HALL PASS
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     9 MONDAY                              A Day
                                           Late Start




                                                  DECEMBER
    10 TUESDAY                            B Day




                                                  DECEMBER
    11 WEDNESDAY                          A Day




                                                  DECEMBER
    12 THURSDAY                           B Day




                                                  DECEMBER
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      13 FRIDAY                              A Day




                                                                                           DECEMBER
     14 SATURDAY



                                                                                           DECEMBER
     15 SUNDAY



                                                                                           DECEMBER
      THIS WEEK
                                 December 10, 1898 — The Treaty of Paris ends the Spanish-American War.
      IN HISTORY


                                          WEEKLY HALL PASS
       Date        Depart Time                    Destination                    Return Time              Teacher




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    16 MONDAY                              B Day




                                                    DECEMBER
    17 TUESDAY                            A Day




                                                    DECEMBER
    18 WEDNESDAY                          Tentative Semester Exams




                                                    DECEMBER
    19 THURSDAY                           Tentative Semester Exams




                                                    DECEMBER
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      20 FRIDAY                              Tentative Semester Exams




                                                                                             DECEMBER
     21 SATURDAY



                                                                                             DECEMBER
     22 SUNDAY                                                                  First Day of Winter
                                                                                Hanukkah begins at sundown




                                                                                             DECEMBER
      THIS WEEK                  December 19, 1974 — The first personal computer goes on sale. The Altair
      IN HISTORY                       8800 is sold as a kit through Popular Electronics magazine.


                                          WEEKLY HALL PASS
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    23 MONDAY                              No School - Winter Break




                                                     DECEMBER
    24 TUESDAY                            No School - Winter Break




                                                     DECEMBER
    25 WEDNESDAY                          Christmas
                                          No School - Winter Break




                                                     DECEMBER
    26 THURSDAY                           Kwanzaa begins
                                          No School - Winter Break




                                                     DECEMBER
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      27 FRIDAY                              No School - Winter Break




                                                                                               DECEMBER
     28 SATURDAY                                                                   No School - Winter Break




                                                                                               DECEMBER
     29 SUNDAY                                                                     No School - Winter Break




                                                                                               DECEMBER
      THIS WEEK
                 December 27, 1904 — Peter Pan, by playwright James Barrie, opens at the Duke of York’s Theatre in London.
      IN HISTORY


                                               WEEKLY HALL PASS
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    30 MONDAY                              No School - Winter Break




                                                     DECEMBER
    31 TUESDAY                            No School - Winter Break




                                                     DECEMBER
    1 WEDNESDAY                           New Year’s Day
                                          No School - Winter Break




                                                        JANUARY
    2 THURSDAY                            No School - Winter Break




                                                        JANUARY
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      3 FRIDAY                               No School - Winter Break




                                                                                                JANUARY
       4 SATURDAY



                                                                                                JANUARY
       5 SUNDAY



                                                                                                JANUARY
      THIS WEEK        January 1, 1863 — President Abraham Lincoln signs the Emancipation Proclamation, declaring
      IN HISTORY           all persons held as slaves in areas that were fighting Union forces to be forever free.


                                          WEEKLY HALL PASS
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     6 MONDAY                              A Day
                                           Classes Resume




                                                  JANUARY
    7 TUESDAY                             B Day




                                                  JANUARY
    8 WEDNESDAY                           A Day




                                                  JANUARY
    9 THURSDAY                            B Day




                                                  JANUARY
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      10 FRIDAY                              A Day




                                                                                               JANUARY
     11 SATURDAY



                                                                                               JANUARY
     12 SUNDAY



                                                                                               JANUARY
      THIS WEEK                  January 10, 1946 — Delegates from 51 nations meet in London, England,
      IN HISTORY                       for the first meeting of the United Nations General Assembly.


                                          WEEKLY HALL PASS
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    13 MONDAY                              B Day
                                           Late Start




                                                  JANUARY
    14 TUESDAY                            A Day




                                                  JANUARY
    15 WEDNESDAY                          B Day




                                                  JANUARY
    16 THURSDAY                           A Day




                                                  JANUARY
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      17 FRIDAY                              B Day




                                                                                                        JANUARY
     18 SATURDAY



                                                                                                        JANUARY
     19 SUNDAY



                                                                                                        JANUARY
      THIS WEEK                  January 15, 1929 — Martin Luther King Jr., a black civil rights leader, minister,
      IN HISTORY                      advocate of nonviolence, and Nobel Peace Prize recipient, is born.


                                             WEEKLY HALL PASS
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    20 MONDAY                              Martin Luther King, Jr. Day
                                             (Observed)
                                           No School




                                                       JANUARY
    21 TUESDAY                             A Day




                                                       JANUARY
    22 WEDNESDAY                           B Day




                                                       JANUARY
    23 THURSDAY                            A Day




                                                       JANUARY
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      24 FRIDAY                              B Day




                                                                                                      JANUARY
     25 SATURDAY                                                                    Chinese New Year




                                                                                                      JANUARY
     26 SUNDAY



                                                                                                      JANUARY
      THIS WEEK
                   January 21, 1976 — Britain and France put the supersonic Concorde airplane into service for the first time.
      IN HISTORY


                                             WEEKLY HALL PASS
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    27 MONDAY                              A Day




                                                  JANUARY
    28 TUESDAY                            B Day




                                                  JANUARY
    29 WEDNESDAY                          A Day




                                                  JANUARY
    30 THURSDAY                           B Day




                                                  JANUARY
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      31 FRIDAY                              No School - Teacher Institute




                                                                                                JANUARY
       1 SATURDAY



                                                                                             FEBRUARY
       2 SUNDAY                                                                Groundhog Day




                                                                                             FEBRUARY
      THIS WEEK                  January 30, 1948 — A Hindu fanatic assassinates Mohandas Gandhi, the
      IN HISTORY                    political and spiritual leader of the Indian independence movement.


                                         WEEKLY HALL PASS
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     3 MONDAY                              A Day
                                           Late Start




                                                  FEBRUARY
    4 TUESDAY                             B Day




                                                  FEBRUARY
    5 WEDNESDAY                           A Day




                                                  FEBRUARY
    6 THURSDAY                            B Day




                                                  FEBRUARY
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      7 FRIDAY                               A Day




                                                                                              FEBRUARY
      8 SATURDAY



                                                                                              FEBRUARY
      9 SUNDAY



                                                                                              FEBRUARY
      THIS WEEK              February 4, 2003 — The Federal Republic of Yugoslavia disbands; two Balkan
                             republics, Serbia and Montenegro, unite and adopt a constitution, forming the
      IN HISTORY
                                  state of Serbia and Montenegro. The union holds until June 2006.


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    10 MONDAY                              B Day




                                                       FEBRUARY
    11 TUESDAY                            A Day




                                                       FEBRUARY
    12 WEDNESDAY                          Lincoln’s Birthday
                                          B Day




                                                       FEBRUARY
    13 THURSDAY                           A Day




                                                       FEBRUARY
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      14 FRIDAY                              Valentine’s Day
                                             B Day




                                                                                            FEBRUARY
     15 SATURDAY



                                                                                            FEBRUARY
     16 SUNDAY



                                                                                            FEBRUARY
      THIS WEEK            February 11, 660 BC — Traditional founding date of Japan by Emperor Jimmu Tenno.
      IN HISTORY                  The name Japan is often translated as “The Land of the Rising Sun.”


                                         WEEKLY HALL PASS
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    17 MONDAY                              Presidents’ Day
                                           No School




                                                  FEBRUARY
    18 TUESDAY                            A Day




                                                  FEBRUARY
    19 WEDNESDAY                          B Day




                                                  FEBRUARY
    20 THURSDAY                           A Day




                                                  FEBRUARY
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      21 FRIDAY                              B Day




                                                                                                  FEBRUARY
     22 SATURDAY                                                                   Washington’s Birthday




                                                                                                  FEBRUARY
     23 SUNDAY



                                                                                                  FEBRUARY
      THIS WEEK             February 18, 1930 — As part of a scientific effort to study midair effects on animals,
      IN HISTORY                     Elm Farm Ollie becomes the first cow to ever fly in an airplane.


                                          WEEKLY HALL PASS
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    24 MONDAY                              A Day




                                                    FEBRUARY
    25 TUESDAY                            B Day




                                                    FEBRUARY
    26 WEDNESDAY                          Ash Wednesday
                                          A Day




                                                    FEBRUARY
    27 THURSDAY                           B Day




                                                    FEBRUARY
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      28 FRIDAY                              No School - Teacher Institute




                                                                                               FEBRUARY
      29 SATURDAY



                                                                                               FEBRUARY
       1 SUNDAY



                                                                                                        MARCH
      THIS WEEK      February 26, 1919 —Grand Canyon National Park is established, covering 1.2 million acres. A gorge
      IN HISTORY       of the Colorado River, it is considered one of the world’s most spectacular natural phenomena.


                                           WEEKLY HALL PASS
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     2 MONDAY                              A Day
                                           Holiday Waiver - School In Session -
                                                   Casimir Pulaski Day




                                                                   MARCH
     3 TUESDAY                                   B Day




                                                                   MARCH
     4 WEDNESDAY                                 A Day




                                                                   MARCH
     5 THURSDAY                                  B Day




                                                                   MARCH
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      6 FRIDAY                               A Day




                                                                                                       MARCH
      7 SATURDAY



                                                                                                       MARCH
      8 SUNDAY                                                                  Daylight-Saving Time begins




                                                                                                       MARCH
      THIS WEEK                  March 3, 1931 — President Herbert Hoover signs a congressional act making
      IN HISTORY                     The Star-Spangled Banner the national anthem of the United States.


                                           WEEKLY HALL PASS
       Date        Depart Time                     Destination                     Return Time               Teacher




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     9 MONDAY                              B Day




                                                       MARCH
    10 TUESDAY                            A Day
                                          Late Start




                                                       MARCH
    11 WEDNESDAY                          B Day




                                                       MARCH
    12 THURSDAY                           A Day




                                                       MARCH
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      13 FRIDAY                              B Day




                                                                                                          MARCH
     14 SATURDAY



                                                                                                          MARCH
     15 SUNDAY



                                                                                                          MARCH
      THIS WEEK              March 11, 2009 — Toyota Motor Co. sells its millionth hybrid vehicle in its Toyota
      IN HISTORY                and Lexus lines in the United States. The Prius is the top-selling model.


                                          WEEKLY HALL PASS
       Date        Depart Time                    Destination                        Return Time                  Teacher




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    16 MONDAY                              A Day




                                                                MARCH
    17 TUESDAY                            St. Patrick’s Day
                                          B Day




                                                                MARCH
    18 WEDNESDAY                          A Day




                                                                MARCH
    19 THURSDAY                           First Day of Spring
                                          B Day




                                                                MARCH
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      20 FRIDAY                              A Day




                                                                                                           MARCH
     21 SATURDAY



                                                                                                           MARCH
     22 SUNDAY



                                                                                                           MARCH
      THIS WEEK
                                 March 20, 1916 — Albert Einstein publishes his theory of general relativity.
      IN HISTORY


                                           WEEKLY HALL PASS
       Date        Depart Time                     Destination                        Return Time               Teacher




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    23 MONDAY                              No School - Spring Break




                                                             MARCH
    24 TUESDAY                            No School - Spring Break




                                                             MARCH
    25 WEDNESDAY                          No School - Spring Break




                                                             MARCH
    26 THURSDAY                           No School - Spring Break




                                                             MARCH
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      27 FRIDAY                              No School - Spring Break




                                                                                                          MARCH
     28 SATURDAY



                                                                                                          MARCH
     29 SUNDAY



                                                                                                          MARCH
      THIS WEEK          March 24, 1989 — The tanker Exxon Valdez runs aground in Prince William Sound on the
      IN HISTORY            Gulf of Alaska, leaking 11 million gallons of oil into one of nature’s richest habitats.


                                          WEEKLY HALL PASS
         Date      Depart Time                     Destination                       Return Time                Teacher




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    30 MONDAY                              B Day
                                           Late Start




                                                             MARCH
    31 TUESDAY                            A Day




                                                             MARCH
    1 WEDNESDAY                           April Fools’ Day
                                          B Day




                                                              APRIL
    2 THURSDAY                            A Day




                                                              APRIL
   146    ç µ å | @datebookstore
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      3 FRIDAY                               B Day




                                                                                                              APRIL
      4 SATURDAY



                                                                                                              APRIL
      5 SUNDAY                                                                     Palm Sunday




                                                                                                              APRIL
      THIS WEEK    March 30, 1867 — U.S. Secretary of State William Seward reaches an agreement to purchase Alaska from
      IN HISTORY    Russia for $7.2 million. Uncertain of its value, the U.S. Senate approves the purchase by only one vote.


                                            WEEKLY HALL PASS
       Date        Depart Time                      Destination                      Return Time                Teacher




                                                                                     Datebookstore.com                     147
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     6 MONDAY                              A Day




                                                               APRIL
    7 TUESDAY                             B Day




                                                               APRIL
    8 WEDNESDAY                           Passover begins at sundown
                                          A Day




                                                               APRIL
    9 THURSDAY                            B Day




                                                               APRIL
   148    ç µ å | @datebookstore
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      10 FRIDAY                              Good Friday
                                             No School




                                                                                                            APRIL
     11 SATURDAY



                                                                                                            APRIL
     12 SUNDAY                                                                  Easter




                                                                                                            APRIL
      THIS WEEK             April 6, 648 BC — The earliest solar eclipse recorded by the Ancient Greeks occurs
      IN HISTORY                   on this date. Earlier eclipses had been recorded in China and Babylon.


                                          WEEKLY HALL PASS
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    13 MONDAY                              No School - Easter Monday




                                                      APRIL
    14 TUESDAY                            C Day




                                                      APRIL
    15 WEDNESDAY                          A Day




                                                      APRIL
    16 THURSDAY                           B Day




                                                      APRIL
   150    ç µ å | @datebookstore
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      17 FRIDAY                              A Day




                                                                                                                APRIL
     18 SATURDAY



                                                                                                                APRIL
     19 SUNDAY



                                                                                                                APRIL
      THIS WEEK     April 15, 1912 — The “unsinkable” luxury liner Titanic strikes an iceberg and sinks on its maiden voyage
      IN HISTORY      from Southampton, England, to New York City. More than 1,500 of its 2,200 passengers are killed.


                                            WEEKLY HALL PASS
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                                                                                     Datebookstore.com                         151
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    20 MONDAY                              B Day
                                           Late Start




                                                              APRIL
    21 TUESDAY                            A Day




                                                              APRIL
    22 WEDNESDAY                          Earth Day
                                          B Day




                                                              APRIL
    23 THURSDAY                           Ramadan begins at sundown
                                          A Day




                                                              APRIL
   152    ç µ å | @datebookstore
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      24 FRIDAY                              B Day




                                                                                                                  APRIL
     25 SATURDAY



                                                                                                                  APRIL
     26 SUNDAY



                                                                                                                  APRIL
      THIS WEEK                  April 22, 1970 — Americans celebrate the first Earth Day, an event to increase
      IN HISTORY                            public awareness of the world’s environmental problems.


                                            WEEKLY HALL PASS
         Date      Depart Time                      Destination                       Return Time                 Teacher




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    27 MONDAY                              A Day




                                                      APRIL
    28 TUESDAY                            B Day




                                                      APRIL
    29 WEDNESDAY                          A Day




                                                      APRIL
    30 THURSDAY                           B Day




                                                      APRIL
   154    ç µ å | @datebookstore
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      1 FRIDAY                               A Day




                                                                                                                 MAY
      2 SATURDAY



                                                                                                                 MAY
      3 SUNDAY



                                                                                                                 MAY
      THIS WEEK              April 29, 1429 — 17-year-old Joan of Arc leads a French force to end the English
      IN HISTORY                       siege of the city of Orléans. She is captured and killed in 1431.


                                          WEEKLY HALL PASS
       Date        Depart Time                    Destination                      Return Time                  Teacher




                                                                                  Datebookstore.com                       155
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     4 MONDAY                              B Day




                                                          MAY
    5 TUESDAY                             Cinco de Mayo
                                          A Day




                                                          MAY
    6 WEDNESDAY                           B Day




                                                          MAY
    7 THURSDAY                            A Day




                                                          MAY
   156    ç µ å | @datebookstore
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      8 FRIDAY                               B Day




                                                                                                                  MAY
      9 SATURDAY



                                                                                                                  MAY
     10 SUNDAY                                                                    Mother’s Day




                                                                                                                  MAY
      THIS WEEK        May 6, 1889 — The Eiffel Tower opens to the public at the Paris World’s Fair. The top is reached
      IN HISTORY         by 1,665 steps. The tower holds the claim of being the world’s tallest building for 41 years.


                                           WEEKLY HALL PASS
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    11 MONDAY                              A Day




                                                        MAY
    12 TUESDAY                            B Day




                                                        MAY
    13 WEDNESDAY                          A Day




                                                        MAY
    14 THURSDAY                           B Day




                                                        MAY
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      15 FRIDAY                              A Day




                                                                                                             MAY
     16 SATURDAY



                                                                                                             MAY
     17 SUNDAY



                                                                                                             MAY
      THIS WEEK      May 17,1954 — The U.S. Supreme Court unanimously rules racial segregation in public educational
      IN HISTORY           facilities unconstitutional in the landmark case Brown v. Board of Education of Topeka.


                                          WEEKLY HALL PASS
       Date        Depart Time                    Destination                     Return Time               Teacher




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    18 MONDAY                              Laylat al-Qadr begins at sundown
                                           B Day




                                                                         MAY
    19 TUESDAY                                Tentative Semester Exams




                                                                         MAY
    20 WEDNESDAY                              Tentative Semester Exams




                                                                         MAY
    21 THURSDAY                               Tentative Semester Exams




                                                                         MAY
    160     ç µ å | @datebookstore
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      22 FRIDAY                              Emergency Day #1




                                                                                                                  MAY
     23 SATURDAY                                                                  Eid al-Fitr begins at sundown




                                                                                                                  MAY
     24 SUNDAY



                                                                                                                  MAY
      THIS WEEK     May 21, 1927 — Charles Lindbergh makes the first solo trans-Atlantic flight from New York to Paris. On
      IN HISTORY      this date in 1932, Amelia Earhart becomes the first woman to fly solo across the Atlantic Ocean.


                                           WEEKLY HALL PASS
         Date      Depart Time                      Destination                      Return Time                Teacher




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    25 MONDAY                              Memorial Day (Observed)
                                           No School




                                                             MAY
    26 TUESDAY                            Emergency Day #2




                                                             MAY
    27 WEDNESDAY                          Emergency Day #3




                                                             MAY
    28 THURSDAY                           Emergency Day #4




                                                             MAY
   162    ç µ å | @datebookstore
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      29 FRIDAY                              Emergency Day #5




                                                                                                        MAY
     30 SATURDAY



                                                                                                        MAY
     31 SUNDAY



                                                                                                        MAY
      THIS WEEK                  May 27, 1937 — The Golden Gate Bridge opens in San Francisco. About
      IN HISTORY                         200,000 people walk across the bridge on that first day.


                                         WEEKLY HALL PASS
       Date        Depart Time                  Destination                     Return Time            Teacher




                                                                               Datebookstore.com                 163
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     1 MONDAY




                                                       JUNE
    2 TUESDAY




                                                       JUNE
    3 WEDNESDAY




                                                       JUNE
    4 THURSDAY




                                                       JUNE
   164    ç µ å | @datebookstore
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      5 FRIDAY




                                                                                              JUNE
      6 SATURDAY



                                                                                              JUNE
      7 SUNDAY



                                                                                              JUNE
      THIS WEEK                  June 1, 1980 — CNN (Cable News Network) makes its debut as
      IN HISTORY                         the world’s first 24-hour television news network.


                                     WEEKLY HALL PASS
       Date        Depart Time              Destination                    Return Time        Teacher




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   JUNE 2020                                                    GOALS

         MONDAY            TUESDAY        WEDNESDAY       THURSDAY
                   1                 2                3              4




                   8                 9            10                 11




                  15                 16           17                 18




                  22                 23           24                 25




                  29                 30               1              2




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     REMINDERS

         FRIDAY             SATURDAY                         SUNDAY            NOTES
                  5                          6                        7




                  12                         13   Flag Day            14




                  19   First Day of Summer   20   Father’s Day        21




                  26                         27                       28




                  3                          4                        5




                                                                  Datebookstore.com    167
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   JULY 2020                                                                      GOALS

         MONDAY            TUESDAY        WEDNESDAY             THURSDAY
                  29                 30               1                              2




                   6                 7                8                              9




                  13                 14           15                                16




                  20                 21           22                                23




                  27                 28           29      Eid al-Adha begins at     30
                                                              sundown




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     REMINDERS

            FRIDAY             SATURDAY           SUNDAY            NOTES
                     3    Independence Day   4             5




                     10                      11            12




                     17                      18            19




                     24                      25            26




                     31                      1             2




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1:21-cv-04331 Document #: 1-2 Filed: 08/13/21 Page 170 of 176 PageID
    LANGUAGE ARTS                            MLA style of documentation
                                            Your works-cited list should appear at the end of your essay. It provides the information
                                            necessary for a reader to locate and retrieve any source you cite in the essay. Each source
     YOUR WORKS-CITED LIST                  you cite in the essay must appear in your works-cited list; likewise, each entry in the
                                            works-cited list must be cited in the text.

    According to the Modern Language Association Handbook for Writers of Research Papers, 8th edition:
     {1} Double-space all entries.
     {2} Begin the first line of an entry flush with the left margin, and indent lines that follow by one-half inch.
     {3} List entries in alphabetical order by the author’s last name. If you are listing more than one work by the
          same author, alphabetize the works according to title. Instead of repeating the author’s name, type three
          hyphens followed by a period, and then give the title.
     {4} Italicize the titles of works published independently. Books, plays, long poems, pamphlets, periodicals,
          and films are all published independently.
     {5} If the title of a book you are citing includes the title of another book, italicize the main title but not
          the other title.
     {6} Use quotation marks to indicate titles of short works included in larger works, song titles, and titles of unpublished
          works.
     {7} Separate the author, title, and publication information with a period followed by one space.
     {8} Use lowercase abbreviations to identify parts of a work (for example, vol. for volume), a named
          translator (trans.), and a named editor (ed.). However, when these designations follow a period,
          the first letter should be capitalized.
     {9} Use the shortened forms for the publisher’s name. When the publisher’s name includes the name of a
          person, cite the last name alone. When the publisher’s name includes the name of more than one person,
          cite only the first of these names.
     {10}     Use the phrase, “Accessed 5 Jan. 2019” instead of listing the date or the abbreviation, “n.d.”

      ANY CITATION                      Author. Title. Title of container (self contained if book), Other contributors
      (GENERAL GUIDELINES)
                                            (translators or editors), Version (edition), Number (vol. and/or no.),
                                            Publisher, Publication Date, Location (pages, paragraphs, URL, or DOI).
                                            2nd container’s title, Other contributors, Version, Number, Publisher,
                                            Publication date, Date of Access (if applicable).

      PAGE ON A WEBSITE                 “How to Change Your Car’s Oil.” eHow, 25 Sept. 2018, www.ehow.com/
                                            how_2018_how-oil.html. Accessed 5 Jan. 2019.

      ARTICLE IN A
      JOURNAL FROM                      Doe, Jim. “Laws of the Open Sea.” Maritime Law, vol. 3, no. 6, 2018, pp.
      A WEBSITE                            595-600, www.maritimelaw.org/article. Accessed 8 Feb. 2019.
      (ALSO IN PRINT)



      ARTICLE IN                        Author’s last name, first name. “Article title.” Periodical title, Day Month
      A PERIODICAL
      (GENERAL GUIDELINES)                  Year, pages.

      BYLINED ARTICLE                    Barringer, Felicity. “Where Many Elderly Live, Signs of the Future.”
      FROM A DAILY
      NEWSPAPER                             New York Times, 7 Mar. 2018, p. A12.

      UNBYLINED ARTICLE                 “Infant Mortality Down; Race Disparity Widens.” Washington Post,
      FROM A DAILY
      NEWSPAPER                             12 Mar. 2018, p. A12.

      ARTICLE FROM A                    Willis, Garry. “The Words that Remade America: Lincoln at Gettysburg.”
      MONTHLY OR
      BIMONTHLY MAGAZINE                    Atlantic, June 2019, pp. 57-79.

      ARTICLE FROM A
      WEEKLY OR BIWEEKLY                Hughes, Robert. “Futurisms Farthest Frontier.” Time, 9 July 2019, pp. 58-59.
      MAGAZINE

      EDITORIAL                         “A Question of Medical Sight.” Editorial. Plain Dealer, 11 Mar. 2019, p. 6B.

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      LANGUAGE ARTS              MLA style of documentation

       BOOK
       (GENERAL GUIDELINES)
                              Author’s last name, first name. Book title. Publisher, publication date.

       BOOK BY ONE AUTHOR     Wheelen, Richard. Sherman’s March. Crowell, 1978.


       TWO OR MORE BOOKS      Garreau, Joel. Edge City: Life on the New Frontier. Doubleday, 1991.
       BY THE SAME AUTHOR
                              ---. The Nine Nations of North America. Houghton, 1981.


       BOOK BY TWO OR         Purves, Alan C., and Victoria Rippere. Elements of Writing About a Literary
       THREE AUTHORS
                                 Work. NCTE, 1968.

       BOOK BY FOUR OR
       MORE AUTHORS           Pratt, Robert A., et al. Masters of British Literature. Houghton, 1956.


       BOOK BY A
       CORPORATE AUTHOR       The Rockefeller Panel Reports. Prospect for America. Doubleday, 1961.


       BOOK BY AN             Literary Market Place: The Dictionary of American Book Publishing.
       ANONYMOUS AUTHOR
                                 2003 ed., Bowker, 2002.


       BOOK WITH AN AUTHOR
       AND AN EDITOR          Toomer, Jean. Cane. Edited by Darwin T. Turner, Norton, 1988.


                              Morris, William. “The Haystack in the Floods.” Nineteenth Century
       A WORK IN AN
       ANTHOLOGY                 British Minor Poets, edited by Richard Wilbur and W. H. Auden,
                                 Dell, Laurel Edition, 1965, pp. 35-52.


       AN EDITION OTHER       Chaucer, Geoffrey. The Riverside Chaucer. Edited by Larry D. Benson. 3rd
       THAN THE FIRST            ed., Houghton, 1987.


       SIGNED ARTICLE IN      Wallace, Wilson D. “Superstition.” World Book Encyclopedia. 1970 ed., vol.
       A REFERENCE BOOK          2, Macmillan, 2019.




                                                                                                            171
172
                   GROUP
                     1 **                                                                                                                                                                                                                                                    18
                    IA ***                                                                                                                                                                                                                                                  VIIIA
                      1                                                                                                  Atomic Number          47                                                                                                                            2
                     H                                                                                                                       Ag             Symbol                                                                                                         He
               1
                                                                                                                                                                                                                                                                                       SCIENCE
                   hydrogen          2                                                                                   Element Name         silver                                                      13            14           15            16           17          helium
                    1.008           IIA                                                                                                       107.9          Atomic Mass                                 IIIA          IVA           VA            VIA         VIIA         4.003
                      3              4                                                                                                                                                                    5             6             7             8            9           10
                                                   Group IA (excluding Hydrogen) comprises the alkali metals.
               2     Li           Be               Group IIA comprises the alkaline-earth metals.
                                                                                                                                                                                                         B             C             N            O             F          Ne
                    lithium      beryllium                                                                                                                                                              boron         carbon       nitrogen      oxygen       fluorine      neon
                                                   Group VIIIA comprises the noble gases.
                   6.941(2)        9.012                                                                                                                                                                10.81         12.01         14.01         16.00        19.00        20.18
                      11            12                                                                                                                                                                   13            14            15            16           17           18
                                                                                                             Transition Metals
               3    Na            Mg                                                                                                                                                                    Al             Si            P             S           Cl           Ar
                    sodium      magnesium                3             4             5             6              7               8              9             10             11            12        aluminum        silicon     phosphorus      sulfur      chlorine      argon
                    22.99          24.31               IIIB           IVB           VB            VIB            VIIB                          VIIIB                          IB            IIB         26.98         28.09         30.97         32.07        35.45        39.95
                     19             20                 21              22           23             24             25             26             27             28             29            30           31            32            33            34           35           36

               4     K            Ca              Sc                  Ti            V            Cr            Mn               Fe           Co              Ni            Cu             Zn           Ga             Ge            As           Se            Br           Kr
                   potassium      calcium        scandium           titanium      vanadium     chromium       manganese          iron         cobalt         nickel         copper          zinc       gallium      germanium      arsenic      selenium      bromine      krypton




      PERIOD
                    39.10          40.08           44.96             47.87         50.94         52.00          54.94           55.85         58.93          58.69          63.55         65.38(2)      69.72         72.63         74.92         78.97        79.90        83.80
                     37             38              39                40            41            42             43              44            45             46             47              48          49            50            51            52           53           54
               5    Rb             Sr                  Y             Zr            Nb           Mo              Tc             Ru            Rh              Pd            Ag             Cd             In           Sn            Sb           Te              I         Xe
                   rubidium      strontium        yttrium          zirconium      niobium     molybdenum      technetium      ruthenium      rhodium       palladium        silver       cadmium        indium          tin        antimony     tellurium      iodine       xenon
                    85.47          87.62          88.91              91.22         92.91         95.95           (98)           101.1         102.9          106.4          107.9          112.4        114.8         118.7         121.8         127.6        126.9        131.3
                     55             56            57-71               72            73            74              75             76            77             78             79             80           81            82            83            84           85           86
                                                                                                                                                                                                                                                                                       periodic table of the elements




               6    Cs            Ba                                 Hf            Ta             W             Re             Os              Ir            Pt            Au             Hg             Tl           Pb            Bi           Po            At          Rn
                                                Lanthanoids
                    cesium        barium                            hafnium       tantalum      tungsten       rhenium         osmium         iridium       platinum         gold         mercury      thallium        lead        bismuth      polonium      astatine      radon
                    132.9          137.3                             178.5         180.9         183.8          186.2           190.2         192.2          195.1          197.0          200.6        204.4         207.2         209.0         (209)        (210)        (222)
                     87             88            89-103              104           105           106            107             108           109            110            111            112          113           114           115           116          117          118
               7     Fr           Ra                                 Rf           Db             Sg             Bh              Hs            Mt             Ds            Rg             Cn           Nh              Fl          Mc            Lv           Ts           Og
                                                 Actinoids
                   francium       radium                          rutherfordium   dubnium      seaborgium      bohrium         hassium     meitnerium    darmstadtium roentgenium       copernicium    nihonium      flerovium    moscovium    livermorium   tennessine   oganesson
                     (223)         (226)                             (267)         (268)          (271)          (272)          (270)         (276)          (281)          (280)          (285)        (284)         (289)         (288)         (293)        (294)        (294)


       * IUPAC conventional atomic weights; standard                   57           58             59             60             61             62             63             64            65            66            67           68            69           70           71
       atomic weights for these elements are
       expressed in intervals; see iupac.org for an           6      La            Ce            Pr             Nd             Pm            Sm              Eu            Gd             Tb            Dy            Ho            Er           Tm           Yb            Lu
       explanation and values. ** Numbering system                 lanthanum       cerium    praseodymium     neodymium      promethium     samarium       europium      gadolinium       terbium     dysprosium     holmium       erbium        thulium     ytterbium     lutetium
       adopted by IUPAC. *** Numbering system                      138.90547      140.116       140.907        144.242          (145)         150.36        151.964        157.25       158.92535      162.500      164.93033      167.259     168.93422      173.054     174.9668
       widely used from the mid-20th century.
                                                                      89            90            91             92              93             94            95             96            97            98            99            100          101           102         103
       ( ) indicates the mass number of the longest-
       lived isotope.                                                Ac            Th            Pa              U             Np             Pu            Am             Cm             Bk            Cf            Es           Fm            Md           No            Lr
                                                              7
                                                                    actinium      thorium     protactinium     uranium        neptunium     plutonium      americium       curium        berkelium    californium   einsteinium    fermium     mendelevium   nobelium     lawrencium
                                                                     (227)        232.0377     231.03588      238.02891         (237)         (244)          (243)          (247)          (247)        (251)         (252)         (257)         (258)        (259)        (262)
                                                                                    Source: The International Union of Pure and Applied Chemistry (IUPAC), Encyclopaedia Britannica, and others.
                                                                                                                                                                                                                                                                                                                        1:21-cv-04331 Document #: 1-2 Filed: 08/13/21 Page 172 of 176 PageID
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      SCIENCE               weights & measures & formulas

         WEIGHTS AND MEASURES

        ENGLISH                                                   METRIC
      Area                                                      Area
      1 square foot (ft2) --------144 square inches (in2)       1 sq centimeter (cm2) ---100 sq millimeters (mm2)
      1 square yard (yd2) -------------------9 square feet      1 sq meter (m2) ------------ 10,000 sq centimeters
      1 acre ---------------------------43,560 square feet      1 hectare (ha) -------------- 10,000 square meters
      1 square mile (mi2)---------------------- 640 acres       1 sq kilometer (km2) --------1,000,000 sq meters
      Capacity                                                  Capacity
      1 cup (c) --------------------- 8 fluid ounces (fl oz)    1 milliliter (ml) ----------------------.001 liter (L)
      1 pint (pt) ------------------------------------ 2 cups   1 centiliter (cl) -----------------------------.01 liter
      1 quart (qt) --------------------------------- 2 pints    1 deciliter (dl) ------------------------------ .1 liter
      1 quart --------------------------------------- 4 cups    1 dekaliter (dal) ---------------------------10 liters
      1 gallon (gal)-------------------------------4 quarts     1 hectoliter (hl) -------------------------- 100 liters
                                                                1 kiloliter (kl) --------------------------1,000 liters
      Length
      1 foot (ft) ---------------------------- 12 inches (in)   Length
      1 yard (yd) ------------------------------- 36 inches     1 millimeter (mm) --------------- .001 meter (m)
      1 yard -----------------------------------------3 feet    1 centimeter (cm) ----------------------- .01 meter
      1 mile (mi) ------------------------------ 5,280 feet     1 decimeter (dm)--------------------------.1 meter
      1 mile ---------------------------------- 1,760 yards     1 dekameter (dam)---------------------- 10 meters
                                                                1 hectometer (hm) -------------------- 100 meters
      Time                                                      1 kilometer (km) -------------------- 1,000 meters
      1 minute (min) --------------------- 60 seconds (s)
      1 hour (h) ------------------------------ 60 minutes      Mass/Weight
      1 day (d)----------------------------------- 24 hours     1 milligram (mg) ------------------- .001 gram (g)
      1 week (wk) ---------------------------------- 7 days     1 centigram (cg) --------------------------.01 gram
      1 year (yr) -------------------------12 months (mo)       1 decigram (dg) --------------------------- .1 gram
      1 year --------------------------------------52 weeks     1 dekagram (dag) ----------------------- 10 grams
      1 year --------------------------------------365 days     1 hectogram (hg) ----------------------- 100 grams
      1 century (c) ----------------------------- 100 years     1 kilogram (kg) -----------------------1,000 grams
                                                                1 metric ton (t) ------------------ 1,000 kilograms
      Weight
      1 pound (lb) ----------------------- 16 ounces (oz)
      1 short ton (T) --------------------- 2,000 pounds

         FORMULAS

      Perimeter of a rectangle -------------- P = 2(l+w)          FORMULA KEY
      Perimeter of a square -----------------------P = 4s
      Perimeter of a regular polygon ------------P = ns         A    =   area
       (n = number of sides)                                    b    =   base, length of any side of a plane figure
      Area of a rectangle ------------------------- A = lw      B    =   area of base
      Area of a square ----------------------------- A = s2     d    =   diameter
      Area of a parallelogram -------------------- A = bh       h    =   height, perpendicular distance from
      Area of a triangle ------------------------ A = ½bh                the furthest point of the figure to the
      Area of a trapezoid ------------- A = ½h(b1 + b2)                  extended base
      Area of a circle ----------------------------- A = πr2    l    =   length
      Circumference of a circle --------C = πd, or 2πr          P    =   perimeter
      Volume of a rectangular prism --------- V = lwh           r    =   radius
      Volume of any prism ----------------------V = Bh          s    =   side
      Volume of a cylinder ------------------- V = πr2h         sa   =   surface area
      Volume of a pyramid ------------------- V = ⅓Bh           V    =   volume
      Volume of a cone ---------------------V = ⅓πr2h           w    =   width
      Surface area of a cylinder ----SA = 2πr2 + 2πrh
      Pythagorean Theorem --------------- a2 + b2 = c2
                                  (sides of a right triangle)

      Simple interest------------------------------ I = prt     I = interest, p = principal, r = rate, t = time

      Distance -------------------------------------- d = rt    d = distance, r = rate, t = time

                                                                                                                           173
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    MATHEMATICS              squares & square roots

     SQUARES & SQUARE ROOTS


         N     N2      N          N    N2      N      N      N2       N
         1     1      1.00       51   2,601   7.14    101   10,201   10.05
         2     4      1.41       52   2,704   7.21    102   10,404   10.10
         3     9      1.73       53   2,809   7.28    103   10,609   10.15
         4     16     2.00       54   2,916   7.35    104   10,816   10.20
         5     25     2.24       55   3,025   7.42    105   11,025   10.25
         6     36     2.45       56   3,136   7.48    106   11,236   10.30
         7     49     2.65       57   3,249   7.55    107   11,449   10.34
         8     64     2.83       58   3,364   7.62    108   11,664   10.39
         9     81     3.00       59   3,481   7.68    109   11,881   10.44
         10   100     3.16       60   3,600   7.75    110   12,100   10.49
         11   121     3.32       61   3,721   7.81    111   12,321   10.54
         12   144     3.46       62   3,844   7.87    112   12,544   10.58
         13   169     3.61       63   3,969   7.94    113   12,769   10.63
         14   196     3.74       64   4,096   8.00    114   12,996   10.68
         15   225     3.87       65   4,225   8.06    115   13,225   10.72
         16   256     4.00       66   4,356   8.12    116   13,456   10.77
         17   289     4.12       67   4,489   8.19    117   13,689   10.82
         18   324     4.24       68   4,624   8.25    118   13,924   10.86
         19   361     4.36       69   4,761   8.31    119   14,161   10.91
         20   400     4.47       70   4,900   8.37    120   14,400   10.95
         21   441     4.58       71   5,041   8.43    121   14,641   11.00
         22   484     4.69       72   5,184   8.49    122   14,884   11.05
         23   529     4.80       73   5,329   8.54    123   15,129   11.09
         24   576     4.90       74   5,476   8.60    124   15,376   11.14
         25   625     5.00       75   5,625   8.66    125   15,625   11.18
         26    676    5.10       76   5,776   8.72    126   15,876   11.22
         27    729    5.20       77   5,929   8.77    127   16,129   11.27
         28    784    5.29       78   6,084   8.83    128   16,384   11.31
         29    841    5.39       79   6,241   8.89    129   16,641   11.36
         30    900    5.48       80   6,400   8.94    130   16,900   11.40
         31    961    5.57       81   6,561   9.00    131   17,161   11.45
         32   1,024   5.66       82   6,724   9.06    132   17,424   11.49
         33   1,089   5.74       83   6,889   9.11    133   17,689   11.53
         34   1,156   5.83       84   7,056   9.17    134   17,956   11.58
         35   1,225   5.92       85   7,225   9.22    135   18,225   11.62
         36   1,296   6.00       86   7,396   9.27    136   18,496   11.66
         37   1,369   6.08       87   7,569   9.33    137   18,769   11.70
         38   1,444   6.16       88   7,744   9.38    138   19,044   11.75
         39   1,521   6.24       89   7,921   9.43    139   19,321   11.79
         40   1,600   6.32       90   8,100   9.49    140   19,600   11.83
         41   1,681   6.40       91   8,281    9.54   141   19,881   11.87
         42   1,764   6.48       92   8,464    9.59   142   20,164   11.92
         43   1,849   6.56       93   8,649    9.64   143   20,449   11.96
         44   1,936   6.63       94   8,836    9.70   144   20,736   12.00
         45   2,025   6.71       95   9,025    9.75   145   21,025   12.04
         46   2,116   6.78       96   9,216    9.80   146   21,316   12.08
         47   2,209   6.86       97   9,409    9.85   147   21,609   12.12
         48   2,304   6.93       98   9,604    9.90   148   21,904   12.17
         49   2,401   7.00       99   9,801    9.95   149   22,201   12.21
         50   2,500   7.07       100 10,000   10.00   150   22,500   12.25


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      MATHEMATICS                                trigonometry

        TRIGONOMETRIC RATIOS                                                                         TRIGONOMETRIC RATIOS

      sin (A+B) = sin A cos B + cos A sin B                                                        Law of Sines
      sin (A-B) = sin A cos B - cos A sin B                                                          a = b = c
      cos (A+B) = cos A cos B - sin A sin B                                                        sin A sin B sin C
      cos (A-B) = cos A cos B + sin A sin B                                  B
                                                                                                   Law of Cosines
                   tan A + tan B
      tan (A+B) = 1 - tan A tan B                                                                  a2 = b2+c2-2bc(cos A)
                                                                                                   b2 = a2+c2-2ac(cos B)
                        tan A - tan B
      tan (A-B) =                                          c                                       c2 = a2+b2-2ab(cos C)
                       1 + tan A tan B                                                 a
             sinθ                                                                                  Law of Tangents
      tanθ =
             cosθ
                                                                                                   a-b = tan 1/2(A-B)
      sin2θ + cos2θ = 1                                                                            a+b tan 1/2(A+B)
      cos2θ - sin2θ = cos2θ                                                                        b-c = tan 1/2(B-C)
      tan2θ+1 = sec2θ                                                                              b+c tan 1/2(B+C)
                                                    A                                  C
      cot2θ+1 = csc2θ                                                                              c-a = tan 1/2(C-A)
                                                                       b                           c+a tan 1/2(C+A)



                                                                                                                                      e)




                                                                                                                                                      o (opposite)
                                                                                                                                 us
                               45º                                               60º                                       o  ten
                                                                   2                                                   hyp
                                        1                                                   1                        h(
                           2

                    45º                               30º                                                                 a (adjacent)
                                                                       3
                         1                                                                                      o (opposite) = 1
                                                               1                       3                sinθ =
                              1                    sin 30º =               sin 60º =                           h (hypotenuse) cscθ
                    sin 45º =                                  2                       2
                              2
                                                             3                                                         a (adjacent) = 1
                    cos 45º =
                              1                    cos 30º =               cos 60º = 1                  cosθ =
                                                                                                                     h (hypotenuse) secθ
                              2                              2                       2
                    tan 45º = 1                    tan 30º = 1         tan 60º = 3                      tanθ =
                                                                                                                      o (opposite)
                                                                                                                                           =
                                                                                                                                                1
                                                             3                                                        a (adjacent)             cotθ

       VALUES OF TRIGONOMETRIC RATIOS
                                                                                                         y
           θ           0          π/2       π       3π/2       2π
                                                                                                             r        r        θ = 1 radian
                                                                                                             θ
        sinθ           0          1         0        −1            0                                             r        x    π radians = 180º
                                                                                                                               2π radians = 360º
        cos θ          1          0         −1       0             1

        tanθ           0          ∞         0       −∞             0
        (sin/cos)

                                                                                           QUADRANTS
        sec θ          1          ∞         −1       ∞             1                               Quad II                           Quad I
        (1/cos)

                                                                                                  90º-180º                            0º-90º
        csc θ          ∞          1         ∞        −1            ∞                            sin, csc are +                   all ratios are +
        (1/sin)



        cotθ           ∞          0         −∞       0             ∞                              Quad III                            Quad IV
        (1/tan)
                                                                                                 180º-270º                           270º-360º
                                                                                                tan, cot are +                      cos, sec are +
      note: ∞ denotes undefined or infinite

                                                                                                                                                               175
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